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             EXHIBIT 1
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 1                     UNITED STATES BANKRUPTCY COURT
                         SOUTHERN DISTRICT OF TEXAS
 2                            HOUSTON DIVISION

 3                                 )          CASE NO: 22-33553-CML
                                   )
 4   ALEXANDER E. JONES and        )          Houston, Texas
     OFFICIAL COMMITTEE OF         )
 5   UNSECURED CREDITORS,          )          Thursday, June 14, 2024
               Debtors.            )
 6                                 )          10:01 a.m. to 4:06 p.m.
     ------------------------------)
 7   FREE SPEECH SYSTEMS,          )          CASE NO: 22-60043-CML
               Debtor.             )
 8   ------------------------------)
     HESLIN, et al.,               )          CASE NO: 22-03331-CML
 9                   Plaintiffs,   )          ADVERSARY
          Vs.                      )
10   JONES, et al.,                )
                     Defendants.   )
11   ------------------------------)
     HESLIN, et al.,               )          CASE NO: 23-03034-CML
12                   Plaintiffs,   )          ADVERSARY
          Vs.                      )
13   JONES, et al.,                )
                     Defendants.   )
14   ------------------------------)
     WHEELER, et al.,              )          CASE NO: 23-03036-CML
15                   Plaintiffs,   )          ADVERSARY
          Vs.                      )
16   JONES, et al.,                )
                     Defendants.   )
17   ------------------------------)

18
                                      TRIAL
19
                 BEFORE THE HONORABLE CHRISTOPHER M. LOPEZ
20                     UNITED STATES BANKRUPTCY JUDGE

21
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 1          HOUSTON, TEXAS; FRIDAY, JUNE 14, 2024; 10:01 a.m.

 2                              (Call to Order)

 3               THE COURT:     Good morning, everyone.     This is Judge

 4   Lopez.    Today is June 14th.        I'm going to turn on my camera

 5   and I'm going to call the 10:00 a.m. cases, combined cases

 6   in Alex Jones and Free Speech Systems.

 7               Why don't I just take appearances to start with

 8   and then we'll see where we go.

 9               MS. CATMULL:     Good morning, Your Honor.      Annie

10   Catmull, C-A-T-M-U-L-L, here on behalf of the Debtor, Free

11   Speech Systems.     I'm joined by my partner electronically,

12   Kathleen O'Connor.

13               THE COURT:     Okay.     Good morning.

14               MS. DRIVER:     Good morning, Your Honor.      Vickie

15   Driver.    And I am joined by my partner, Chrissy Stephenson

16   and Mr. Shelby Jordan, my co-counsel, here on behalf of Mr.

17   Jones.

18               THE COURT:     Okay, good morning.

19               MR. LEMMON:     Your Honor, Steve Lemmon for PQPR.

20               THE COURT:     Good morning.

21               MR. MOSHENBERG:        Good morning, Your Honor.   Avi

22   Moshenberg, Jarrod Martin, and Jennifer Hardy here on behalf

23   of Texas Plaintiffs.

24               THE COURT:     Okay, good morning.

25               MS. FREEMAN:     Good morning, Your Honor.      Elizabeth
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 1   Freeman.    I am proposed counsel for Melissa Haselden, the

 2   Subchapter V Trustee in Free Speech.         And Ms. Haselden is

 3   here as well.

 4               THE COURT:     Okay.   Good morning.

 5               MR. NGUYEN:     Good morning, Your Honor.      Ha Nguyen

 6   for the U.S. Trustee.       I also have Jayson Ruff from my

 7   office with me.

 8               THE COURT:     Okay.   Good morning.

 9               MR. KEMPLER:     Good morning, Your Honor.      Kyle

10   Kempler from Paul Weiss on behalf of the Connecticut

11   plaintiffs.     This morning you may be hearing from me as well

12   as my partner, Mr. Paterson.        I believe on the line is our

13   co-counsel, Mr. Ryan Chapple.

14               THE COURT:     Okay.   Good morning.

15               MS. STERLING:     Good morning, Your Honor.      Alinor

16   Sterling here for the Connecticut plaintiffs as well.              And

17   with us in the courtroom are my law partner, Chris Mattei,

18   and also our client, Robbie Parker.

19               THE COURT:     Good morning.

20               MS. BRAUNER:     Good morning, Your Honor.      Sarah

21   Brauner, Akin, on behalf of the Committee in the Jones case.

22   And with me is my partner, Katherine Porter.

23               THE COURT:     Okay.   Good morning.

24               Okay, I'm going to turn to anyone who wishes to

25   make an appearance on the phone line.         If you would hit
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 1   five-star, I will unmute your line.        I would just ask if I

 2   do unmute your line, that you please just monitor

 3   yourselves.    There's about 147 people on the line.         I guess

 4   I can't really say about 147; it looks like there are 147.

 5               Okay, here is a 347 number.

 6               MR. KUMAR:     Your Honor, this is (indiscernible)

 7   Kumar from (indiscernible).        Good morning.

 8               THE COURT:     Okay.   Good morning.

 9               Here is a 713 number.

10               MR. MAY:     This is Harold Hap May.     I am tax

11   counsel for Free Speech.

12               THE COURT:     Good morning, Mr. May.

13               MR. MAY:     Thank you.

14               THE COURT:     713 number.

15               MR. PATTERSON:     Good morning, Your Honor.        Johnie

16   Patterson for ESG.

17               THE COURT:     Good morning.   There is a 512 number.

18               MR. ROBERTS:     This is Steve Roberts.      I represent

19   Dr. David Jones and (indiscernible).

20               THE COURT:     Okay.   I think that is it.     I will

21   monitor this to make sure as issues come up.          But we'll be

22   able to unmute a few more lines if those parties wish.

23   Okay.

24               Why don't we start with the Jones case.

25               Ms. Freeman?
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 1               MS. FREEMAN:     Just very briefly, Your Honor.        I

 2   note that there are a number of members of the press that

 3   are online and personalities.         And I think it may bear --

 4   hopefully it's not necessary, but it may make sense for the

 5   Court to reiterate the policy with regards to recording the

 6   proceedings.

 7               THE COURT:     No.    Let's proceed.   Let's go.

 8               MS. DRIVER:     Your Honor, good morning.

 9               THE COURT:     Good morning.

10               MS. DRIVER:     It's been a long time coming to today

11   in these cases, and I appreciate the Court's time, as

12   always.

13               Your Honor, I would be a little bit remiss -- we

14   do have set for hearing today in the Jones case our

15   emergency motion to convert his case from 11 to 7.             I

16   believe everything filed of record as of today is in support

17   of that ultimate relief.         And so I think that in my view on

18   behalf of Mr. Jones, the only issue here is the form of

19   order that would be entered today to grant that relief.

20               I do know that the Committee did want to flip and

21   do FSS first.     They said that to me in advance.        But I told

22   them it would be up to Your Honor.

23               THE COURT:     I get to choose.

24               MS. DRIVER:     You do, Your Honor.     Thank you.     I

25   just didn't want to step on anyone's toes.
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 1               THE COURT:    I guess I'm the toe-snapper if that's

 2    the case then.    Let's proceed.

 3               MS. DRIVER:    And I will give you that right every

 4    day.

 5               Your Honor, we circulated a proposed order to

 6    everyone on June 5th when the motion to convert was filed,

 7    and it's a fairly simple order.       It is included in our

 8    exhibit list.

 9               THE COURT:    And where do I find that?       I want to

10    make sure I'm looking at the right one when you're

11    describing it.

12               MS. DRIVER:    Yes, Your Honor.     It's going to be

13    Exhibit -- Mr. Jones' Exhibit 4.

14               THE COURT:    Do you have the --

15               MS. DRIVER:    And I have books for you if I could

16    hand up, Your Honor.

17               THE COURT:    Oh no, no.    I just want to know -- if

18    you tell me the docket number, I can pull it up and just

19    look at it.

20               MS. DRIVER:    That is a great question.

21               THE COURT:    I think I see it here.      Okay.

22               MS. DRIVER:    And, Your Honor, this is just what we

23    would consider a very plain vanilla conversion order.           We've

24    run this past all the parties here and we did receive a

25    couple of comments from the U.S. Trustee, which are noted in
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 1    our exhibit.     The U.S. Trustee wanted to make it very clear

 2    that the Debtor would appear at the 341 meeting and we have

 3    no objection to that language being modified as in Paragraph

 4    4 in the redline that we submitted.

 5                 THE COURT:    Okay.

 6                 MS. DRIVER:    Your Honor, I think it's just --

 7    since we don't disagree on the ultimate relief requested,

 8    and I think there's just clear code language that allows for

 9    the conversion of this case and no one is moving for

10    dismissal of this case, I don't think there's any argument

11    there.   I have a lot of issues with the competing order.

12                 THE COURT: Why don't you just tell me about your

13    order and then you can tell me about the competing order and

14    why you think the order works.

15                 MS. DRIVER:    I'm sorry, could you say that one

16    more time?

17                 THE COURT:    No, I was going to ask you to just

18    tell me about -- you think your order works, and now you're

19    going to the other form of order.          Is that -- I just want to

20    make sure I'm following.

21                 MS. DRIVER:    Correct.     We think our order is

22    supported by the U.S. Trustee's Office and that Texas,

23    Connecticut, and the UCC in the Jones case have filed a

24    second order that they considered a competing -- I

25    considered a competing order.          And I'm just going to tell
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 1    Your Honor why I think that order does not work if that's

 2    appropriate.

 3               THE COURT:    Okay.

 4               MS. DRIVER:    First of all, some of the provisions

 5    that are contained in this order, if you cross-reference the

 6    creditor's plan, which I have available here, that's been

 7    withdrawn for consideration today.        Essentially we were

 8    unable to come to terms on a liquidating plan.          And part of

 9    the reason why we could not come to terms with that included

10    some of the terms that they have now included in this

11    competing order.

12               And I would submit, Your Honor, that it seeks

13    relief far and above what is requested in any motion that's

14    in front of Your Honor today and it also exceeds what could

15    be done in a -- should be done in a normal Chapter 7.           It

16    anticipates that you're going to give advisory opinions and

17    orders related to issues that have not -- cannot and should

18    not be decided until a Chapter 7 trustee is appointed and

19    they've had a chance to weigh in.

20               They're also asking for things that I just don't

21    believe are allowed in the Code.       For example, they want to

22    keep the UCC in existence past conversion.         And I don't know

23    of anything in the Code or the rules that allows for that.

24               THE COURT:    I think it's just to get their kind of

25    fees.   Do I understand more than that, or just turning
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 1    things over?

 2                 MS. DRIVER:   They also want to be advisors to the

 3    Chapter 7 trustee.     And I don't think that's appropriate,

 4    Your Honor.     Each of the members of the committee have their

 5    own counsel.     If Mr. Kempler wants to call the Chapter 7

 6    trustee and set a meeting and advise him of certain things,

 7    he certainly has a right to do that, and nothing in this

 8    order would prevent that.

 9                 Your Honor, there's issues related to turnover of

10    non-exempt property to the Chapter 7 trustee.         I think the

11    Code and the Rules absolutely already address this issue,

12    and imposing additional responsibilities on Mr. Jones simply

13    because he is Mr. Jones, there's just nothing in front of

14    this Court that shows that those are necessary.

15                 It also attempts to restrain a Chapter 7 Trustee

16    before their even appointment from retaining professionals

17    or doing other actions that would require a notice of

18    hearing.     This is unnecessary and clamps the hands of

19    Chapter 7 trustee unnecessarily before they are even

20    appointed.

21                 Your Honor, the two most troubling things that I

22    have is that this would declare that disputed claims are

23    eligible to vote and replace a Chapter 7 trustee at any 341

24    meeting, which is not the process.        At the 341 meeting they

25    have a chance to vote.      And if there is issues related to
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 1    who can vote, then a briefing schedule should be set.

 2               Your Honor, I have no problem working on an agreed

 3    briefing schedule on those issues, but as Your Honor noted,

 4    we filed objections to each of the claims yesterday.             It is

 5    absolutely without question that we dispute these claims.

 6               Your Honor, they also want to declare all orders

 7    in the Jones case be binding on a Chapter 7 trustee.             I just

 8    think a blanket statement like that, there's just no notice

 9    and hearing to figure out what that might do to a Chapter 7

10    trustee.

11               It demands turnover of property held by trusts

12    that are not in the possession of Mr. Jones.         If there is a

13    claim to pull those assets into the estate, the Chapter 7

14    trustee has all of the powers necessary to do that.             The

15    parties that are in charge of those trusts have not been

16    given any notice of this, and it would take away their

17    property rights without due notice and proper process.

18               They also -- and this is just really my most

19    troubled issue -- is they want to transfer some of Mr.

20    Jones' personal attorney-client privileged information to

21    the trustee without notice and hearing.        Attorney-client

22    privilege for an individual is very sacrosanct.          I've

23    represented many, many debtors that converted to a Chapter 7

24    or filed a Chapter 7 that were corporations.         Unquestionably

25    that privilege transfers to the Chapter 7 trustee.
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 1                 THE COURT:    Referring to the protective order

 2    paragraph?

 3                 MS. DRIVER:    Yes, Your Honor.

 4                 THE COURT:    Okay.

 5                 MS. DRIVER:    And that is just simply, in my

 6    opinion contrary to the Texas Rules of Professional Conduct

 7    and would require me to do things that I think could put my

 8    bar license in jeopardy.

 9                 One thing that I find a little bit strange in this

10    order -- and this is just -- I don't think it increases

11    anybody's rights, I don't think it decreases anybody's

12    rights, but it becomes very troubling to me when one party

13    seeks to reserve all rights to assert their Chapter 11

14    claim, but no one else does.       The implication could be that

15    by Akin Gump reserving their right to assert their Chapter

16    11 claims, that any Chapter 11 professional that didn't get

17    their own separate paragraph might be barred from doing so.

18    Simply deleting that paragraph leaves everybody's rights

19    unadjusted and unaffected.

20                 I just find this to come down to the desire to

21    reserve rights of everybody standing in the courtroom to the

22    detriment of anyone who just simply didn't show up that day.

23                 Again, I reference that this is bootstrapping

24    provisions of a Chapter 11 plan that no party was able to

25    agree on.     There was no motion that was filed by any of the
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 1    parties seeking entry of this order to have these types of

 2    things adjudicated today.      And to order them today would

 3    violate the due process of multiple parties, including a

 4    Chapter 7 trustee that hasn't even been appointed.

 5                 Your Honor, I think it arguably has you as issuing

 6    advisory opinions on things that aren't even ripe to bring

 7    in front of this Court, such as the right of certain

 8    creditors to vote on the trustee.

 9                 I'll also note that we got this order less than 48

10    hours before this hearing.      And we were never given any

11    comments to our order, which we hoped we could work with the

12    parties to resolve.

13                 Your Honor, there were a lot of things in the

14    Statement of Support filed by Connecticut.         I would not one

15    thing.   The Statement of Support by Connecticut was not

16    joined by the Texas families.       So this was only Connecticut

17    that has these issues.

18                 In our view, there are unfounded assumptions,

19    inaccuracies, and outright misleading statements in that.

20    However, given it was a statement, and I don't believe

21    there's any evidence that's going to be introduced today to

22    support those allegations, I am ready and able to put on a

23    very lengthy evidentiary hearing today to refute them if so

24    necessary.     But in my view, Your Honor, throwing those

25    allegations in the statement was simply just mud.
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 1               And if Your Honor says that those allegations and

 2    my refuting them leaves the slate clean, I'm perfectly happy

 3    not to bore everyone in this courtroom with an unnecessary

 4    evidentiary hearing today.

 5               Mr. Jones is going to be in front of Your Honor in

 6    a Chapter 7 case, and he doesn't want unnecessarily to have

 7    his ability to be honest and forthright with this Court

 8    impugned by not refuting these allegations.          And so if we

 9    simply say that the slate is clean and we're not going to

10    take evidence on this issue, then the pleadings and the

11    statements that I've said stay where they are and simply

12    leave the slate.

13               Your Honor, I believe that's my presentation on

14    the motion to convert Mr. Jones' case.

15               THE COURT:     Okay.     Thank you.   Does anyone else

16    wish to be heard?     Mr. Kempler?

17               MR. KEMPLER:     Does either microphone work here,

18    Your Honor?

19               THE COURT:     Yeah.

20               MR. KEMPLER:     Okay.     Save a couple steps.

21               THE COURT:     We'll find out.

22               MR. KEMPLER:     So, Your Honor, before I respond to

23    that, just as a matter of procedure, I think all parties

24    here have submitted witness and exhibit lists.          We did as

25    well.   I think some of the issues we are talking about do
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 1    have an evidentiary basis.        I don't think there needs to be

 2    a significant evidentiary hearing on these matters.          I think

 3    what we submitted in our exhibit lists are just transcripts

 4    of things that Mr. Jones said.        If somebody wants to say

 5    we've taken that out of context, they can.         But they speak

 6    for themselves.     But I just ask the Court as a point of

 7    order before we get into the argument over the form of

 8    order, we would at least like to move for the admission of

 9    the exhibits on the Connecticut Plaintiff's Exhibit lists.

10    And other parties have them as well.        I'm also happy to do

11    that in connection with the FSS case arguments and then have

12    them applied to both.        But I don't want to lose -- before we

13    get started I don't want to lose the ability to make sure

14    that we're arguing the whole record here.

15                 Because I think obviously a lot of the stuff we

16    are asking for I'll be the first to admit is a unique

17    provision.     But we think the facts and the circumstances

18    here justify unique provisions.

19                 THE COURT:     Before we talk about -- well, why

20    don't we talk about the exhibits.        Let me just -- why don't

21    we just do some housekeeping there.        Why don't you point out

22    the docket number?

23                 MR. KEMPLER:     Your Honor, if I could -- I have a

24    friend here.

25                 THE COURT:     Sure, absolutely.
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 1                MR. KEMPLER:     I'll have Mr. Paterson handle the

 2    evidence.    Thank you.

 3                MR. PATERSON:     Good morning, Your Honor.     Paul

 4    Paterson from Paul Weiss for the Connecticut families.

 5                THE COURT:     good morning.

 6                MR. PATERSON:     Your Honor, we filed an updated

 7    exhibit list yesterday.       It was Docket Number 950 in the FSS

 8    case and 706 in the Jones case.

 9                THE COURT:     I want to keep them separate.     So why

10    don't we just make sure that we're all operating with clean

11    records.    So 706 is the one in this case.

12                MR. PATERSON:     That's right, Your Honor.

13                THE COURT:     Okay.   And it looks like there are...

14                MR. PATERSON:     And, Your Honor, happy to give you

15    a brief overview of what's here if that would be helpful.

16                THE COURT:     I'm just trying to make sure I've got

17    the right numbers.       There are 14 exhibits.

18                MR. PATERSON:     That's correct, Your Honor.

19                THE COURT:     Any objection to the admission of any

20    of the documents at 706?       Which ones?   All of them or none

21    of them or some of them?

22                MS. DRIVER:     Let me -- I can just go down and tell

23    you the declaration of Ms. Vida Robinson is hearsay.           She is

24    here and can testify if necessary.

25                THE COURT:     Tell me the ones that you are okay
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 1    with and then I'll say no to the others.

 2               MS. DRIVER:     Okay.    I'm fine with Exhibit 1,

 3    Exhibit 2, Exhibit 10, Exhibit 11, 12.        And that's it, Your

 4    Honor.

 5               THE COURT:    1, 2, 10, 11, and 12.

 6               MS. DRIVER:     Yes, sir.

 7               THE COURT:    Okay.     And since you're standing

 8    there, you filed a witness and exhibit list as well.           I

 9    think you've got a one through -- let me find...

10               MS. DRIVER:     I think I have a 1 through 7, Your

11    Honor.

12               THE COURT:    I was just trying to make sure 7

13    didn't say anything else.

14               Any objection to the admission of the exhibits at

15    696, 1 through 7?

16               MR. PATERSON:     Not from me, Your Honor.

17               THE COURT:    Okay, all right.     They are admitted as

18    well.

19               (Exhibits 1 through 7 admitted into evidence)

20               THE COURT:    So let's just start with Code.        So

21    1112(a)(1), which is what we are proceeding under, the

22    debtor may convert a case under this chapter to a case under

23    Chapter 7 unless, (1), the debtor is not the debtor in

24    possession, which doesn't apply; (2), the case was not

25    commenced as an involuntary case under this Chapter, which
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 1    does not apply.    Or (3), the case was converted to a case

 2    under this chapter other than on the debtor's request.

 3    Right?    So that doesn't apply.

 4                So we are under (a)(1).     And I would note that the

 5    motion was filed as an emergency motion.         So, Ms. Driver,

 6    I'm fine with folks kind of submitting proposed orders two

 7    days before.    I think this wasn't on full notice, so I think

 8    we can consider that.

 9                So the Debtor can convert a case under this

10    chapter unless three exceptions apply, and none of them

11    apply.    So we're on kind of a voluntary.

12                The question is now what should be in that order

13    except the case is converted.       Right?   Because Bankruptcy

14    Code contemplates conversion and the Bankruptcy Code Section

15    348 talks about what the effect of that conversion is.           You

16    know, how do you count -- how do you treat the date of the

17    petition versus the conversion date and things of that

18    nature.

19                So I have read the proposed order, both proposed

20    orders.    I know what you're asking for.      What I'm asking for

21    is the statutory authority to add any of it in there.

22                MR. PATERSON:    Your Honor, I will pass it back to

23    Mr. Kempler if that's okay, if we're talking about the

24    bankruptcy code.

25                THE COURT:   Yeah.   I kind of like to start at the
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 1    10,0000-foot level and then dive in.

 2               Mr. Kempler, so point to me statutory authority

 3    for what you're asking for.

 4               MR. KEMPLER:     Your Honor, I think the statutory

 5    authority here is under 105.        I think the issue here --

 6               THE COURT:     But 105 requires an underlying -- 105

 7    gives further authority to other sections.         So what other

 8    section are you relying on?

 9               MR. KEMPLER:     I think we are giving effect to 1112

10    and 348.   It's perfectly appropriate for the Court in

11    ordering the conversion of the case to take into account

12    particular risks or concerns of that case and to do it in a

13    way that makes the conversion to the Chapter 7 as seamless

14    as possible and as value-preserving as possible.          And in our

15    view, provisions that we placed in the order are all

16    intended to ensure that the value of both the Jones case and

17    then also when we get to the FSS case, because I think

18    there's some overlap there, that there is not any type of

19    gap or loss of -- you know, the Committee here has done a

20    tremendous amount of work.        I think the idea that we're

21    trying to just preserve rights, preserve value, prevent

22    potential value degradation, I think all that is in

23    furtherance of converting the case.

24               THE COURT:     Okay.    So walk me through

25               MR. KEMPLER:     So I don't know, Your Honor, if you
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 1    want to come back to any of the disputed exhibits.          But --

 2                THE COURT:     I am more concerned about what this

 3    says and where the statutory provision -- in other words...

 4                MR. KEMPLER:     Yeah.    Let me start.   I think the

 5    provisions of this order fall in a couple of buckets.           And

 6    one of those buckets I'm going to let the Committee counsel

 7    handle because I think it's more germane to their concerns.

 8                THE COURT:     Let's talk about the ones that you

 9    want to talk about, then, since you're here.

10                MR. KEMPLER:     So let's start with the trustee

11    election.

12                THE COURT:     Right.    The Code talks about what to

13    do with a trustee when an interim trustee is appointed and

14    then a permanent.     Why am I getting into that?       How is that

15    105, right?    Why don't we just let the Code speak for

16    itself, right?

17                MR. KEMPLER:     We're not asking for anything that

18    the Code doesn't provide, Your Honor.

19                THE COURT:     Well then why do I need to put it in

20    an order?

21                MR. KEMPLER:     We're worried about timeline here.

22    The Code requires --

23                THE COURT:     But that's a Congress issue right?

24    Congress put it in.      Congress said when a case is converted,

25    an interim trustee gets appointed.         And then within 30 days
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 1    they'll have another election.          So why can't we just let the

 2    Code speak for itself?

 3                MR. KEMPLER:     Because I think if we just go by the

 4    defaults here, Your Honor, I think that there is going to be

 5    a significant period of time where a trustee -- let's just

 6    take one step back.

 7                Here a hundred percent of the creditors of the

 8    Jones case are represented by three of the folks on this

 9    table.

10                THE COURT:     Right.

11                MR. KEMPLER:     We have an agreement as to who we

12    would like to be our trustee.

13                THE COURT:     Okay.

14                MR. KEMPLER:     So this is not an issue where you're

15    going to show up at a 341 meeting and have a dispute over

16    who it should be or have some creditor saying I'm not so

17    sure.    There is unanimity in who the trustee should be.         We

18    think that it is important to have a trustee that we have

19    confidence in given the pretty complex issues here.

20                THE COURT:     Doesn't the Code speak otherwise?      The

21    Code speaks -- you get to have your day at the time of the

22    election.    But at the time of the conversion, the Code

23    speaks and says that an interim trustee gets appointed.           So

24    in other words, what you're asking me to do is add words to

25    what Congress put on this.          And it's not in furtherance of
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 1    it.   You want to have confidence in the person.         But when a

 2    case converts, I don't even know who it is.         I find out when

 3    everybody else does.      So I'm -- you're asking me to add

 4    words to what Congress prescribed.        There's an interim

 5    trustee that gets appointed, and I don't know who she or he

 6    will be and I don't know what she or he will do within the

 7    first -- until the meeting is prescribed where folks can

 8    elect.   And I got it, you may have the votes to do it as an

 9    election and there could be fights about that.          But I am

10    concerned that I'm being asked to put -- either add words to

11    the statute or to take away or diminish the process that has

12    been set forth in the Bankruptcy Code.        And my job when

13    things get really hard is to hug the rules and the Code.

14               MR. KEMPLER:     So, Your Honor, a couple of

15    reactions there.     We're not saying there should not be an

16    interim trustee.     We understand.

17               THE COURT:     But you want to have a hand in who it

18    is.

19               MR. KEMPLER:     No.   The United States Trustee will

20    appoint an interim trustee.

21               THE COURT:     You just said you want to have

22    confidence in who it was.

23               MR. KEMPLER:     Your Honor, we will then elect a

24    permanent trustee.      We're not asking you to say that the

25    U.S. Trustee cannot fulfill its obligations to appoint an
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 1    interim trustee hopefully later today.          That's not what

 2    we're asking for.

 3                What we are saying is when you look at the Code,

 4    it says that the creditors are allowed to then elect a

 5    trustee at the 341 meeting.          They have to announce their

 6    intention to do that.       Now, the Code doesn't say how you

 7    announce that intention, it doesn't say how that works with

 8    a lot of particularity.

 9                So what we are asking you to do to today, Your

10    Honor, is in this order it will be announced so that there

11    is no question to anybody that we intend at the 341 meeting,

12    which is exactly what the Code says, we intend to elect a

13    trustee at that time.       There will be an interim trustee

14    between now and then.

15                Now, Your Honor, we had tried to put in earlier

16    drafts --

17                THE COURT:     Let me give you an example.

18                MR. KEMPLER:     Yeah.

19                THE COURT:     Immediately -- let's just kind of walk

20    through this.    Immediately upon appointment of any interim

21    Chapter 7 trustee, Jones has to turn over to the interim

22    trustee all records and property of the estates in his

23    possession, custody, and control provided, however, that the

24    interim trustee shall not be entitled to retain

25    professionals or settle any claims or causes of action or
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 1    otherwise to utilize, dispose of any assets before the

 2    election of a permanent trustee without the prior written

 3    consent of the Connecticut families and the Texas families.

 4    Right?    You are trying to add...

 5                MR. KEMPLER:     We are trying to limit what the

 6    interim trustee can do.

 7                THE COURT:     And where is that in the Code?

 8                MR. KEMPLER:     Your Honor, there's no provision of

 9    the Code that allows that.       We don't believe there's a

10    provision of the Code that disallows that.         And again, what

11    we are contemplating happening here --

12                THE COURT:     I've got what you're contemplating.

13    I'm just trying to make sure that we are all on the same

14    page.    Because the duties of the trustee are set forth in

15    704, right?     And so -- and now I'm going to say that the

16    Chapter 7 trustee in Paragraph 3 is going to be elected by

17    20 percent of the Sandy Hook families.        In other words, I'm

18    putting in here who gets to pick.        And maybe that's right.

19    But how in the world can I make that determination now in

20    Paragraph 3 today?

21                MR. KEMPLER:     I don't think you are making that

22    determination --

23                THE COURT:     Oh no, I --

24                MR. KEMPLER:     Sorry, you're saying in Paragraph 3

25    of the order.
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 1                 THE COURT:     Yeah.     How in the world can I make

 2    that determination now?

 3                 MR. KEMPLER:     You do that, Your Honor, as an

 4    announcement of our intent to elect a trustee.           I --

 5                 THE COURT:     That's not an announcement.     That's me

 6    signing a piece of paper saying that this is how I was going

 7    to do it.

 8                 MR. KEMPLER:     That's fair, Your Honor.     The

 9    Bankruptcy Code says what the Bankruptcy Code says.              And it

10    says that 20 percent of creditors can elect a trustee.

11    Obviously last night they filed claim objections trying to

12    defang us from this.        You know...

13                 THE COURT:     And I don't want to get into that.        I

14    got it.

15                 MR. KEMPLER:     Sure.     When we were voting on a

16    plan, no issue.     But now it's an issue.

17                 But there's -- again, there's only two groups of

18    creditors in this case.        So we think that by saying that the

19    Sandy Hook families are entitled to elect a trustee at the

20    341 meeting, we don't understand who would be harmed by that

21    provision.     And, Your Honor, we just think that it would

22    make the most sense given the posture of these cases to have

23    certainty that at that 341 meeting, there will be an

24    election, which is exactly what the Code says can happen.

25                 You know, I will concede, Your Honor, there is not
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 1    a provision in the Bankruptcy Code that says that you can

 2    put this in an order.        But again, we view this as merely

 3    implementing what the Code already says.

 4                 THE COURT:     Understood.    Talk to me about -- I

 5    guess I would ask do the --

 6                 MR. KEMPLER:     Sorry.

 7                 THE COURT:     The paragraph with the protective

 8    order.     Can you just explain to me the -- kind of the --

 9    your position on that?        I know that Ms. Driver expressed

10    that provision, kind of a view about it.          Tell me your view

11    on that.     Because I know that does involve the Connecticut

12    families.

13                 MR. KEMPLER:     It does, Your Honor.    So there's a

14    couple of things going on there.          One, as Your Honor knows,

15    the Creditors' Committee here has really taken the lead on

16    doing a significant investigation and has collected

17    significant amount of documents.          A lot of this is intended

18    to ensure that the trustee, the Chapter 7 trustee, whether

19    it's the interim trustee or the permanent trustee that we

20    would elect, that that work doesn't have to be redone.             So

21    we want to make sure that that information notwithstanding

22    the protective order in this case can be given over to the

23    fiduciary of the estate to do what that fiduciary determines

24    is necessary to do with it.

25                 The second issue is with respect to the privilege.
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 1    I want to be very clear because I think this was left out of

 2    the earlier comments.     That privilege is only with respect

 3    to claims and causes of action of the Chapter 7 estate.

 4    It's not just any privilege that Mr. Jones may otherwise

 5    have.   And I think if you look at the pleadings -- and I

 6    don't think there's really any dispute of this -- there's

 7    only a handful of causes of action that we believe are worth

 8    pursuing.     We think those are very important causes of

 9    action, but it's not like there are a hundred various claims

10    that we think we should be -- or the Chapter 7 trustee

11    should get the privilege for.

12                 The case law here is very well-settled, especially

13    in the corporate context, that the privilege would go to a

14    Chapter 7 trusted.     And again, we think here where there are

15    identified claims that the trustee would be pursuing on

16    behalf of the Jones estate, we think that that provision is

17    wholly appropriate.

18                 There are also provisions in here that would allow

19    the families to use the information that has been received

20    in this case to continue pursuing claims against Mr. Jones,

21    again, assuming the non-dischargeability order is upheld on

22    appeal, there is going to be additional litigation against

23    Mr. Jones.     We think it would be just an unnecessary burden

24    to require the families to go out and get the same

25    information that they already obtained.        So that is the
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 1    other purpose of these provisions.            That I think covers

 2    those, Your Honor.        But if I missed any, please let me know.

 3                 THE COURT:     I think Ms. Driver talked about

 4    Paragraph 5 too, that all orders entered in the Jones case

 5    remain in full force and in effect and survive the

 6    conversation.     I think that was the other paragraph that she

 7    had mentioned.

 8                 MR. KEMPLER:     Yeah.     I'm not sure what the problem

 9    with that provision is, Your Honor.            I would think that

10    would be the default anyways.           I don't think anybody here

11    would suggest that everything you've done over the last two

12    years essentially goes up in smoke because there's a

13    conversion.     I think that the case is converted, but Your

14    Honor's rulings remain Your Honor's rulings in this case.

15    And I can't think of any particular one here that we're

16    trying to game or they're trying to get out of.            So maybe

17    there's a particular example they have in mind.            I honestly

18    do not know.

19                 THE COURT:     Okay.     Okay.   Let me hear from the

20    Committee.

21                 MS. PORTER:     Good morning, Your Honor.      Kathryn

22    Porter from Akin on behalf of the Committee.

23                 THE COURT:     Good morning.

24                 MS. PORTER:     Thank you for giving us the

25    opportunity to speak with you today about the form of the
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 1    order for conversion.     The Committee, together with the

 2    Texas and Connecticut families, do support conversion of the

 3    case.   But we think that based on our -- we have very real

 4    concerns based on our experience over the past year, year-

 5    and-a-half actually, that we believe should be addressed

 6    appropriate in connection with the conversion order in order

 7    to, as Mr. explained, preserve the value of the estate.

 8               As such, we proposed the alternative form of order

 9    that is found at Docket Number 698.

10               If I may, Your Honor, I would like to briefly

11    address some of the context and the history that we went

12    through as the Committee which led us to these conclusions.

13               THE COURT:    Mm-hmm.

14               MS. PORTER:    Thank you.    As Your Honor is aware,

15    very early in the case the Committee determined that it was

16    necessary to conduct a full investigation of the claims and

17    causes of action and liabilities that Mr. Jones has.

18    Together we obtained more than $60,000 documents.            We took

19    several depositions.     We obtained documents from I think

20    more than three dozen parties all tools.         It was an

21    extensive investigation and it revealed that very serious

22    and troubling prepetition transactions were undertaken by

23    this debtor with, from my perspective, the clear intent to

24    hinder, delay, or defraud his creditors.

25               We have brought these claims and causes of action
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 1    and these facts to the Debtor and the Debtor's counsel many

 2    times.    We sent demand letters.     And it was from our

 3    perspective these were important, serious issues.

 4                 The Debtor asked us do not pursue these causes of

 5    action.    The Debtor told us I will not pursue these causes

 6    of action and I implore you, Committee, don't pursue these

 7    causes of action now.     If you do so, it will completely

 8    derail any chance of a consensual resolution in these cases.

 9                 Based on the Debtor's request to us not to move

10    forward, we did agree to defer seeking standing and

11    otherwise pursuing these causes of action while we engaged

12    in good faith with the Debtor, tried to see if there was any

13    hope of a consensual resolution.       Unfortunately, as you

14    know, that didn't come to pass, which is why we are here

15    today.

16                 I don't want to go through all of the particular

17    findings that the Committee thinks they found through the

18    course of our investigation.       It's not in the record and

19    that's not the point of the hearing today.         But I will note

20    that some of the more salient and pressing issues were set

21    forth in the disclosure statement the Committee has

22    submitted in connection with its plan, which has now been

23    withdrawn.     And they include backdated documents, they

24    include a flurry of transactions right in advance of the

25    petition date after judgements had been entered against the
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 1    Debtor to his family, close family.        And it amounts to more

 2    than, you know, several million dollars in value that was

 3    diverted in this way.

 4                 So this is a very serious point of concern for the

 5    Committee and one that we think needs to be protected and

 6    transferred to the trustee, the Chapter 7 trustee.          We think

 7    that actually there is not much value going to the trustee.

 8    The claims and causes of action are probably the most

 9    valuable thing that will be transferred to the trustee in

10    this case.

11                 Now, that leads me to some of the points that we

12    included in the order to make sure that the claims and

13    causes of action will be transferred and preserved as much

14    as possible for the trustee.       One of them is the one that

15    Mr. Kempler touched on and that I think is very important,

16    and that is to ensure that there will be a seamless

17    transition of information that the Committee gathered over

18    the course of this investigation, which was extensive,

19    costly.    It should not have to be redone by the Chapter 7

20    trustee.     Some parties produced documents to the Committee

21    with additional restrictions.       Some documents were produced

22    under the protective order.      We would like comfort to make

23    it crystal clear that information and documents that was

24    obtained by the Committee and during the course if its

25    investigation can be provided to the Chapter 7 trustee so
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 1    the Chapter 7 trustee can move forward with that work.

 2               Second, we think it's important that the

 3    Committee's work product should be handed over to the

 4    Chapter 7 trustee as well.      The Committee has fully drafted

 5    complaints, has for quite some time.        And we think that --

 6    as I mentioned, we deferred prosecuting those at the request

 7    of the Debtor.    We think that those documents should be --

 8    that work product should be handed over to the Chapter 7

 9    trustee so the Chapter 7 trustee can record them as the

10    Chapter 7 trustee finds to be appropriate.

11               The next item in the protective order that we --

12    sorry, not protective order, in the conversion order that we

13    think is important relates to privilege.         This is something

14    that Ms. Jones -- Ms. Driver mentioned as a concern for the

15    Debtor.   It's equally a concern for the Committee.         The

16    claims and causes of action the Committee found have

17    hallmarks of intentional fraud that from my perspective are

18    very clear.    I think the case law is also clear that while

19    it's less common in the individual context, it is

20    permissible in the context of an individual debtor for the

21    privilege to transfer.      We're only asking for privilege to

22    transfer with respect to identified claims, but we think

23    that is critical in order to ensure that those claims can be

24    -- the value of those claims be maximized.

25               Finally, Ms. Driver mentioned the extent that the
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 1    Committee would continue to be in existence after the

 2    conversion.     As Your Honor noted, that relates to the

 3    question of fees.     And Ms. Driver mentioned coordination.

 4    It's not that the Committee intends to continue being

 5    active, the committee -- and coordinating on an ongoing

 6    basis with the Chapter 7 trustee, but we do think it's

 7    important that we are able to hand over files and answer

 8    questions if they come up solely to ensure that the work

 9    product is seamlessly transferred over to the Chapter 7

10    trustee and that no value is lost in the process.

11                 Finally, I will note that it is -- we included a

12    provision in the order to ensure that the Chapter 7 trustee

13    will have the ability to identify what the trustee

14    determines to be property of the estate and collect it,

15    including value in trusts.      This is a point that's been in

16    contention between the Committee and the Debtor for a very

17    long time.     We have identified real property that is worth

18    hundreds of thousands of dollars that we think very clearly

19    belongs to the Debtor's estate and which the Debtor has

20    disclaimed ownership of.      We can't understand the rationale.

21                 We think that this is not something that we are

22    asking the Court to order today.       Clearly that's not before

23    you to ultimately decide.      But given that it is an

24    identified issue between the parties, we think it makes

25    sense to make clear that the Chapter 7 trustee is not going
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 1    to be constrained by what the Debtor thinks is in the estate

 2    and he's turning over.      It should be the Chapter 7 trustee's

 3    determination whether or not property belongs to the estate.

 4    We think that these are powers the trustee has anyway.           All

 5    rights will be preserved.        The debtor can argue and the

 6    putative owner can also argue that the property doesn't

 7    belong to the debtor's estate, but we think that it is

 8    absolutely important given that this is an issue that's been

 9    identified between the parties for some time now that the

10    Chapter 7 trustee clearly has the ability to identify and

11    recover assets whether or not this particular debtor agrees

12    they are part of the estate that he's handing over.

13               I'm happy to answer any questions.

14               THE COURT:    Thank you very much.

15               MR. LEMMON:    Your Honor, may I speak briefly?

16               THE COURT:    Sure.

17               MR. LEMMON:    Steve Lemmon for PQPR.      My client and

18    its principal, who are represented by Mr. Robbins, produced

19    over 150,000 pages of documents to the Unsecured Creditors'

20    Committee in response to their subpoena.         And we did it on

21    the express promise of the firm representing the Creditors'

22    Committee that they were not going to share those documents

23    with anybody.

24               We have a big problem with language being included

25    in an order in the Jones case absent somebody filing a
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 1    motion seeking affirmative relief, but just slipping it into

 2    the order that changes that promise.

 3                 Now, Judge, we'll work with whoever Mr. Jones'

 4    trustee is.     And, frankly, we're not interested in going

 5    through the expense, which was extensive, of producing it

 6    all again.     But I do have a big problem with changing the

 7    terms of that promise that was made by the Unsecured

 8    Creditors' Committee here at the last moment in this order.

 9    And we would object to that.

10                 THE COURT:    Thank you.   Mr. Nguyen?

11                 MR. NGUYEN:    Thank you, Your Honor.     Ha Nguyen for

12    the U.S. Trustee.     Your Honor, I just want to give the Court

13    a little bit of comfort, Your Honor, into the order.           We

14    will be ready to appoint an interim trustee.          It will be

15    within the hour that Your Honor enter.        We've cleared

16    conflict, we've did our investigation and due diligence on

17    an interim trustee.

18                 So if anyone else, any creditor has concern about

19    any vacuum period where we don't have an interim trustee,

20    that won't be the case.       We are ready to appoint an interim

21    trustee once Your Honor convert.        And, Your Honor, I just

22    want to address the two competing orders.

23                 Ms. Driver is correct, we were able to work with

24    Mr. Jones' proposed order in the conversion.          And one of the

25    reasons why we were able to do that is because we do have a
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 1    very comprehensive Bankruptcy Code and rules that really

 2    addresses many of the issues that the Committee proposed

 3    order.

 4               For example, issues with elections.        Section 702

 5    really lays out what would happen at an election.          There are

 6    ways for a party to come in and dispute certain claims,

 7    dispute the election.     And there is a process that is

 8    already in place.

 9               Another concern that we had with the Committee's

10    proposed order is that it restricts our interim trustee or

11    the permanent trustee's duties under 704.         Congress clearly

12    lays out those duties under 704.       And so we would oppose

13    anything that would hamstring a trustee that hasn't even

14    been appointed yet at the outset.       Really the concern is

15    we're kind of front-loading a lot of the issues in a

16    conversion order.

17               The U.S. Trustee's preference is to always have a

18    clean, simple order that says the case is converted to

19    Chapter 7 and then the Code and the rules actually kick into

20    place.   If there's issues with third party holding assets,

21    there is a code provision for a trustee to come in her and

22    ask Your Honor for an order of turnover.

23               Rule 1019 really sets out Mr. Jones' obligations.

24    Once a case is converted, it requires him to turn over

25    asset, it requires him to do certain reporting.          Those are
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 1    all in the Code and the rules.        I think it's unnecessary to

 2    front load a lot of these issues.        And I've been before Your

 3    Honor enough time to know that if one of our panel trustee

 4    have an issue, you're just a phone call away and the trustee

 5    will be able to have a hearing on that.

 6                 And in terms of...

 7                 THE COURT:    What are your thoughts about the

 8    Committee staying on just in case someone has a question or

 9    from a transition perspective?

10                 MR. NGUYEN:    Your Honor, the Committee ceases to

11    exist once the case is converted.        That's just how the Code

12    -- Your Honor can keep them for fees and other issues.           But

13    they are professionals.       The Chapter 7 trustee will always

14    reach out to professionals.        They know how to do it.

15    Sometimes Committee counsel end up representing Chapter 7

16    trustee.     It happens all the time.     So there is a process in

17    place.

18                 I know there's issues with the protective orders,

19    but those are your orders.        And once we have a trustee if

20    there's -- I think absolutely there shouldn't be any

21    duplication of work between the Chapter 7 trustee and the

22    UCC.     But Your Honor have protective orders, we have a very

23    well-experienced panel of Chapter 7 trustee.         They know how

24    to come in and ask Your Honor to amend those protective

25    order to allow them access to documents.         I just think it's
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 1    inappropriate for us to handle those situations in a

 2    conversion order, which is very unusual.          But to give people

 3    comfort, our Chapter 7 trustee, they step into complicated

 4    cases such as this one all the time.          And I'm fairly

 5    confident that all of the issues that are brought in the

 6    Committee's order will be resolved.          I just don't think it's

 7    appropriate at this time to resolve it through a conversion

 8    order.

 9                 So we would simply request that whatever order

10    Your Honor enters, it be simple.          And then let the Code and

11    the rules play out as Congress intended.          Because we do have

12    a very comprehensive Bankruptcy Code.          Thank you, Your

13    Honor.

14                 THE COURT:    Thank you.

15                 Ms. Driver, I'll give you the final word if you

16    want one.

17                 MS. DRIVER:    I'm going to try to make this short

18    and sweet.

19                 Earlier, Your Honor, when I said that the

20    privilege issue was just as to do with the protective order,

21    I actually missed Paragraph 7.          This is the paragraph that

22    says all privileges, including the attorney-client privilege

23    held by Jones related to any property of the estate,

24    including but not limited to claims, causes of action, shall

25    transfer to the interim trustee upon conversion and then to
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 1    the Chapter 7 trustee upon appointment to the fullest extent

 2    permitted by applicable law and the interim trustee and the

 3    Chapter 7 trustee as applicable shall hold such privilege.

 4               I just want to point the Court to In re Hunt, 133

 5    B.R. 445 (1992).     That case was absolutely crystal clear

 6    that absent the crime-fraud exception, which has not been

 7    alleged here, there is no passing of the privilege from an

 8    individual to a trustee.

 9               It does pass in corporate cases.        And I understand

10    why lawyers that do corporate cases could get this confused.

11    But it is not confusing to me.

12               Your Honor, it would be absolutely unprecedented

13    for the waive of attorney-client privilege and transfer to a

14    Chapter 7 trustee to happen on 48 hours' notice.

15               Your Honor, in Ms. Porter's statement, I was a

16    little bit shocked to hear her say some of the things she

17    said because it invaded what I consider to be 408.          So

18    before we start the FSS hearing, I may just want a moment to

19    discuss with the Committee if we're waiving that.

20               The last thing I'll say -- the last two things

21    I'll say, Your Honor, is that a lot of the claims that Ms.

22    Porter mentioned, I'll represent to Your Honor that the best

23    of my recollection, every single transfer that she is

24    concerned about, that the Committee spent all of these hours

25    investigating, reflected a couple of cars and a boat.            Our
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 1    disagreement on whether there is property that was

 2    transferred to a trust is reachable by the estate is just

 3    one of the disagreement of legal -- a legal disagreement,

 4    which will be appropriate to bring in front of Your Honor by

 5    a Chapter 7 trustee if they agree with the Committee.

 6               And finally I would say, Your Honor, if you want

 7    to say that this Chapter 7 trustee is getting nothing but

 8    causes of actions, I would dispute that.         I have $2.8

 9    million sitting in my trust account at my office from the

10    sale of the ranch that we will be sending to the trustee as

11    soon as I have a bank account number.        So they are going to

12    have plenty of assets on day one.        I don't think that's

13    relevant, but that was said and I just wanted to make sure

14    that that record was clear.

15               Your Honor, do you have any other questions for

16    the Debtor on this?

17               THE COURT:    No.

18               MS. DRIVER:    Thank you.

19               THE COURT:    Thank you.     Let me -- go ahead, Ms.

20    Porter.

21               Not if you're going to talk about the 408 stuff

22    back and forth.    I'm not interested in that.

23               MS. PORTER:    I won't.     Thank you.

24               THE COURT:    Okay.

25               MS. PORTER:    First I just wanted to say we are not
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 1    suggesting that the only thing that the trustee is getting

 2    is causes of action.     We are suggesting that they are a very

 3    important asset that the trustee is going to be -- will be

 4    handed over.    And I would like to point Your Honor to White

 5    v. Williams, which is a case in which an individual debtor's

 6    privileges did transfer.

 7               MS. DRIVER:    Could I get the cite on that?

 8               MS. PORTER:    Absolutely.     It is 152 B.R. 123.

 9               MS. DRIVER:    And what district is that out of?

10               MS. PORTER:    The Northern District of Texas.

11               THE COURT:    Okay.   Before the Court is an

12    emergency motion filed by the Debtor seeking to convert an

13    individual Chapter 11 case to a case under Chapter 7 of the

14    Bankruptcy Code.     Docket Number 684 was filed on June 5th.

15    I'm going to note the Court has jurisdiction under 28 U.S.C.

16    1334 (indiscernible).     This is a core proceeding under 28

17    U.S.C. 157, the request on an emergency basis.

18               The Court has for quite some time indicated that I

19    would make decisions today about the Jones case and in the

20    Free Speech case for quite some time.        So I think emergency

21    consideration of this motion at this time is appropriate and

22    I will grant emergency consideration of the motion.

23               I would note as well there was a pending

24    confirmation hearing in the Jones case.        The families

25    indicated that they do not intend to proceed with that
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 1    Chapter 11 plan that they had filed and instead will not

 2    object to the proposed relief requested in the emergency

 3    motion.    To the Court's knowledge there has been proper

 4    notice and service under the circumstances.         And so I will

 5    consider a motion now.

 6                 The appropriate section that we're looking for

 7    when a Debtor seeks to convert individual case here is

 8    1112(a).     And it says that the Debtor may convert a case

 9    under this chapter to a case under Chapter 7 of the title

10    unless the debtor is not a debtor in possession, the case

11    originally was commenced as an involuntary case, or three,

12    the case was converted to a case under -- was converted to a

13    case under this chapter other than on the Debtor's request.

14    And so those three don't apply.       What we are left with is a

15    request.

16                 I would note 1112(f) also says notwithstanding any

17    other provision, a case may not be converted to a case under

18    another chapter unless the debtor may be a debtor under that

19    chapter.     And that would not apply in Mr. Jones' case as

20    individual.     So, quite frankly, I think the only Chapter 11

21    debtor who couldn't be a 7 would be a railroad, and we don't

22    have to deal with that today.       So certainly 1112(f) has been

23    satisfied.

24                 So really we are dealing with a conversion quite

25    frankly as a matter of right here.        So the question is
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 1    what's the proposed form of order.

 2                 I would note and I think it's important to note

 3    that 1112(b) is another form of a request to convert a case.

 4    And that expands it to any party in interest.         So not just

 5    the Debtor, a party in interest.       And really you look to a

 6    party in interest as anyone who would have standing in a

 7    case could come in and ask.      And the standard for that is

 8    cause.     Right?   And that means that there has to be -- and

 9    there's a non-exclusive list of what can constitute the

10    cause.     It includes but it's not limited to when you look at

11    1112(b)(4).

12                 So (a) is the debtor has the exclusive right to

13    request it.     (b), other parties in interest can come in and

14    ask to convert.      And when you look at what cause means, it

15    kind of points to what I would call bad acts or there's no

16    hope for a reorganization and something has to happen and

17    then we're just in Chapter 11.       But we're not in (b) land.

18    And I think that's different than a debtor converting under

19    (a).     I think under (b) you convert for cause.       But

20    depending on what the cause is, you may have to enter

21    language in an order to deal with and preserve the issues

22    that have been -- with the cause for example, if there was

23    gross mismanagement of the estate, you could immediately

24    convert.     But you may have to put something in there to kind

25    of deal with whether there was gross mismanagement or
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 1    unauthorized use of cash.        That would be a request under a

 2    (b).     But we're not in (b).     We're in (a) land.    And that

 3    just says that the debtor may convert.        And that's where we

 4    are.

 5                 And so I think when you're in (a), you just get a

 6    clean order converting the case, and because it's the Debtor

 7    who is asking for the right to convert.        And I understand

 8    that there are a lot of issues here, some of them legal.

 9    Others go outside what I would call legal.         And I think in

10    these instances what makes the most sense is to enter the

11    order.     It allows an interim trustee, whoever that is, and

12    whatever she or he is empowered to do under the Code.           And

13    that's what they get to do.

14                 The Code says once a case is converted, you look

15    to other sections of the Code.        701 says an interim trustee

16    gets appointed.     And the Bankruptcy rules kick in and they

17    say, well, if their case is converted, then the Debtor has

18    to provide some reporting, he's got to turn over records.

19    What is property of the estate or is not property of the

20    estate is not determined by the Chapter 7 trustee.          It's

21    determined by Section 541 of the Code.        The Code itself will

22    speak to what is property of the estate and the effective

23    conversion on that in a Chapter 11 case is less work to do

24    than if there was a Chapter 13 case.        So the Code itself

25    will speak to those issues.
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 1                 I understand the issues and I understand the

 2    concerns, but the Code speaks to what must immediately

 3    happen.     And I think the best answer is to get an interim

 4    trustee and let that person get to work right away and do

 5    their job.     And the Code speaks to when there will be an

 6    election, and parties will have their rights under that

 7    election.     I don't think in a conversion under (a) that we

 8    have to address issues of privilege, protective orders.             My

 9    orders are their orders and they will continue to be -- have

10    whatever effect they have in the Chapter 7 case.          If that

11    interim trustee elects to reach out, I'm sure if there's

12    issues and fights about privilege, I'll be here and I'll

13    make the call.     But I don't think I need to determine those

14    issues today.     What is before me is just a conversion and

15    it's the same conversion order that I've entered in large

16    corporate cases.     It's the same conversion that I've entered

17    in ordinary consumer cases, whether large or small the same

18    order.    And I think it would be appropriate here.

19                 I think parties know that by entering an order

20    like that and telling everyone that I'm relying on the

21    rules, that everybody ought to encourage everyone to go back

22    and take a hard look at the rules, because I'm going to

23    strictly apply them.     And that would go for the Debtor, that

24    would go for the interim trustee, the scope of those duties,

25    what the Debtor's responsibilities are, what the Debtor is,
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 1    property of the estate all of those issues I'm going to

 2    strictly enforce because that's what the law requires me to

 3    do.

 4               And so I'm hoping that during this period everyone

 5    take a hard read of the rules.       Because I know I am.      And

 6    they will be strictly applied and enforced.         Sounds like the

 7    U.S. Trustee is ready once I enter an order.         And we'll see

 8    where the process goes.      But I don't want -- one thing I

 9    don't want to do is to put into an order where an interim

10    trustee then comes in and has to figure out what I did

11    immediately before that person got appointed.         I think the

12    interim trustee would have a say in some of these things,

13    and I think it would only out of fairness to a person who

14    would be bound by something to understand and be a part of.

15    So I'm just calling it the way Congress tells me to do it.

16               So I'm just going to enter a very clean order that

17    says -- although I do think much of what was requested here

18    is already in the Code.      I just feel more comfortable not

19    construing my order and then determining how it applies

20    against the Code.     I would rather just read the Code and the

21    text very strictly.     I think textual is the way to go here.

22    Follow the rules, follow the process.        That way everybody is

23    entitled to due process and everybody's rights are preserved

24    for the Texas families, the Connecticut families, Mr. Jones,

25    PQPR, any of the other parties in this case.         So I'm going
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 1    to grant the motion.

 2                I think the debtor, you know, noticed that 11(a)

 3    is -- says the debtor may do it.       11(b) says they can only

 4    do it for cause and if you satisfy these reasons.          So I

 5    think it's a matter of right the debtor may qualify, would

 6    have the right to convert, and I've heard of no facts or

 7    anything that would -- or law that would suggest otherwise.

 8    And so what I'm doing is afforded under the Bankruptcy Code,

 9    and that's what I'll do.       So that's that.    Let's go to Free

10    Speech.

11                MR. KIMPLER:     Your Honor, Kyle Kimpler from Paul

12    Weiss on behalf of the Connecticut families.         I think the

13    motion that's pending in Free Speech is our motion to

14    convert.    So if it would make sense to the Court, we're

15    happy to start.    I do think there are evidentiary matters in

16    particular here because I think we are proceeding under

17    1112(b).    And so if it would please the Court, we'd like to

18    start with a short evidentiary presentation.

19                THE COURT:     Okay.

20                MR. KIMPLER:     With that, I'll turn it over to Mr.

21    Paterson.

22                MR. PATERSON:     Good morning again, Your Honor.

23                THE COURT:     Good morning.

24                MR. PATERSON:     Your Honor, I think this takes us

25    back to where we were before.       Our exhibit list, the updated
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 1    exhibit list, there's 950 in the FSS case, and I believe

 2    there was no objection from Ms. Driver to Exhibits 1, 2, 10,

 3    11, and 12.

 4                 Your Honor, just to give you a sense of what the

 5    remaining exhibits are, many of them are transcripts of Mr.

 6    Jones' show, other statements by Mr. Jones, other public

 7    documents.     We believe there's no -- no one can reasonably

 8    argue with their authenticity or admissibility.

 9    Specifically, Your Honor, Exhibits 4 to 6 and 14 are either

10    transcripts or transcript excerpts of what Mr. Jones has

11    said.

12                 Exhibits 7 to 9 are screenshots from Dr. Jones'

13    Naturals website of Mr. Jones' father where Mr. Jones has

14    been sending FSS' viewers.      Exhibit 3 is a declaration from

15    Ms. Robinson just attaching those screenshots and most of

16    the transcripts, and they were filed to give the Court a

17    record so we didn't need live testimony on that point.            10

18    and 11 we talked about.      They were the schedules filed in

19    the FSS and Jones case.      There was no objection.

20                 12 was Mr. Jones' response to FFS' motion to

21    convert.     I believe there was no objection as to that

22    either.    And 13 is a screenshot of Mr. Jones' Twitter

23    account.     So Your Honor, we don't believe that any of these

24    documents should be controversial.        We're happy to elicit

25    further testimony laying an evidentiary basis.          If Your
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 1    Honor would find that helpful or constructive in some way,

 2    we're happy to question Mr. Jones on his statements if that

 3    would be constructive to lay a basis.        But otherwise, in the

 4    interest of efficiency, we'd just propose moving these into

 5    evidence.

 6                MS. CATMULL:     Your Honor, for FSS, Free Speech

 7    Systems has no objection to the admission.

 8                THE COURT:     Okay.

 9                MR. LEMMON:     Your Honor, Steve Lemmon for PQPR.

10    We have an objection.       We have the same objection that Ms.

11    Driver had in the Jones case, but let me preface that if I

12    might, Your Honor, with just 30 seconds of partly why we

13    have the objection.       The argument today is essentially

14    between two of the sets of plaintiffs over whether or not to

15    have a conversion, and you'll recall my client moved for

16    conversion, and that's set for today also, and versus

17    whether or not to have a dismissal.

18                I would suggest to the Court that this evidence is

19    irrelevant to that issue and that the Court can make the

20    determination really on the basis of the argument of

21    counsel, and that that's the most expeditious way to

22    proceed.    Now, the Court will proceed the way that the Court

23    decides to proceed, but my suggestion is that all of the

24    major factual issues for the Court to make the determination

25    which way it wants to go are now disputed and before the
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 1    Court, and that we do object to getting into the nitty

 2    gritty of these exhibits.

 3                 We object to those particular exhibits.       We find

 4    them to be irrelevant, and we challenge the basis for their

 5    admission.     We also point out that many of these things are

 6    hearsay, and -- but it is irrelevant, Your Honor, to the

 7    issue of whether or not this case should be converted or

 8    dismissed.

 9                 MR. PATERSON:   Your Honor, if I may be heard

10    briefly, the -- as I understand it, the test that the Court

11    is looking at is what's in the best interests of creditors

12    here.    I think evidence on these points is critical, Your

13    Honor.    I think the evidence -- and it's uncontroverted as

14    Mr. Lemmon said.     That's precisely why it should be

15    admitted.     What this evidence basically shows is that Mr.

16    Jones has been making statements on his show, on his FSS

17    show saying don't buy products from FSS' Infowars store.

18    Buy them from my dad instead.       And we think that's

19    absolutely critical for the Court to consider in terms of

20    what's in the best interest of creditors and whether it's

21    handing the keys back to Mr. Jones or it's a conversion.

22    And we can argue -- we can all argue about weight, Your

23    Honor, but I submit --

24                 THE COURT:   Let me -- I do agree that it probably

25    has some -- if someone is going to argue cause to convert, I
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 1    do have to consider what's in the best interest of creditors

 2    and the estate.     Isn't the answer I just take what's

 3    unobjected to and take judicial notice of what's there and

 4    -- in other words, I mean, the question I'm going to have

 5    for the -- why don't I just do that?        Is there any objection

 6    to that?

 7                 MS. DRIVER:    I'm not sure what you're taking

 8    judicial notice of, Your Honor.       All the exhibits that we

 9    didn't object to, obviously those are admitted --

10                 THE COURT:    Right.

11                 MS. DRIVER:    -- if Your Honor decides so.

12                 THE COURT:    Well, Mr. Lemmon is objecting, but I

13    don't think he can object to the admission of those

14    documents.     So that's where we are.

15                 MR. LEMMON:    Well, Your Honor, let me refine my

16    objection a little bit or perhaps explain it better, and

17    that is that they are arguing for a conversion versus a

18    dismissal.

19                 THE COURT:    You're arguing relevance.

20                 MR. LEMMON:    Well, they are arguing -- they're --

21    what I just heard counsel say is that one of the reasons to

22    have a conversion versus a dismissal is that they believe

23    that Alex Jones in the last two weeks, during which period

24    of time you'll recall we didn't want the company to be

25    functioning, said -- or we -- my client objected to the use
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 1    of cash collateral if the Court will recall.         Anyway, they

 2    say that Mr. -- that Dr. -- that Alex Jones made certain

 3    statements that they believe were detrimental to the estate,

 4    okay?

 5               I suggest that that is irrelevant to the issue of

 6    whether or not to dismiss the case or convert the case.           But

 7    I also suggest that -- and I -- it's the only time I've ever

 8    watched the show.     I watched about half of it I think, and

 9    the fact of the matter is that Alex Jones says so many

10    different things on that show that taking almost anything

11    one page at a time is taking it out of context.

12               And so we believe that for the Court to make the

13    decision whether or not to side with Connecticut to convert

14    or to side with Texas and what others suggest and simply

15    dismiss, that the question of what Alex Jones said on his

16    show in the last two weeks is irrelevant.

17               THE COURT:     I'm going to disagree with that on the

18    context.   And I do think if cause is undefined, and I think

19    people get to -- have the right to tell me what they think

20    cause is, so I'm going to -- if there's no objection to it,

21    I'll admit it, but I think it'll go to the weight.

22               MR. LEMMON:     Thank you, Your Honor.

23               MR. PATERSON:     Thank you, Your Honor.      So just to

24    clarify, my understanding is that the exhibits on our list

25    are in the record.      We can (indiscernible) them for purposes
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 1    of this hearing?

 2                THE COURT:    Ms. Driver?

 3                MS. DRIVER:    Your Honor, I just didn't know if

 4    that was a ruling on my objection or if I got a chance to

 5    rebut what he had mentioned.

 6                THE COURT:    I thought you mentioned that all the

 7    -- well, that's why I was going to ask you for a

 8    clarification at this point --

 9                MS. DRIVER:    Okay.

10                THE COURT:    -- to determine what you objected to

11    and what you don't --

12                MS. DRIVER:    Your Honor --

13                THE COURT:    -- for purposes of this hearing.       I

14    think I get to consider -- I don't think I can just say as

15    of right now without anything I shouldn't consider the other

16    exhibits.    That's what I --

17                MS. DRIVER:    Yeah.

18                THE COURT:    -- where I was going.     So I cleared

19    that hurdle.    Now we get into the hurdle of what, if

20    anything, your client objects to.

21                MS. DRIVER:    Your Honor, we just object to the

22    admissibility of the exhibits that we noted.         Your Honor, we

23    believe the best evidence rule provides -- prevents a

24    transcript alone from being admitted because the original is

25    available and could have been provided.
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 1                Your Honor, we also object to the authenticity of

 2    these transcripts.       If Your Honor looks at the transcripts,

 3    you can't tell who transcribed what, how it was transcribed,

 4    what their qualifications are.        And I'm not talking about

 5    Ms. Robinson.    I believe that's her name.

 6                THE COURT:     It is.

 7                MS. DRIVER:     Ms. Robinson, I'm sorry.     Ms. -- I've

 8    had so many names in my head today and I just saw a Robinson

 9    case and I thought maybe I just missed it in my head.            It's

10    not Ms. Robinson's ability to tell the truth that I have a

11    problem with.    It's not her voracity that I have an issue

12    with.    What I don't know is how that transcript was made,

13    who was preparing it, what was used to create it.          It's not

14    a certified transcript by a court reporter, and it --

15                THE COURT:     Is Ms. Robinson here?

16                MS. DRIVER:     She is.

17                MR. PATERSON:     She is, Your Honor.    And if it

18    would be helpful -- we put in her declaration to try to

19    streamline things, but if it would be helpful, I can give a

20    brief proffer of her testimony or she can get on the stand

21    to lay the basis for that.

22                THE COURT:     What does the dec -- let's see.       I'm

23    aware --

24                MR. PATERSON:     The declaration is Exhibit 3, Your

25    Honor.
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 1               THE COURT:     I'm going to -- well, let's see.         What

 2    is the transcript?      There are screenshots?

 3               MR. PATERSON:     There's transcripts 4, 5, and 6,

 4    the screenshots at 7 to 9, and then there's another

 5    transcript we put in at 14, another screenshot at 13.

 6               MS. DRIVER:     These are often done with voice

 7    recognition software.      And during a lot of the discovery

 8    that was done in this case that we did for the committee at

 9    their request we did have to produce certain audio

10    recordings of Mr. Jones' voice.       And we tried to use a voice

11    recognition software to do that.       And when quality-checked

12    by my folks in my office, it was noted that it is very

13    difficult for his voice to be accurately transcribed by AI

14    voice recognition.

15               THE COURT:     Let me ask you.    Is there a contract

16    between Mr. Jones and Free Speech saying where he has to

17    promote product?

18               MS. DRIVER:     Generally speaking, there was an --

19               THE COURT:     I mean like specifically.      Like --

20               MS. DRIVER:     There was an -- there is an MOU.         My

21    understanding is there's an MOU --

22               THE COURT:     I'm not asking for MOUs.      I'm asking

23    for a binding contract between -- in other words, as I

24    understand the nature of the business, Mr. Jones has a radio

25    -- has a show.     I don't want to -- no, I don't even want to
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 1    call it a show.     It -- I don't know what the --

 2                MS. DRIVER:     He broadcasts.

 3                THE COURT:     Broadcasts.   That's the better word.

 4    That's the more accurate word.       I didn't want to get my

 5    lingo wrong here.     There is a broadcast, and as part of that

 6    broadcast he promotes vitamins and other goods, and people

 7    buy them.    And there was an agreement once the money comes

 8    in how it will be divided, right?        Is there an agreement

 9    where he's bound to promote product using a particular

10    website or not?

11                MS. DRIVER:     No, Your Honor.   There is an

12    understanding about him promoting Dr. Jones' Naturals, and

13    it is a promotion agreement where it is a $500 fee that FSS

14    owns every time he promotes Dr. Jones' Naturals.          And that

15    was an agreement reached with Mr. Magill as the CRO.

16                MR. PATERSON:     And Your Honor, I understand

17    there's nothing in that contract that says it's appropriate

18    for Mr. Jones to tell people not to buy products from FSS'

19    Infowars stores.     I think that's just a blatant breach of

20    fiduciary duty among other things, Your Honor.          And there's

21    evidence.    I mean, it's --

22                THE COURT:     Why is it a breach of fiduciary duty?

23                MR. PATERSON:     Because he owes duties to the

24    estate, Your Honor.       He owes duties to FSS' estate, and what

25    he's doing is saying don't support FSS, support my dad
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 1    instead.   And Your Honor, all we want to do is just put in

 2    the statements that he said.       It's striking how --

 3               THE COURT:    What if he said I don't want to work

 4    there anymore?

 5               MR. PATERSON:     That's fine.    He doesn't have to

 6    work there.    That's not -- no contract of personal service

 7    yet.

 8               THE COURT:    In other words, if he's an employee --

 9    you're saying he's breaching his duty as an employee?

10               MR. PATERSON:     I think he's breaching his duty as

11    an employee.     He's breaching duties he owes to the estate.

12               THE COURT:    What fiduciary duties do employees

13    owe?

14               MR. PATERSON:     I think duties of good faith.

15               THE COURT:    Okay.

16               MR. PATERSON:     And he's not just a low-level

17    employee, Your Honor.      He's obviously --

18               THE COURT:    No, no, no, I got it.

19               MR. PATERSON:     And --

20               THE COURT:    I got it.

21               MR. PATERSON:     -- just on the evidentiary issues,

22    it's striking how much Ms. Driver doesn't want you to hear

23    what her client said.

24               THE COURT:    In other words, but I think -- can we

25    just get to the point where we're comfortable admitting that
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 1    there's -- that -- on the show he may be telling folks to go

 2    to Dr. Jones' Naturals as opposed to some other site?

 3                MS. DRIVER:     We'll stipulate to that if this --

 4    but it's the fact that these transcripts are not reliable,

 5    and we have no evidence that they are reliable, and that

 6    there is the ability to put the entire show in the record,

 7    which would give it full context, which we believe is the

 8    only way it should be admissible.

 9                THE COURT:    For what purposes are you seeking to

10    admit this document?

11                MR. PATERSON:     We're seeking to admit this just to

12    show what Mr. Jones said.       That he --

13                THE COURT:    But there's a lot of words in there.

14    Like what part of what he said?

15                MR. PATERSON:     There's a few specific parts, Your

16    Honor, and I could point Mr. Jones to them in testimony.            I

17    could point out there is -- there are parts where he said

18    Infowars is dead, it's not the big thing to support right

19    now.   Go -- we have a separate operation.        It's Dr. Jones'

20    Naturals.    It's my dad.     Go support that instead of

21    Infowars.    We think that's very relevant.       That's all in the

22    excerpts.

23                And just on the point about foundation, Ms.

24    Robinson is here.     I'm happy to put her on to say, Your

25    Honor, she's looked at the transcripts, she's listened to
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 1    the videos.     They're accurate transcripts.        She's visited

 2    the websites.     They're accurate screenshots.

 3                 THE COURT:     I mean, if folks -- I'm just going to

 4    -- just let's do this.        It's -- you're going to have to

 5    prove it up, right?        If she objects to it, you're going to

 6    have to prove it up and we're going to have to see where it

 7    goes.    So Ms. Driver, you're going to have to figure out how

 8    you want -- what you're comfortable stipulating to.

 9                 MS. DRIVER:     Your Honor, for harm in this case,

10    and you want to say that we harmed it, it would be far more

11    relevant to talk about what amount of money FSS made during

12    that time period, which if they had bothered to ask was --

13                 THE COURT:     No, but you said --

14                 MS. DRIVER:     -- almost a record week of sales.

15                 THE COURT:     Folks -- you folks are arguing and

16    we're --

17                 MS. DRIVER:     I'm sorry.

18                 THE COURT:     No, no, no, and we're not talking

19    evidence.     We're just talking about it's not admitted,

20    right?     You're objecting to the admission of this document?

21                 MS. DRIVER:     Correct, Your Honor.

22                 THE COURT:     Okay.   Then we -- in other words, it

23    can be agreed upon or you're going to have to lay a

24    foundation.     That's all I mean.        I'm not saying yes or no,

25    and just -- we're just dealing with preliminary
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 1    housekeeping.

 2               MR. PATERSON:     Understood, Your Honor.      Would you

 3    prefer that I proceed with a proffer or with Mr. -- Ms.

 4    Robinson's live testimony?      I'm happy to do a proffer.

 5               MS. DRIVER:     I'm hopeful that we can have -- could

 6    we have our opening arguments before we get into evidence?

 7    Or we -- I guess we could just crash into evidence.

 8               THE COURT:     I don't need opening arguments.       I

 9    think everybody knows what we're doing today and where we

10    are.   The one question I have is where the -- where -- I

11    know where Connecticut is.      I don't know where the Texas

12    plaintiffs are and maybe I can just hear from them in terms

13    of what position, if any, they hold.        Yeah.   Why don't we

14    just get it ready?

15               MR. KIMPLER:     Thank you, Your Honor.      Just to be

16    clear, we did file a statement in support of dismissal.             And

17    I'll cite to the Document Number 945, Your Honor.          Were you

18    looking for general guidance about dismissal versus

19    conversion or in terms of the evidence, Your Honor?

20               THE COURT:     No, I just know that sometimes people

21    file things and then they show up and they tell me other

22    things.   And I just like to have a clean record to say that

23    945 -- that you still support the statement of dismissal and

24    that's where we are.      I just -- it's more of just a

25    clarification on the record because someone said on the
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 1    record Connecticut's seeking conversion, Texas is seeking

 2    dismissal.     And I just -- you're here.          I'd like to just get

 3    confirmation from you.        Sometimes it's just easier for me to

 4    ask than to just present.

 5                 MR. KIMPLER:     That makes total sense, Your Honor.

 6    To be clear, we 100 percent stand by our statement to the

 7    Court.

 8                 THE COURT:     Okay.     Thank you.

 9                 MS. DRIVER:     Your Honor, on evidentiary issues,

10    may I have 20 seconds?

11                 THE COURT:     Of course.

12                 MS. DRIVER:     Local Bankruptcy Rule 9013-1(g)

13    incorporates Bankruptcy Rule 7008.

14                 THE COURT:     Mm-hmm.

15                 MS. DRIVER:     Bankruptcy Rule 7008 requires that

16    you -- it specifically admit or deny allegations in a

17    complaint.     The local rule incorporates it so that that rule

18    also applies to motions filed in bankruptcy court.             I think

19    I'm the -- and under Rule 7008, issues that are not

20    specifically denied are deemed admitted.             And for that

21    reason, since we're talking about evidence, it may be that

22    people will be -- I wanted to lay that predicate because I

23    think FSS is the only one who filed a response to -- and

24    maybe I'm wrong, but filed an actual response to the motion

25    to convert that admitted or denied a few things and that's
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 1    it.

 2                 THE COURT:     I'm not a big fan of that little rule

 3    so I waive it in today's purpose --

 4                 MS. DRIVER:     If --

 5                 THE COURT:     -- for purposes of today.     I -- and I

 6    will just generally -- I got it in some time, but it is to

 7    admit or deny every particular paragraph of everything is I

 8    find it not very helpful.           I know that there are some other

 9    judges who find it incredibly helpful.           I am more of a tell-

10    me-what-you-want-or-why or tell-me-why-it's-wrong-and-why.

11    So --

12                 MS. DRIVER:     Yes, Your Honor.     I took the time to

13    talk about it because it may rise to some people's --

14                 THE COURT:     I got it.

15                 MS. DRIVER:     -- objections and deemed admissions.

16    Okay.   Thank you, Your Honor.

17                 THE COURT:     Thank you.     Why don't we just talk

18    generally?     You got a number of docs in.        The court -- 1112

19    says the court will either convert a case or dismiss it,

20    whichever's in the best interest of creditors or the estate.

21    Tell me why conversion is better than dismissal.

22                 MR. PATERSON:     I'll pass it to Mr. Kimpler if I

23    may.

24                 THE COURT:     Okay.

25                 MR. KIMPLER:     Well, actually, Your Honor, I think
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 1    -- again, there -- a lot of this is evidentiary in nature.

 2               THE COURT:     I know, but I just want to know what

 3    you -- I want to know why you think that.

 4               MR. KIMPLER:     I think it's true for three main

 5    reasons.   First, I think it's true to preserve equality of

 6    distribution.    I think it would be absolutely crazy -- with

 7    Mr. Magill having corralled $6 million thereabouts in FSS

 8    accounts --

 9               THE COURT:     Mm-hmm.

10               MR. KIMPLER:     -- I think it would be crazy to

11    dismiss this case and ask the Texas plaintiffs and the

12    Connecticut plaintiffs let's see who can get it first.

13    Maybe one of the families -- we all have judgments that are

14    bigger than that.     Maybe one family will get all of it.

15    Maybe another family will get nothing.

16               THE COURT:     So you want me to keep a Subchapter V

17    case open until 2026?

18               MR. KIMPLER:     I want a case converted to a Chapter

19    7 --

20               THE COURT:     Right.

21               MR. KIMPLER:     -- so that a -- the assets that have

22    been collected can be equitably distributed amongst

23    creditors, and there is lots of case law saying that that is

24    exactly why you should be favoring conversion.          So I think

25    equality of distribution is a paramount concern here.
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 1                 THE COURT:     But we also have another case that I

 2    just converted now, right?           So there's a Chapter 7 trustee

 3    who will be appointed.        Don't they have some rights into

 4    those estate assets?

 5                 MR. KIMPLER:     Mr. Jones certainly does not agree

 6    with that.

 7                 THE COURT:     I understand that, but isn't that an

 8    argument there?

 9                 MR. KIMPLER:     It could help if there is a Chapter

10    7 trustee that has complete control over the distribution of

11    FSS assets and it's all getting distributed through the

12    Jones case, yes, but it's not a complete solution.

13                 THE COURT:     No.     I agree.

14                 MR. KIMPLER:     There's not a stay that would be

15    protecting FSS.     Nothing would stop one of the families from

16    going in and collecting a judgment against FSS.           You'd be at

17    the same point where you'd be saying does the stay in the

18    Jones Chapter 7 case prevent a collection effort against

19    FSS.

20                 THE COURT:     Okay.

21                 MR. KIMPLER:         The second reason that we think

22    this is important is because we think it is better to

23    preserve the value of FSS.           We think there are very credible

24    allegations of debtor misconduct over the last few weeks.

25    We think there is an abundance of case law that says in the
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 1    face of those allegations that you should be supporting

 2    conversion.     This attempt to say that it's just Connecticut

 3    versus Texas is not the right way to look at it.

 4                 THE COURT:     What's --

 5                 MR. KIMPLER:     The Subchapter V trustee's report --

 6                 THE COURT:     What's the right way to look at it?

 7                 MR. KIMPLER:     The parties opposing conversion are

 8    Mr. Jones.     He opposes it.     Why does he oppose it?

 9                 THE COURT:     I know.     Well, and Texas, right?

10                 MR. KIMPLER:     And Texas.     And I'll get to that.

11    But the idea that we would dismiss the case with some

12    uncertainty -- we heard you just now say that there are some

13    issues that can't be decided today, but with some

14    uncertainty about whether as a matter of Texas LLC law, even

15    though Jones does not have economic or beneficial interest

16    in the equity, he still has some sort of managerial control.

17                 THE COURT:     Mm-hmm.

18                 MR. KIMPLER:     That is destructive to what is left

19    at FSS.   That is the position that FSS is taking.          That is

20    the position that the Subchapter --

21                 THE COURT:     Wouldn't he manage the estate even if

22    it was a Chapter 7?       The debtor -- in other words, the

23    Chapter 7 trustee would have to come in and ask for

24    permission for a limited purpose to then manage the estate,

25    and that doesn't just happen automatically.
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 1               MR. KIMPLER:     Well, we think the right answer here

 2    is for a Chapter 7 trustee to continue working with Mr.

 3    Magill as the CRO to essentially liquidate a -- about $1

 4    million of remaining inventory.        And that's a factual issue

 5    I want to come back to.      We do think there's more evidence

 6    here that Your Honor needs to hear to understand this.           But

 7    we think the idea -- again, I think there's a discrepancy.

 8    The concern that I have with Mr. Jones saying go support my

 9    family by buying products from my father --

10               THE COURT:     Mm-hmm.

11               MR. KIMPLER:     -- is not a concern of sponsorship.

12    There is some deal where he gets paid.        FSS gets $500 every

13    time he says go to Dr. Jones.        What concerns me is when Mr.

14    Jones says stop buying products from FSS.

15               THE COURT:     What's stopping him from doing that?

16               MR. KIMPLER:     He is the -- he claims today in this

17    hearing that he is still the sole owner of that business.

18               THE COURT:     Right.    It's different than the

19    employee part.    That's where I was getting at.

20               MR. KIMPLER:     Not the employee.

21               THE COURT:     No, I got it.

22               MR. KIMPLER:     He's the owner of it.

23               THE COURT:     No, that's --

24               MR. KIMPLER:     To say that he has no fiduciary

25    duties to the estate --
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 1                 THE COURT:     I was just --

 2                 MR. KIMPLER:     -- but yet he should --

 3                 THE COURT:     I was just clarifying.

 4                 MR. KIMPLER:     -- still have control to me is --

 5                 THE COURT:     I was just clarifying that it's not

 6    the employee, it's the ownership issue that you really want

 7    to know.

 8                 MR. KIMPLER:     It's the ownership issue.     He cannot

 9    disclaim that he has no fiduciary duties to the FSS estate

10    and then say I still want to control it.

11                 THE COURT:     Right.     So let's just say the case

12    converts.

13                 MR. KIMPLER:     Mm-hmm.

14                 THE COURT:     Then we have to have a non-

15    dischargeability issue.

16                 MR. KIMPLER:     No.    There's no discharge in a

17    Chapter 7.

18                 THE COURT:     Correct.

19                 MR. KIMPLER:     So there's no -- that adversary --

20                 THE COURT:     Right.     No, no.   That --

21                 MR. KIMPLER:     -- proceeding goes away.

22                 THE COURT:     I'm just crossing the lines.

23                 MR. KIMPLER:     Yes.

24                 THE COURT:     We go there.     And then we then wait

25    until I guess the Texas and the Connecticut state court
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 1    appeals play out, right?      Because those matters are still

 2    being appealed.

 3               MR. KIMPLER:     Those matters are --

 4               THE COURT:     With respect to --

 5               MR. KIMPLER:     -- being appealed.     I think there's

 6    --

 7               THE COURT:     That's why I'm saying we have to wait.

 8    I can't make a distribution until we actually know what the

 9    final number is, right?      I don't --

10               MR. KIMPLER:     I think the part --

11               THE COURT:     I don't think you have an allowed

12    claim that's being subject to anything else.

13               MR. KIMPLER:     I think the Chapter 7 trustee

14    controls the claim allowance process in a Chapter 7.

15               THE COURT:     No, I signed the order though, right?

16    So I think --

17               MR. KIMPLER:     Sure.

18               THE COURT:     But I think the matters are subject to

19    appeal in terms of what the matters are.         So we would wait

20    then until what?     Until those processes play themselves out.

21               MR. KIMPLER:     Yes, but if we do dismissal, I'm not

22    sure we're in a different spot.

23               THE COURT:     Right.    That's my point.

24               MR. KIMPLER:     You're waiting the same amount.       And

25    then there's the PQPR issues.        But what's important to note
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 1    there is that if you look at the Jones and the Texas

 2    proposed order, honestly, I'm not sure how this works, but

 3    they're proposing that you actually keep the PQPR adversary

 4    proceeding even if the FSS case is dismissed.

 5               THE COURT:     What happens if Mr. Jones says -- I'm

 6    asking you honestly.      I -- I'll ask the other side too, if

 7    Mr. Jones says, you know what, I don't want to work for FSS

 8    anymore, I'm going to go start Info 2.        I'm going to start a

 9    new company called Info 2.      And you may have claims against

10    Jones for the other stuff that people have been talking

11    about, but let's just say I want to start Info 2 and I want

12    you to sell product to -- I want to sell product, same

13    products, and now we're going to call it Info 2.          And I'm

14    going to start a new -- I have a new Twitter account called,

15    you know, Info 2.     I'm making all this up, but what -- where

16    do we find ourselves there?

17               MR. KIMPLER:     Two sets of disputes or two sets of

18    actions.   One, we need to figure out who really owns the IP.

19    Now if he's creating truly new IP and setting it up --

20               THE COURT:     (Indiscernible).

21               MR. KIMPLER:     -- then --

22               THE COURT:     A whole new Info 2 and --

23               MR. KIMPLER:     Okay.

24               THE COURT:     -- because in other words --

25               MR. KIMPLER:     Nobody is saying that Mr. Jones --
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 1                 THE COURT:     FSS makes money because Alex Jones

 2    talks on the show, right?

 3                 MR. KIMPLER:     Everybody -- at least all of my

 4    clients understand that after conversion and hopefully after

 5    conversion of both cases Mr. Jones is going to continue to

 6    try to make a living.        He is free to set up another

 7    business.

 8                 THE COURT:     Mm-hmm.

 9                 MR. KIMPLER:     He's free to try to go into business

10    with his father.     He will continue to have in our view non-

11    dischargeable judgments so we will be able to continue to

12    pursue him for earnings he makes in the future.          That won't

13    be an issue thankfully that you'll -- Your Honor's probably

14    thankful you won't be deciding, but that'll be an issue in

15    various state courts' lawsuits.

16                 THE COURT:     Mm-hmm.

17                 MR. KIMPLER:     And the potential businesses that he

18    goes into business with may face liability too.          There may

19    be questions about whether something is a successor entity

20    to FSS.     Those will be disputes that will be played out

21    presumably in state court over -- you know, over the coming

22    months or years.

23                 THE COURT:     Mm-hmm.

24                 MR. KIMPLER:     But nobody is suggesting that the

25    question of conversion or dismissal today affects in any way
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 1    the fact that we all know that Mr. Jones is going to go out

 2    and try to continue to make a living, continue his current

 3    standard of living doing something.

 4                 THE COURT:     Mm-hmm.

 5                 MR. KIMPLER:     Our concerns are, is he utilizing

 6    estate property to do that?           Is he taking customer lists?

 7    Is he taking IP?     Is he using some sort of period where if

 8    you dismiss the case and he had some remaining role at FSS,

 9    is he using that time to continue telling his customers

10    don't buy this, go over here and buy that?           When he gets to

11    the point that he is using estate property to try to set up

12    his next venture, I think that is where I would draw the

13    line and say that is inappropriate.

14                 The third issue, Your Honor, for why conversion's

15    appropriate here is the preservation of avoidance claims.

16    There are -- I think our motion was actually wrong about

17    this.    We said there's 4 million.         I think there's 4 million

18    within the 90-day period.        If you look at insider preference

19    claims for the year period, I think that number goes to 6 or

20    $7 million.     No question that if we dismiss it, those claims

21    go away.     Your Honor, because I'm not sure this may have

22    been my argument, I want to say --

23                 THE COURT:     I just want -- I more kind of just

24    understand the -- I understand their point.           I get their

25    point.     I just wanted to make sure that I crystalized in my
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 1    mind the arguments from the Connecticut plaintiffs just to

 2    make sure that I understood it.

 3                 MR. KIMPLER:     Your Honor, I think it's -- we don't

 4    want to have a race to the courthouse.          We think that's the

 5    worst outcome here.       We don't want what's left -- and I

 6    think you should hear from Mr. Magill on this.          There is

 7    some inventory left that could be sold for real value.

 8                 THE COURT:     Mm-hmm.

 9                 MR. KIMPLER:     We don't want that to be diminished

10    by having Mr. Jones continue to tell his people not to buy

11    those products.     We want to have a month or so process by

12    which remaining inventory can be sold off.          We think

13    preserving that value is critical.          We think conversion best

14    serves that.     And we don't want to lose what we think are

15    valuable estate causes of action.

16                 THE COURT:     But you're going to require him then

17    to go out there and tell people sell the remaining

18    inventory.

19                 MR. KIMPLER:     No.

20                 THE COURT:     What if he goes out and says I'm --

21                 MR. KIMPLER:     No, no, no.    Our expectation is that

22    Mr. Jones will not work for FSS anymore.          That's what he

23    said he will do.

24                 THE COURT:     No, but my point is how do you -- to

25    require the liquidation of the additional inventory, is the
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 1    estate going to do it, or are you going to require Mr. Jones

 2    to do it?

 3                 MR. KIMPLER:     The estate is going to do it, and I

 4    think you should hear from Mr. Magill on that because I

 5    think there is a false assumption in all of the pleadings

 6    that a post-conversion, that somehow without Mr. Jones we're

 7    just lighting inventory on fire.        I don't think that's true.

 8    I think you should hear the evidence on that.

 9                 THE COURT:     Mm-hmm.

10                 MR. KIMPLER:     And I think the way this should

11    happen is a case should be converted to a Chapter 7.             Mr.

12    Magill should stay on for another month, whatever he thinks

13    is necessary.     He should continue to be compensated.          He

14    should work directly with the Chapter 7 trustee.          They

15    should liquidate the remaining inventory.         My understanding

16    is that FSS stopped purchasing inventory about a month ago.

17    So it's not like they're sitting on a full -- you know,

18    their normal levels for this time of year.

19                 They should try to collect what they can over a

20    wind-down period.     The trustee at that point should do what

21    a Chapter 7 trustee does and try to pursue claims to the

22    extent there are any and then distribute value to the

23    creditors.     We think that's the most sensible path here, and

24    we think it -- you know, Your Honor, I know you want to keep

25    this to the law today, and we do too.        I think some of the
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 1    facts are important.

 2               THE COURT:     Oh, I think so too.

 3               MR. KIMPLER:     But I think if you look at all of

 4    the pieces of paper you got this week, try to find some

 5    cases where a court actually ordered dismissal over

 6    conversion.

 7               THE COURT:     That don't mean anything to me.

 8               MR. KIMPLER:     Well --

 9               THE COURT:     It means nothing to me.

10               MR. KIMPLER:     -- the parties have --

11               THE COURT:     In other words, that means nothing to

12    me because a lot of cases get converted, right, just on oral

13    motions -- on oral decisions.         And so the fact that there --

14    I mean, it's -- not it doesn't mean anything to me, and I

15    guess that's the wrong way of saying it.         The fact that

16    there isn't a written decision doesn't mean that there

17    aren't tons of oral decisions in other words, right?

18    Because this stuff happens all the time every day in court.

19    And I think that's the real question that I'm asking myself.

20               This is various facts on the facts of this case,

21    what cause is.    Is the case fact-determinative on the facts

22    of this case?    And where we go.       So the fact that there are

23    other cases out there that do things differently, it's not

24    that -- well, that's the wrong way of saying it.          Doesn't --

25    it means something to me, but it does -- I've got to make a
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 1    decision based on the facts and the circumstances of this

 2    case.   That's what I mean.

 3                 MR. KIMPLER:     We completely agree, Your Honor.              My

 4    point is with one exception where a case was dismissed so

 5    that it could be refiled as a Subchapter V case, every case

 6    that's been cited in the papers to you this week is a case

 7    that supports conversion.           That's not the only point.        I'm

 8    saying those cases involve cases where there are concerns

 9    about races to the courthouse, where there is a valuable

10    estate that's been collected.

11                 THE COURT:     Mm-hmm.

12                 MR. KIMPLER:     There are cases where there are

13    credible allegations of debtor misconduct.

14                 THE COURT:     Mm-hmm.

15                 MR. KIMPLER:     There are cases where there are

16    preference or avoidance claims that would go away upon

17    dismissal.

18                 THE COURT:     Mm-hmm.

19                 MR. KIMPLER:     In every one of those factual

20    circumstances, and we have all three here --

21                 THE COURT:     Mm-hmm.

22                 MR. KIMPLER:     -- all of the case law that has been

23    cited to you results in courts ordering conversion.              We

24    don't think you should lose sight of that.

25                 THE COURT:     Okay.     No, I appreciate that point.
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 1    Why don't we take like a -- I've got a case at 1:30, but

 2    it's an oral -- actually a video hearing.           I know folks have

 3    been here for a while.        I don't -- because it makes -- what

 4    I'd like to do is just work from 11:45 to 1 and then folks

 5    can take a break maybe from 1 to 2 and see if that makes

 6    sense and go from there.        Does that work for everyone?      And

 7    then we can just start with the evidence and you can call

 8    your first witness.       How many witnesses do you have, Mr.

 9    Kimpler?

10                 MR. KIMPLER:     I think just two.     Two.   And I don't

11    think we're expecting that they take more than --

12                 THE COURT:     And who are they?     Who are the

13    witnesses?

14                 MR. PATERSON:     Your Honor, they'll be Ms. Robinson

15    and Mr. Magill.

16                 THE COURT:     Okay.

17                 MR. PATERSON:     And possibly Mr. Jones depending

18    where we get to with the evidence, Your Honor.

19                 THE COURT:     Depending on where we go with --

20                 MR. PATERSON:     Correct.

21                 THE COURT:     Okay.   So maybe, Ms. Driver, during

22    the ten-minute break you can talk to them and see if, just

23    with respect to the first part in terms of what you -- there

24    may be some agreement as to kind of the statements that

25    could be there.     I'm just -- maybe there's not.         I'm just
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 1    asking that you all talk during the ten-minute break.

 2               MS. DRIVER:     Sure.     And I'm -- and I have some

 3    thoughts that I'm happy to run by them for the ten minutes.

 4               THE COURT:     We'll come back on at 11:45.      Thank

 5    you.

 6               BAILIFF:     All rise.

 7               (Recess)

 8               BAILIFF:     All rise.

 9               THE COURT:     Okay.     Back on the record in the Free

10    Speech case.

11               MR. LEMMON:     Your Honor?

12               THE COURT:     Yes, sir.

13               MR. LEMMON:     Steve Lemmon for PQPR.     If the Court

14    will allow me, I'd like to just spend 30 seconds explaining

15    my client's position regarding its motion to convert and the

16    present motion.

17               THE COURT:     Yes.

18               MR. LEMMON:     As the Court knows, we filed a motion

19    to convert.    That motion is still on file.       That motion is

20    set forth today.      We do not intend to put on any evidence in

21    support of our motion to convert.         I want to tell the Court

22    what our position is regarding these motions.

23               THE COURT:     Okay.

24               MR. LEMMON:     And that is that our client's

25    overriding interest is in asking the Court to retain
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 1    jurisdiction over the transfer actions that are before the

 2    Court right now.     And the dismissal order that the Texas

 3    plaintiffs have proffered allows the Court to retain

 4    jurisdiction over that action.       I can explain to the Court

 5    why I think that's appropriate if the Court wants to hear

 6    from me.   But if the Court does not --

 7               THE COURT:    You're talking about the adversary

 8    proceeding that was filed against PQPR?

 9               MR. LEMMON:    Yes, Your Honor.

10               THE COURT:    Okay.

11               MR. LEMMON:    There's also a TUFTA action that's

12    been removed to the court --

13               THE COURT:    Right.

14               MR. LEMMON:    -- in which Mr. Jones is an

15    individual defendant.     And we think that that implicates

16    then the Jones estate, which is remaining before the Court.

17    And so we think that there's an appropriate basis for the

18    Court to retain jurisdiction.       So if the Court retains

19    jurisdiction over those actions, which are the fraudulent

20    transfer actions against my client I'll call them, then we

21    are fine with either a conversion or a dismissal.          We're

22    fine with a dismissal if the Court retains jurisdiction.

23    And that is our position.

24               THE COURT:    Okay.

25               MR. LEMMON:    Thank you.
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 1                 THE COURT:    Thank you.    And just so I'm clear,

 2    maybe -- there are two adversaries, right?          One is the --

 3    maybe we can just identify which are the adversaries that

 4    the Texas plaintiffs want me to retain jurisdiction over.

 5    The removed action.

 6                 MR. MOSHENBERG:    Just to clarify the record, the

 7    Texas plaintiffs have not submitted a proposed order.                That

 8    was submitted by, I believe, the Jones side or the FS.                And

 9    that was the Jones side.       I -- excuse me.     Whether Texas has

10    any strong -- there's an adversary that FSS filed against

11    PQPR.     There's also TUFTA actions that were filed by

12    Connecticut and Texas plaintiffs together in Austin, Texas

13    that did get removed and ended up in front of this court.

14                 THE COURT:    That's what I'm saying.        Where is that

15    adversary?

16                 MR. MOSHENBERG:    It's cited in the proposed order,

17    Judge.     I don't have it in front of me.

18                 MR. LEMMON:    Your Honor, that is case number 22-

19    3331.

20                 THE COURT:    Ah, yes, yes, yes.     Okay.     Got it.

21    Got it.     Okay.

22                 MR. LEMMON:    And I misspoke.     I apologize.     I

23    thought that the Texas --

24                 THE COURT:    No, no, no.    I couldn't find it.         I

25    knew that there was another -- I knew that there was a --
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 1    one that Free Speech filed against PQPR and then I knew that

 2    there was the other litigation that was -- that remained

 3    pending.

 4                MR. MOSHENBERG:       Correct, Judge.   And to be clear,

 5    that case was by agreement with FSS very early on abated

 6    pending settlement talks, planned discussions.          But then,

 7    you know, presumably that would resume upon dismissal, Your

 8    Honor.

 9                THE COURT:    So if I make sure I've got your

10    position right, PQPR supports conversion, but if I'm

11    inclined to dismiss, you want to keep both of those -- me to

12    retain jurisdiction over both adversary proceedings if I got

13    it right.

14                MR. LEMMON:    Yes, Your Honor.     PQPR does not

15    oppose dismissal as opposed to conversion if the Court

16    retains jurisdiction over those two cases, those two

17    adversaries.

18                THE COURT:    Okay.

19                MR. LEMMON:    Thank you.

20                THE COURT:    Thank you.

21                MS. DRIVER:    Your Honor, I think Mr. Paterson and

22    I have an agreement on how to move forward with the exhibits

23    that Mr. Jones objected to.

24                THE COURT:    Okay.

25                MS. DRIVER:    And I think it's going to just
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 1    streamline everything a lot.        So what they have provided to

 2    me just today is what they are telling me are certified

 3    transcripts from TransPerfect, which is a third-party

 4    transcribing service, and that an individual did go through

 5    and confirm that this is accurate from a certified

 6    transcribing service.

 7                 THE COURT:    Okay.

 8                 MS. DRIVER:     Because of that, and if we are doing

 9    the complete transcripts, I do not have any objection to

10    those being admitted into evidence as well as the

11    screengrabs from his Twitter and from the other websites.

12                 THE COURT:    So just so we -- I'm clear, do we have

13    -- I don't have a copy of the -- or do I have a copy of the

14    certified --

15                 MR. PATERSON:     I'll hand up full copies, Your

16    Honor.

17                 THE COURT:    Okay.   Perfect.   Okay.   And Ms.

18    Driver, you're okay with me -- these -- what do we want to

19    call them?     If you want, you can give me --

20                 MR. PATERSON:     You might want to give them new

21    numbers, Your Honor.       I can put them on the record if that

22    helps.

23                 THE COURT:    Yeah, that'd be helpful just so we...

24                 MR. PATERSON:     So I think just to keep them in the

25    same order, we will call Exhibit 15 the transcript of
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 1    Breaking Deep State Attempted to Shut Down Infowars

 2    Headquarters Last Night.      We'll call 16 the transcript of Is

 3    This Infowars' Last Broadcast?       Patriots Rally Behind Alex

 4    Jones and Crew.     And then we'll call 17 the transcript of

 5    Infowars on the Edge, Alex Jones Gives a Bankruptcy Update.

 6    And so Your Honor, with that agreement we would ask that

 7    those exhibits, which we'll hand up in a minute --

 8               THE COURT:    So there'll be a new 15, 16, 17?

 9               MR. PATERSON:     15, 16, 17 along with the

10    screenshots that are included as exhibits --

11               THE COURT:    Are the screenshots the ones -- the

12    same ones before?     Do we keep that -- in other words, do we

13    add new numbers for that?

14               MR. PATERSON:     They're the same.     No change to the

15    screenshots.

16               THE COURT:    Okay.

17               MR. PATERSON:     So they're Exhibits --

18               THE COURT:    I will ask you then -- this is -- just

19    so we have a clean record, if one is going to admit all the

20    exhibits, just start from the top and then just roll

21    through.   And then just numbers.

22               MR. PATERSON:     Right, Your Honor.

23               THE COURT:    Now that we have a new 15, 16, 17

24    unless you have -- there's agreement.

25               MR. PATERSON:     Then we would move for the
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 1    admission of Exhibits -- the Connecticut Families' Exhibits

 2    1, 2, 7, 8, 9, 10, 11, 12, 13, 15, 16, and 17.

 3                MS. DRIVER:     No objection.

 4                THE COURT:     Okay.   Perfect.   Can I have those

 5    copies?    And you can hand them to my law clerk.        I would --

 6    I -- before we start, I know that -- and I had received a

 7    report for something, and I know that there's going to be

 8    some discussions here.       I will note I don't know what's been

 9    going on for the last couple of weeks in discussions about

10    governments trying to shut down.        I don't know if it's what

11    was said or not.     I will -- obviously I'll read what's here.

12                I'm not sure if that was -- I don't know what that

13    was intended -- or who is the government, but if it was --

14    someone thought it was me, I'm just stating it for clarity

15    on the record, the government was probably at Kroger's at

16    the time that it was going on.        So I don't know what --

17    where that's going.       I just -- I say that for the sake of

18    clarity.    There may be a lot of folks listening who were

19    concerned about actions one way or the other, but let's get

20    into the evidence.       So I'm admitting 1, 2, 7, 8, 9, 10, 11,

21    12, 13, 15, 16, and 17.

22                MR. PATERSON:     Thank you, Your Honor.

23                THE COURT:     Okay.   And Ms. Driver, do you have any

24    exhibits that you wish to -- or I should --

25                MS. DRIVER:     I think we admitted all of my
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 1    evidence.     I do have a few --

 2                 THE COURT:    In this case, if we're going to do it

 3    again I want --

 4                 MS. DRIVER:     Oh, you want them admitted again.

 5    Let me --

 6                 THE COURT:    Yeah, yeah.

 7                 MS. DRIVER:     -- grab those numbers, Your Honor.

 8                 THE COURT:    For Free Speech I need there to be

 9    just...

10                 MS. DRIVER:     And Your Honor, for clarity, we did

11    file this in both cases, so I don't know what the numbers

12    are in Free Speech, but it is still just our Exhibits 1

13    through 7.

14                 THE COURT:    Okay.     Any objection to the 1 through

15    7 there?

16                 MR. PATERSON:     No objection, Your Honor.

17                 THE COURT:    Okay.     Are there any other

18    housekeeping exhibits that anyone wishes to admit before we

19    kind of get into the evidence?

20                 MS. DRIVER:     We may have some rebuttal exhibits or

21    impeachment exhibits, but --

22                 THE COURT:    No, no, I understand.     I'm just

23    talking about --

24                 MS. DRIVER:     Okay.    Thank you, Your Honor.

25                 THE COURT:    -- just straight up at this time.
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 1                MS. CATMULL:     Your Honor, the FSS would offer the

 2    Exhibit at 953-1.     Let me make sure I got the number right.

 3    It's the budget that everyone's seen.          Yes, it's 953-1.

 4    It's a proposed wind-down budget.

 5                THE COURT:     953.     Any objection to the admission

 6    of 953-1?

 7                MS. DRIVER:     Your Honor, I would like some sort of

 8    a prove-up on that budget, but I don't have a --

 9                THE COURT:     It's either a yes or no.      Somebody

10    will have to prove it up.          I'm just trying to see what --

11                MS. DRIVER:     Okay.

12                THE COURT:     -- people agree to now more than

13    anything else.

14                MR. PATERSON:     No objection from me, Your Honor.

15                THE COURT:     Okay.     Sounds like you -- Ms. Driver,

16    well, I will --

17                MS. DRIVER:     Yes.     Yes, Your Honor.   I just object

18    to --

19                THE COURT:     I -- okay.     So you know, someone will

20    have to prove it up.       Okay.

21                MR. PATERSON:     Your Honor, if it's acceptable,

22    we'd like to call Mr. Magill now.

23                THE COURT:     Okay.     Mr. Magill, why don't you come

24    on up?   And why don't we turn on the witness cam?          Okay.

25    Good -- all right.       It's borderline good morning/good
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 1    afternoon, so I'll just say hello.           Please raise your right

 2    hand.     Do you swear to tell the truth, the whole truth, and

 3    nothing but the truth?

 4                   THE WITNESS:     I do.

 5                   THE COURT:     All right.   We'll let the record

 6    reflect that the witness has been properly sworn in.              Mr.

 7    Magill, if you can just state your name and spell your last

 8    name for the record.

 9                   THE WITNESS:     J. Patrick Magill.   Last name is

10    spelled M-A-G-I-L-L.

11                   THE COURT:     Counsel, whenever you're ready.

12                   MR. PATERSON:     Thank you, Your Honor.

13                   DIRECT EXAMINATION OF J. PATRICK MAGILL

14    BY MR. PATERSON:

15    Q       Good afternoon I guess it is now, Mr. Magill.        What is

16    your role with FSS?

17    A       I'm Chief Restructuring Officer.

18    Q       And how much in cash and cash equivalents does FSS have

19    as of today?

20    A       Approximately $6 million.

21    Q       And is that amount available for creditors in a

22    liquidation scenario?

23    A       Yes.

24    Q       Just want to talk briefly about inventory.        How much in

25    inventory does FSS have today?
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 1    A    As of today in supplemental -- supplement inventory,

 2    the core inventory, 1.2 million.

 3    Q    And how much in inventory sales do you expect FSS could

 4    make in an orderly wind-down scenario without Mr. Jones?

 5    A    We forecasted roughly -- I'd have to look at the

 6    numbers again, but roughly $1.6 million over a 30-day

 7    period, 4-week period.

 8    Q    And what expenses would be included in connection with

 9    making those sales?

10    A    So we calculated that we -- that would cost us roughly

11    $1 million in total costs, which would yield us around 6

12    point -- $650,000 in net cash.

13    Q    And that's without Mr. Jones?

14    A    That is without Mr. Jones.

15    Q    And do you believe that FSS can make those inventory

16    sales without Mr. Jones being on air?

17    A    I do.

18    Q    And why is that?

19    A    Well, we have other hosts that are on the show.           We

20    also on the show.     We also have the capabilities of doing

21    reruns of programs to fill his time slot.         We also have the

22    -- I believe, the capabilities of having cohosts or

23    substitute hosts.     Mr. Jones does that frequently when he is

24    out of town and when he's on vacation, so I think there is

25    enough information out there on people that would like to
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 1    come and cohost that show.      Plus, we have three other hosts

 2    on the program.     We actually have three shows a day, so this

 3    is one of three.

 4    Q      And if Mr. Jones is on the air, do you believe that FSS

 5    can make more money from inventory sales?

 6    A      Yes.

 7    Q      And could you quantify that?

 8    A      Well, you know, there's -- I -- it's hard to say how

 9    much more, but there's no doubt that when Alex Jones is on

10    the air, that he sells more product.        The rate limiting

11    factor in this is, unlike a going concern where we're

12    replenishing inventory, our inventory is shrinking and we're

13    not replacing it, so there'll become a point, no matter

14    who's on the air, where we're going to end up selling from

15    an empty wagon and we won't be able to do that anymore.           So,

16    yes.    It's hard to quantify, really, but I would admit when

17    Alex is on the show, he does move product.

18    Q      And if Mr. Jones is on the show, will expenses also be

19    different?

20    A      Yes.   That's where the delta is.     That's what happens.

21    The numbers that I just gave you off the top of my head

22    anticipates that we would cut staff significantly and cut

23    other expenses significantly.       When Alex is on the air, he

24    likes to have a lot of other people around who are very, you

25    know, good quality people, hard workers, but our expenses
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 1    when he's on the air is significantly higher than when he's

 2    not on the air.

 3    Q    So, if Mr. Jones remains on the air, do you expect FSS

 4    to make significantly more profit from its remaining

 5    inventory sales?

 6    A    No.

 7    Q    Thank you, Mr. Magill.          I have no further questions.

 8                THE COURT:     Thank you very much.     Anyone else who

 9    supports the relief requested have any questions?          Okay.

10                MS. CATMULL:     I do, Your Honor.     I'll be brief.

11                THE COURT:     No one has to be brief.     I always hear

12    that, I'll be brief, and then -- you don't have to be brief.

13                MS. CATMULL:     It's a throat clearer, Your Honor.

14                THE COURT:     I know.

15                DIRECT EXAMINATION OF J. PATRICK MAGILL

16    BY MS. CATMULL:

17    Q    So, Mr. Magill, have you seen a deposit account control

18    agreement for -- to which FSS is a party?

19    A    No.

20    Q    And I'm talking about one with PQPR.

21    A    No.

22    Q    Do you -- when -- since June 1, other than what you've

23    told the Court in your testimony a few moments ago, have you

24    had any other concerns about Alex Jones being on the air?

25    A    Yes.
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 1    Q    Have any topics in particular concerned you?

 2    A    Yes.

 3    Q    Okay.     Which?

 4    A    The mentioning of Sandy Hook.

 5    Q    And why does that concern you?

 6    A    Well, this is kind of what got us here in the first

 7    place.

 8                 MS. CATMULL:     I pass the witness, Your Honor.

 9                 THE COURT:     Thank you.

10                 MR. LEMMON:     May I proceed, Your Honor?

11                 THE COURT:     Please.

12                  CROSS EXAMINATION OF J. PATRICK MAGILL

13    BY MR. LEMMON:

14    Q    Mr. Magill, where is the inventory that FSS owns?

15    A    In Denver, Colorado.

16    Q    And does the Debtor have a contract with the entity

17    where -- that it runs the warehouse?

18    A    Yes.

19    Q    And is that contract directly with that entity or is it

20    with an intermediary?

21    A    Intermediary.

22    Q    Okay.     Have you seen the contract with the warehouse

23    itself?

24    A    No, I don't believe I have.

25    Q    Does FSS, to your knowledge, have an agreement to use
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 1    Alex Jones's name and likeness?

 2    A    I have not seen a specific agreement to that, no.

 3    Q    Have you obtained commitments from other employees to

 4    stay on after a conversion to liquidate inventory?

 5    A    Not specifically, no.

 6    Q    Have you obtained any commitments from any potential

 7    host who would replace Mr. Jones?

 8    A    No.

 9    Q    Has anyone told you that they would not stay on after

10    conversion?

11    A    No, that -- no.

12    Q    I want to make -- I want to make certain that I

13    understand your testimony.      Your testimony is that you would

14    not propose for the Debtor to buy any additional product

15    after the time that a conversion would occur; is that

16    correct?

17    A    That's correct.

18    Q    I want to ask you very briefly what the agreement is

19    for advertising for Dr. Jones' Naturals.

20    A    Okay.

21    Q    Can you tell us whether or not the agreement is that

22    every time Alex Jones mentions Dr. Jones' Naturals that Dr.

23    Jones' Naturals owes Free Speech Systems $500?

24    A    That's not the way I interpret the agreement.          I

25    interpreted the agreement that Alex Jones, when he makes a
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 1    specific pitch about Dr. Jones products, not Dr. Jones'

 2    Naturals, but Dr. Jones products, every time he mentions

 3    that, the agreement is we get $500 and that it's tracked by

 4    the -- from the producers.

 5    Q       And you're aware -- you were aware of that agreement

 6    and approved of that agreement, right?

 7    A       I was, and I did.

 8    Q       And has, in fact, FSS been deducting that, that 500

 9    bucks, however -- whatever it adds up to every time it pays

10    PQPR?

11    A       Yes.

12    Q       Finally, Mr. Magill, are you familiar with the term

13    Infowars Life?

14    A       I am.

15    Q       And that's a brand that goes on some of the products

16    that are sold by Dr. Jones' Nationals, right?

17    A       Yes.

18    Q       And that term is not among the list of terms that you

19    in the amended schedules and statements listed with Court,

20    right?

21    A       That's incorrect.

22    Q       You say that Infowars Life is listed in that list?

23    A       I believe it is, yes.

24    Q       Okay.   And you swore to that and you're swearing to it

25    now?
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 1    A      My recollection is from the schedule that I signed,

 2    yes.

 3    Q      Well, that schedule is before the Court and the Court

 4    can observe it, and it has a list of all of the domains that

 5    are owned.       Right?

 6    A      Yes.

 7    Q      Has a list of all of the names that -- the trademarks

 8    that are owned by the Debtor, right?

 9    A      Yes.

10    Q      Okay.     Now, have you ever looked at the Texas Secretary

11    of State's website?

12    A      I've been on it but I don't know what you're talking

13    about.    Yes, I've seen it.

14    Q      You ever looked for Infowars Life on the Texas

15    Secretary of State's website?

16    A      No, I personally didn't do that.

17    Q      So, you're unaware that that name was registered by Dr.

18    Jones in 2014?

19                   MS. CATMULL:     Objection   Assumes facts not in

20    evidence.

21                   THE COURT:     I think he's asking if he's aware of

22    it.

23    BY MR. LEMMON:

24    Q      I'm asking if you're aware of it.

25    A      I am not.
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 1    Q    Okay.

 2                 THE COURT:    I'm not taking it that that's what

 3    happened, just that -- whether he has an understanding if

 4    that's the case or not.

 5    BY MR. LEMMON:

 6    Q    So, Mr. Magill, have you made a demand on either Dr.

 7    Jones or on any of his companies that they quit using that

 8    term on Infowars Life on any of their branding?

 9    A    No.

10    Q    And are you aware that they have used that branding

11    since 2014?

12    A    Yes.

13                 MR. LEMMON:    Thank you, Your Honor.    Pass the

14    witness.

15                 THE COURT:    Thank you.

16                 MR. MOSHENBERG:    Judge, may I?

17                  CROSS EXAMINATION OF J. PATRICK MAGILL

18    BY MR. MOSHENBERG:

19    Q    Thank you for being here, Mr. Magill.         When you

20    testified earlier, you were talking about how one of the

21    issues, one of the assumptions you made is that there's

22    remaining inventory, that more inventory wouldn't be bought,

23    correct?

24    A    That's correct.

25    Q    Okay.     Fair to say that is an assumption.       You don't
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 1    know whether more inventory will be bought if the case were

 2    dismissed, correct?

 3    A    No, the assumption was in my analysis, that there would

 4    be nothing additionally that would be bought.         Yes, that's

 5    correct.

 6    Q    Right.    And I just want to confirm, that's an

 7    assumption.    You actually don't know if it gets dismissed

 8    and you're no longer the chief restructuring officer, you

 9    don't know what's going to happen in future products.

10    A    Yes, that's correct.

11    Q    Okay.    You also mentioned that your proposal talks

12    about cutting staff, correct?

13    A    Yes.

14    Q    And again, it's an assumption that only your way is

15    going to result in cutting staff?

16    A    Yes.

17    Q    Right.    It's very possible -- there's no reason why FSS

18    couldn't continue to cut staff to save their costs if there

19    was a dismissal and you were no longer the chief

20    restructuring officer, correct?

21    A    That's correct.

22    Q    And you, in fact, provided a -- you supported a plan in

23    this bankruptcy to pay the Sandy Hook families; isn't that

24    right?

25    A    Yes.
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 1    Q    And you provided that plan because you understood and

 2    you acknowledged and you were prepared to testify under oath

 3    that a plan was better for the families than a liquidation.

 4    In fact, you've done a liquidation analysis and determined

 5    it would be better to pay the families money from FSS'

 6    revenue over time, correct?

 7    A    That's correct.

 8    Q    And that is still your view today, that it is more

 9    money for the families if FSS continues as a business; isn't

10    that right?

11    A    Yes.

12    Q    Okay.     And I want to make sure I'm understanding a few

13    things.     First of all, you did file a statement in support

14    of conversion of the FSS case, correct, sir?

15    A    That is correct.

16    Q    Okay.     And to be clear, who was all -- I mean, when I

17    say you, I'm assuming it's you, but it was a statement by

18    FSS to support conversion.      Who was the one at FSS that

19    authorized the statement saying that the Debtor supports

20    conversion?

21    A    Me.

22    Q    Okay.     So, it wasn't anyone else?

23    A    No.

24    Q    Wasn't Alex Jones --

25    A    No.
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 1   Q     -- who is the owner of the company?

 2   A     No, it wasn't Alex.

 3   Q     Okay.     Did you to him that your -- did you seek his

 4   permission to do that?

 5   A     No.

 6   Q     Okay.     Did you in any way ask for his approval or

 7   authority to ask that his company be converted to a Chapter

 8   7, sir?

 9   A     No.

10   Q     Okay.     I looked at your engagement letter.      I also

11   looked at the Court's order authorizing you to become the

12   chief restructuring officer.         I couldn't find anything in

13   there that talked about giving you the authority to

14   recommend that a business be liquidated in conversion, sir.

15                 MS. CATMULL:     Objection, Your Honor.   That's not a

16   question.

17                 MR. MOSHENBERG:     It is.

18   BY MR. MOSHENBERG:

19   Q     Is there something in there?         Tell me if I'm wrong.

20                 THE COURT:     That's a question.

21                 MR. MOSHENBERG:     Thank you, Judge.

22                 THE WITNESS:     I don't recall anything in there

23   like that, no.

24   BY MR. MOSHENBERG:

25   Q     Well, I have it here.        If you'd like, I could refresh
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 1   your recollection and you can look through it, but otherwise

 2   you can agree with me.         There's nothing in your engagement

 3   letter or the Court's order that authorizes you to recommend

 4   that a business you don't own be converted.

 5                 MS. CATMULL:     Objection, Your Honor.     Now calling

 6   for a legal conclusion (indiscernible) orders.

 7                 THE COURT:     No, I think he can -- the CRO, I'm

 8   taking it in the context whether he thought as the CRO he

 9   thought he had the authority under my order to do so.

10                 MS. CATMULL:     Thank you, Your Honor.

11                 THE WITNESS:     Can you ask the question again, so I

12   make sure I get it right?

13   BY MR. MOSHENBERG:

14   Q     Sure.     Did you think under -- well, let me ask you as

15   the judge guided me on it.         Did you see something in the

16   order or in your engagement letter that gave you the

17   impression you had the authority to convert, to ask the

18   Court to convert a business that's not yours to Chapter 7?

19   A     I believed I had the authority to do that.

20   Q     Okay.     I can look at your engagement letter and your

21   order and you can tell me where it says that.           Would that be

22   helpful?

23                 MS. CATMULL:     Objection, Your Honor.    That's not a

24   question.      That's not a question that's seeking --

25                 THE COURT:     Would it be helpful, is a question.
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 1                 MS. CATMULL:     Yes, but it's not seeking anything

 2   probative.      It's irrelevant.       What he --

 3                 THE COURT:     Over --

 4                 MS. CATMULL:     -- thinks about the --

 5                 THE COURT:     Overruled.

 6                 MS. CATMULL:     -- Your Honor.

 7                 THE COURT:     Overruled.    Overruled.   In other

 8   words, I think it is probative to understand where -- if Mr.

 9   Magill felt like he had the authority, where he felt he got

10   the authority from.        And I don't want to get into attorney-

11   client communications, but if he thinks it's in the order,

12   then maybe we can look at the order and see where he thinks

13   he has the authority.

14                 THE WITNESS:     I don't believe it's in the order.

15                 THE COURT:     That's what I'm taking it.

16                 THE WITNESS:     I don't believe it's in the order

17   no, no.

18   BY MR. MOSHENBERG:

19   Q     Okay.     What about you -- you drafted the engagement

20   letter, correct?

21   A     That's correct.

22   Q     There's nothing in the engagement letter, either, that

23   says you have that authority?

24   A     That's correct.

25   Q     Okay.     Now, you did recommend, I think, to the Court
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 1   this morning.        You filed some sort of winddown procedure,

 2   correct?

 3   A       Yes.

 4   Q       Okay.     Do you have any reason to think that that's

 5   allowed for you to do, some sort of recommended winddown

 6   procedure in a conversion?

 7   A       It was requested that I provide that information, so I

 8   did that as a courtesy.

 9   Q       Okay.     And I don't want to learn about conversations

10   with lawyers, but was it -- outside of a lawyer who

11   requested that?

12   A       Nobody outside of a lawyer.

13   Q       Okay.     Is it fair to say -- I just want to make sure.

14   Not any lawyer, it's an FSS lawyer that asked you to do

15   that?

16   A       Yes. Ok

17   Q       Okay.     And I want to understand.     Your proposal has you

18   continuing on as the chief restructuring officer at FSS,

19   correct?

20   A       That is not correct.

21   Q       Okay.     Is there some sort of rule?     I heard earlier

22   today, Connecticut referred to you staying on in some manage

23   -- in some capacity.        Can you tell the Court about that?

24   A       Someone needs to stay but I had not intended to stay.

25   Q       Okay.     But you agree with me, someone would stay and
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 1   they would get paid --

 2   A     Yes.

 3   Q     -- that's correct.     Okay.   And the same issue in

 4   administrative costs and fees in a Chapter 7, you understand

 5   that that would be more costs, like ones paid to yourself,

 6   to people other than the creditors, correct?

 7   A     Well, the individuals, some individuals would continue

 8   to stay as they are right now that are accounted for in the

 9   payroll.      So there may be some staff that would stay and be

10   able to handle the winddown in my absence.

11   Q     Okay.     Sir, you mentioned that Alex Jones had made

12   statements about Sandy Hook, right?

13   A     Mm hmm.

14   Q     He also made statements about yourself; isn't that

15   right?

16   A     Yes.

17   Q     Okay.     And I remember in speaking to you about it, you

18   said that you were very troubled by that, you did not care

19   for that.

20   A     That's true.

21   Q     Okay.     Are -- is it your testimony that played no part

22   in your recommendation to convert?

23   A     It played none.

24   Q     Okay.     The -- it's not nice having someone say that

25   about you, right?
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 1   A     No.     That's right.

 2   Q     Okay, so you -- then you -- I mean, you got a taste of

 3   what it's like to have Alex Jones' crosshairs on you, it's

 4   fair to say?

 5   A     Yes.

 6   Q     Okay.     And you can --

 7                 THE COURT:   Hold on, hold on, folks.     I don't -- I

 8   understand the line of questioning.

 9                 MR. MOSHENBERG:    Okay.

10                 THE COURT:   No, what I am saying is, there's a lot

11   of folks listening and this is just a -- very much a Lopez

12   thing.      I want to keep the temperature down as much as

13   possible.      So, just -- I got what you meant by crosshairs.

14   I don't want to get into stuff because there can be a lot of

15   folks listening who could be -- misconstrue what you're

16   saying.      I want you to conduct a thorough examination.        Go

17   as hard as you want.       I'm just really sensitive to certain

18   terms.

19                 MR. MOSHENBERG:    That was a poor choice of words,

20   Your Honor.

21                 THE COURT:   No, no, no, it's not, it's not.      I'm

22   just -- this is very much a Lopez thing.         So, just ask a

23   question again.

24                 MR. MOSHENBERG:    Okay.

25   BY MR. MOSHENBERG:
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 1   Q     Sir, you under -- you know, firsthand, what it's like

 2   to be the target -- or someone that Alex Jones focuses on in

 3   his show; is that fair to say?

 4   A     Yes.

 5   Q     Okay.     And so, you got a taste of what it was like for

 6   my clients for years to be the target of Alex Jones, to be

 7   the focus of Alex Jones show.

 8   A     Yes.

 9   Q     Do you think -- well, the reality is, you knew who Alex

10   Jones was before you became the chief restructuring officer,

11   right?

12   A     Yes.

13   Q     Okay.     You knew about the kinds of things he was

14   saying?

15   A     Yes.

16   Q     Okay, but you signed up to be the chief restructuring

17   officer, correct?

18                 MS. CATMULL:     Objection, Your Honor.   I don't see

19   what bearing his knowledge about knowing Alex Jones when he

20   signed up has anything to do with whether this case should

21   convert.

22                 THE COURT:     I'm --

23                 MS. CATMULL:     Maybe he can just explain --

24                 THE COURT:     I'm hoping the next question gets

25   there, but I agree with you, Ms. Catmull.         I'm not sure
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 1   where this is going.

 2                 MS. CATMULL:     Thank you, Your Honor.

 3                 MR. MOSHENBERG:        I'll move it on, Judge.

 4                 THE COURT:     Okay.

 5   BY MR. MOSHENBERG:

 6   Q     And I just want to be clear.           Do you have any basis

 7   today for saying -- just a couple more things I want to

 8   follow up.      One is, do you know whether or not Alex Jones

 9   would stay if the case were converted, stay with FSS, if it

10   was converted to a Chapter 7?

11   A     I don't know.

12   Q     Okay.     My impression was, my understanding was that he

13   was going to leave if it converts.            Do you know one way or

14   the other?

15   A     I'm -- it was my assumption that he would not stay.

16   He's made statements that led me to believe that.               Yes.

17   Q     Okay.     So, as far as you know, and that's probably the

18   basis for your assumption, right, he's not going to stick

19   around in a seven?

20                 MS. CATMULL:     Objection.     This has been asked and

21   answered, Your Honor.         He said he doesn't know.     He's made

22   assumptions.      He said what has been told to him.           What else

23   can he say?

24                 THE COURT:     Overruled.

25   BY MR. MOSHENBERG:
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 1   Q       You can answer, sir.

 2   A       Would you start again, please?

 3   Q       So, as far as you know, you thought he wasn't going to

 4   be sticking around in a Chapter 7?

 5   A       That -- yes, correct.

 6   Q       Okay.     Do you know whether he would stick around FSS

 7   and continue to work there if the case was dismissed?

 8   A       I don't know.        I didn't look at it that way.      I'm not

 9   sure.

10   Q       And just to tie the bow on all this, you don't know

11   whether FSS would continue as an operating business in a

12   dismissal?

13   A       I assumed eventually it would get liquidated, so I

14   assumed eventually it would happen, but ---

15   Q       Okay.     Fair to say that was an assumption, though.           You

16   don't actually know one way or the other.

17   A       That's correct.

18   Q       Okay, but one thing we do know is Alex Jones is working

19   at Free Speech Systems, that's more money for the families

20   that would never be paid if you just sold its parts for

21   scraps?

22   A       Within the limits of that question, the answer is yes.

23                   MR. MOSHENBERG:        Okay.   I'll pass, Your Honor.

24                   THE COURT:     Okay.     Anyone else have any questions?

25                    CROSS EXAMINATION OF J. PATRICK MAGILL
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 1   BY MS. DRIVER:

 2   Q      Mr. Magill, I'm Vickie Driver.      I represent Mr. Jones.

 3   We've met before, correct?

 4   A      We have.

 5   Q      Okay.    The inventory level that FSS is sitting on today

 6   is fair -- is fairly low.      Would that be an accurate

 7   statement?

 8   A      Yes.

 9   Q      Why?

10   A      Because we have quit purchasing inventory.

11   Q      When?

12   A      About a month ago.

13   Q      And in reaching the conclusion not to continue to --

14   oh, who decided not to order any more inventory?

15   A      I did.

16   Q      And did you speak with Mr. Jones and discuss that

17   decision before it was made?

18   A      Not that I recall.

19   Q      Did you speak with any of his professionals before that

20   and discuss that particular decision before it was made?

21   A      I may have spoken to Bob Spicer.      I don't recall.

22   Q      And did he support that decision if you did talk to

23   him?

24   A      I think he -- I think the best way to describe it was

25   he acknowledged it.
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 1   Q     But he didn't agree with it?

 2   A     I don't recall it ever getting that far.        We -- as you

 3   are aware, we have weekly meetings and so, I'm sure it did

 4   come up.

 5   Q     Would you have considered it a discussion or was it

 6   just informing him?

 7   A     Informing him.     Yeah.

 8   Q     You don't have a deal with your shipping company to

 9   ship product after Friday, as we sit here today, do you?

10   A     I thought I did.     I'm not sure where that comes from.

11   I thought we did.

12   Q     Do you have anything in writing from the shipping

13   company that says that they will ship after Friday?

14   A     No.    We don't have a -- we have a contract with the

15   intermediary.

16   Q     And did that intermediary contact you this week and

17   tell you that they were going to stop shipping if you didn't

18   pay them in advance?

19   A     That was the original conversation, yes.

20   Q     And they agreed to continue to ship through Friday,

21   correct?

22   A     Yes.

23   Q     And there's no agreement in writing with them to

24   continue to ship after Friday, which is today?

25   A     Well, we have -- we do not have a cancellation notice
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 1   on our -- we have a contract with them so, I assume we still

 2   can ship.

 3   Q     Did they give you a cancellation notice before they

 4   called you this week and threatened to stop on a dime?

 5   A     Those --

 6                MS. CATMULL:     Objection to lots of facts that are

 7   not in evidence, Your Honor.

 8                THE COURT:     I agree.

 9                MS. DRIVER:     I believe that we -- that we have

10   testimony from him that there was a call that said they were

11   going to stop shipping.

12                THE COURT:     I know.

13                MS. DRIVER:     Are we okay with that?

14                THE COURT:     That I'm okay with.   It was the extra.

15                MS. DRIVER:     Did --

16                THE COURT:     The extra claws you stuck in there.

17                MS. DRIVER:     Thank you.

18   BY MS. DRIVER:

19   Q     Did you get a written notice from the intermediary

20   prior to their telling you they were going to stop shipping

21   this week?

22   A     These discussions have been taking place between the

23   lawyers, so I have not had any discussions with the

24   principal on this.

25   Q     Understood.    So, you and the principal of that entity
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 1   do not have an understanding about shipping past Friday?

 2   A     We don't have an understanding either way.         Right.

 3   Q     Are -- you were sitting in the courtroom when you heard

 4   statements from Connecticut lawyers that Mr. Jones'

 5   statements on his show in -- early this month have hurt FSS.

 6   Did you hear those statements?

 7   A     Yes.

 8   Q     Do you agree with those statements?

 9   A     Yes, I think I do.

10   Q     Okay.   Do you have knowledge of the sales that took

11   place between the 3rd of June and the 9th of June?

12   A     I can give you a rough number, yes.

13   Q     Let's have that number -- rough number.

14   A     Slightly over $1 million.

15   Q     And how does that rate with most weeks of sales for FSS

16   during this case?

17   A     That's about 400,000 more than normal.

18   Q     Would it be fair to say that that is the second highest

19   week of sales that you've experienced during this

20   bankruptcy?

21   A     It's either the second or the highest.

22   Q     So, the week that the statements were made that

23   everyone is concerned hurt FSS actually resulted in what you

24   would consider record sales?

25   A     Yeah, I guess that's -- I guess that's true.         I'm not
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 1   quite sure I understand the question, but -- could you say

 2   it another way so I'll make sure I get it right?

 3   Q     The week that Mr. Jones was broadcasting that has been

 4   characterized by Connecticut's lawyers today as harming the

 5   value of FSS actually resulted in record sales.

 6   A     That's an accurate statement.

 7   Q     Is there a concern that his statements may have created

 8   new causes of action that could be actionable against FSS?

 9               MS. CATMULL:     Objection, Your Honor, to the extent

10   that invades the attorney-client privilege, I don't think he

11   should answer, (indiscernible).

12               THE COURT:     He can -- the witness can answer to

13   the extent that it does not violate any attorney client

14   privilege that you may have received.

15               MS. CATMULL:     Thank you.

16               THE COURT:     Or that it may lead to a legal

17   conclusion.

18               THE WITNESS:     I'm not going to answer, then.

19   BY MS. DRIVER:

20   Q     So, there -- you can't answer that because of attorney

21   privilege or you're refusing to answer it?

22   A     Client -- attorney-client privilege.

23   Q     Thank you.    If Mr. Jones said something last week that

24   gave rise to a cause of action against FSS, it would, in a

25   Chapter 11, be an administrative expense, correct?
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 1   A       It could be, yes.

 2   Q       That would come ahead of the plaintiffs that currently

 3   have claims against FSS that are represented here today?

 4   A       Yes.

 5   Q       And if that -- if this case converts to a Chapter 7, it

 6   would retain its Chapter 11 administrative priority over

 7   those claimants, correct?

 8   A       I think that's right.       You're now getting into a

 9   different area for me, but yes, okay.

10   Q       But if it's dismissed the administrative priority goes

11   away, correct?

12                  MS. CATMULL:     Calling for a legal conclusions,

13   Your Honor.

14                  THE COURT:     I'll sustain.

15   BY MS. DRIVER:

16   Q       As a -- do you have experience as a person who

17   liquidates companies?

18   A       Yes.

19   Q       Would you consider that extensive experience?

20   A       Well, I probably, over my lifetime, I've probably

21   liquidated six to eight.

22   Q       And I know you've been involved in more cases than

23   that.     Is that differentiating between liquidation and

24   reorganization?

25   A       Yes.
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 1   Q     Okay.   As a liquidator, are you familiar with the

 2   concept of a going out of business or a liquidation sale?

 3   A     Yes.

 4   Q     And is that what you would consider a common marketing

 5   tactic to maximize the value of an estate as the company is

 6   closing?

 7   A     Well, it's kind of a facts and circumstance issue.           It

 8   kind of depends on where you are and how far along you are

 9   in the bankruptcy and what you have to sell.         So, it's --

10   that's kind of a difficult question to answer in a yes or

11   no.

12   Q     When the total sales during the week where Mr. Jones in

13   the transcripts that have been admitted here have said that

14   he was -- that it was -- that Infowars was shutting down,

15   that FSS was shutting down, had a -- your testimony says,

16   over a $400,000 spike.      Could that possibly be attributed to

17   a going out of business sale mentality in a marketing

18   effort?

19   A     Yes.

20   Q     What's the current margin that, FSS realizes on its

21   sale of supplements, just generally speaking?

22   A     Fifty percent.

23   Q     And how much is assumed to be the margin in the

24   winddown plan?

25   A     I would say less than 5 percent.       All of the inventory
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 1   that we have right now is paid for, so on a cash basis

 2   that's already amortized in.       So, I mean, if you're talking

 3   about a cash on cash question, I would say that for every

 4   dollar that we sell, I'm going to guess, 95 percent goes,

 5   you know, drops down to the contribution margin.

 6   Q     Pardon me, I'm just looking at some numbers real quick.

 7   So, with the current inventory, if Mr. Jones is on air and

 8   broadcasting, you could reasonably expect to get more than a

 9   5 percent gross margin?

10   A     No, no, that's the cost.      Ninety-five percent gross

11   margin.

12   Q     Ninety-five percent gross.

13   A     You said -- I misunderstood.       It's --

14   Q     My apologies.

15   A     I may have misspoke.     We have a 50 percent margin.

16   With a 5 percent cost to goods sold now, we have a 95

17   percent margin.

18   Q     If you could give me just one moment to gather my

19   thoughts.    Mr. Magill, you formerly testified in front of

20   this Court that Mr. Jones is responsible for generally most

21   of the revenue of the company, correct?

22   A     Yes.

23   Q     And isn't that -- has anything changed today to make

24   that testimony irrelevant or incorrect?

25   A     No, I don't think in that specific question, that's a
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 1   generally correct statement.       Yeah.

 2   Q       Okay.    And have you spoken with anyone in the

 3   production team related to staying on if Mr. Jones leaves?

 4   A       No.

 5   Q       And those -- there are members of that production team

 6   that would be required to carry out your liquidation

 7   winddown budget, correct?

 8   A       Yes.

 9   Q       Have you -- and I think you testified to this earlier,

10   but I just want to make sure it's clear.         Have you spoken

11   with any of the hosts regarding their intention to stay?

12   A       No.

13   Q       And who are those hosts, by the way?

14   A       Owen Shroyer and Chase Geiser and Harrison Smith.

15   Q       Would it -- have you seen Chase Geiser here in the

16   courtroom today?

17   A       No, I don't see him.    Oh, there he is.    He's in the

18   back.     Yes.

19   Q       Okay.    And would it surprise you if Mr. Geiser got on

20   the stand to testify that he was not staying if Mr. Jones

21   wasn't there?

22   A       No.

23   Q       Did you have concerns for the security of the employees

24   at Free Speech during the first and second weeks of June?

25   A       Yes.
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 1   Q     Were you on site during any of those times?

 2   A     No.

 3   Q     So you haven't been on site for two weeks?

 4   A     That sounds about right.

 5   Q     When was the last time you visited FSS' offices?

 6               MS. CATMULL:     Objection, Your Honor.     I don't

 7   understand what this has to do with whether the conversion

 8   should occur or not.

 9               THE COURT:     No, no, but I think she's allowed to

10   ask the question whether he's been on site and where we go.

11               MS. CATMULL:     Thank you, Your Honor.

12               THE WITNESS:     I think it was the last week in May.

13   I'd have to look at my calendar.       It's been a couple of

14   weeks, at least.     Yeah.

15   BY MS. DRIVER:

16   Q     Do you have a schedule or is it just you kind of pop

17   in?

18   A     I go as needed.      I usually go -- in the early stages, I

19   would go two or three days a week.        In this last couple of

20   months I've gone, you know, maybe every other week for a

21   couple of days.     It just -- I go when I'm needed.

22   Q     And have there been any meetings with the employees of

23   FSS to discuss what could be happening today in Court, that

24   you've held?

25   A     No.
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 1   Q     I believe there's an exhibit book up by your side, if

 2   you wouldn't mind turning with me to Exhibit 3.

 3                 THE COURT:    Ms. Driver, whose Exhibit 3 are you

 4   referring to?

 5                 MS. DRIVER:    I'm so sorry.   That would be Alex

 6   Jones --

 7                 THE COURT:    Okay.

 8                 MS. DRIVER:    -- Exhibit 3 and it was admitted in

 9   the FSS case.

10                 THE COURT:    Okay.   I just want to make sure that

11   I'm pulling up at the -- looking at the right thing, too.

12                 MS. DRIVER:    No problem.

13   BY MS. DRIVER:

14   Q     This is your engagement letter that was filed with the

15   Court to support your employment as the CRO; is that

16   correct?

17   A     Yes.

18   Q     And you recognize this document?

19   A     Yes.

20   Q     And you drafted this document?

21   A     Yes.

22   Q     Okay.     On number nine, it says, "Make operational

23   decisions with consultation of current ownership directed at

24   maximizing the value of FSS."         Do you see that statement?

25   A     I do.
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 1   Q     Did you consult with current ownership before you took

 2   -- made the decision to stop buying product?

 3   A     I don't recall that I did.

 4   Q     Did you know by making -- strike that.        Is it

 5   reasonable to assume when a company like this stops buying

 6   product that it's preparing to liquidate?

 7   A     Yes.

 8   Q     So, in making that decision, you knew you were head --

 9   you were taking FSS towards liquidation?

10   A     I was preparing for the possibility it would be

11   liquidated.    Yes.

12   Q     And in order to prepare for that, instead of taking

13   money that you could make 50 times the amount you could by

14   selling product, you chose to keep the money and not buy new

15   product?

16   A     I chose not to buy new product.

17   Q     And you did that without the consultation of current

18   ownership?

19   A     Yes.

20   Q     When you chose to direct your counsel to file a

21   statement in support of conversion rather than dismissal,

22   did you consult with current ownership?

23   A     No.

24   Q     Sir, the engagement letter and the order in front of

25   you, if there's anything in those documents that you believe
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 1   gives you the right to make those decisions without

 2   consulting with operation, could you please point it out to

 3   me?

 4   A     I don't believe there is any in there.

 5                MS. DRIVER:     I pass the witness, Your Honor.

 6                THE COURT:     Thank you.   Any redirect?

 7                MS. CATMULL:     Yes, Your Honor, (indiscernible).

 8                REDIRECT EXAMINATION OF J. PATRICK MAGILL

 9   BY MR. PATERSON:

10   Q     Hello again, Mr. Magill.       Mr. Magill, Mr. Moshenberg

11   suggested under his questioning that FSS could make more

12   money if it continued operating.         Do you recall that

13   testimony?

14   A     Yes.

15   Q     If FSS' assets are seized by the Texas plaintiffs in

16   state court, do you think it will be able to continue being

17   profitable?

18   A     No.

19                MR. MOSHENBERG:     Objection (indiscernible).

20                THE COURT:     Excuse me.   There's an objection.

21                MR. MOSHENBERG:     Speculation, Your Honor.

22                MR. PATERSON:     There's not much speculative about

23   it, Your Honor.

24                THE COURT:     I'll allow it.   He can answer if he

25   knows the answer.
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 1                 THE WITNESS:     Was that -- I assume you're asking

 2   my opinion?      Yeah.

 3   BY MR. PATERSON:

 4   Q     Correct.     What's your understanding?

 5                 THE COURT:     Well --

 6                 MR. MOSHENBERG:     Now --

 7                 THE COURT:     Now you're speculating.

 8   BY MR. PATERSON:

 9   Q     If FSS' assets are taken away by the Texas plaintiffs

10   and state court, will it be able to continue being

11   profitable?

12   A     No --

13                 MR. MOSHENBERG:     Objection.

14                 THE COURT:     What's the objection?

15                 MR. MOSHENBERG:     I mean, it's the same objection.

16   I'm not really sure I understand the question, but

17   speculation, facts not in evidence.

18                 THE COURT:     I'll allow it.

19                 THE WITNESS:     Would you restate it again, please,

20   for me?

21   BY MR. PATERSON:

22   Q     Certainly.     If FSS' assets are seized by the Texas

23   plaintiffs in state court, will FSS continue being able to

24   be profitable?

25   A     No.
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 1   Q       Mr. Lemmon asked you some questions about the agreement

 2   between FSS and Dr. Jones' Naturals.        Do you recall that?

 3   A       Yes.

 4   Q       To your knowledge, is there anything in that agreement

 5   that agreement that allows Mr. Jones to tell listeners not

 6   to buy products from FSS?

 7   A       No.

 8   Q       And would you as CRO ever have agreed to such a term?

 9   A       No.

10   Q       And do you believe that it's in the best interests of

11   FSS' estate for Mr. Jones to tell listeners not to buy

12   products from FSS?

13   A       No.

14   Q       Ms. Driver in her questioning suggested that FSS has

15   had record products during a period of time when these

16   statements were made.        Do you recall that?

17   A       Yes.

18   Q       Would those record profits have been even higher if Mr.

19   Jones had not been telling people to stop buying products

20   from Infowars?

21   A       I'm not sure.     I would -- I can't answer that.    I'm not

22   sure.

23   Q       Mr. Lemmon in his questioning also referred --

24   questioned whether or not --

25                  MAN 1:   (indiscernible).
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 1                THE COURT:    Just a moment.

 2                MAN 1:   Yeah, they're make -- yes.

 3                THE COURT:    Yes.   This is Judge Lopez, so can I.

 4   I'm asking that you please place your phone on mute, whoever

 5   you are.     Thank you.    I apologize.     Thank you.

 6                MAN 1:   Okay?

 7                THE COURT:    Well, sounds like that didn't work.

 8   Let's just do this.       Give me a second.

 9                AUTOMATED VOICE:     Conference unmuted.    Conference

10   muted.

11                THE COURT:    All right, please continue.

12                MR. PATERSON:    Thank you, Your Honor.

13   BY MR. PATERSON:

14   Q     Mr. Lemmon in his questioning, questioned you on

15   whether the Infowars Life brand was reflected in FSS'

16   schedules filed in this case.        Do you recall that?

17   A     Yes.

18   Q     And I believe your testimony was you thought it was in

19   the schedules; is that right?

20   A     That was -- yes.

21   Q     Like to refer you to Exhibit 10 of the Connecticut

22   plaintiffs, and I can hand up a copy if that's acceptable,

23   Your Honor.

24                THE COURT:    Please.   You said Exhibit 10?

25                MR. PATERSON:    Exhibit 10, Your Honor.
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 1                THE COURT:    Okay.

 2   BY MR. PATERSON:

 3   Q     And Mr. Magill, if you turn past the exhibit label,

 4   could you just tell me, do you recognize this document?

 5   A     Yes.

 6   Q     And what is it?

 7   A     It's the Statement of Financial Affairs.        It's the

 8   schedules.

 9   Q     And if I could just ask you to turn in a few pages,

10   it's hard to read the numbers at the top of the page, but if

11   you turn in three or four pages, you'll see Summary of

12   Assets and Liabilities for Non-Individuals down at the

13   bottom of the page.       Do you see that?

14   A     Yes.

15   Q     And if you could go to Page 6, looking at the number on

16   the bottom of the page.

17   A     Yes.

18   Q     Do you see Question 59?      "Does the Debtor have any

19   interests in intangibles or intellectual property?"

20   A     Yes.

21   Q     And do you see the answer saying yes, and then see

22   attached Exhibit Schedule A/B-60?

23   A     Yes.

24   Q     And if you turn over three pages, you see a document

25   with an exhibit label that says Schedule A/B-60?
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 1   A     Yes.

 2   Q     And if you look four lines down, do you see the

 3   (indiscernible) Infowars Life that's listed?

 4   A     Yes.

 5   Q     And is that what you were referencing when you said you

 6   thought Infowars life was scheduled as an FSS asset?

 7   A     Yes.

 8   Q     Mr. Magill, do you consider yourself a fiduciary of the

 9   FSS estate?

10   A     Yes.

11   Q     And have you made every decision in this case with that

12   in mind?

13   A     Yes.

14   Q     And given that, why is it that you support conversion

15   of this case?

16   A     Well, I'm concerned about a couple -- well, I support

17   it for a number of reasons.       One of them is, is that I feel

18   as a fiduciary, I have a responsibility to all the creditors

19   equally to be able to deal with them according to what the -

20   - what I believe the rules are, bankruptcy, and not favor

21   one over the other.     So, deal with them in kind of a

22   evenhanded way but no -- giving no advantage to one over the

23   other.     I also am concerned about the causes of action that

24   we would lose in a dismissal.       We have not -- we feel there

25   are several out there and I consider causes of action as a
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 1   potential asset to the estate, and therefore to give it away

 2   would be losing value in the estate.          So, I -- you know,

 3   those two are the main reasons that I was favoring

 4   converting.

 5   Q     Thank you, Mr. Magill.         I have no further questions.

 6                 THE COURT:     Thank you.

 7                 MS. CATMULL:     Bit of redirect, Your Honor?

 8                 THE COURT:     Okay.

 9                REDIRECT EXAMINATION OF J. PATRICK MAGILL

10   BY MS. CATMULL:

11   Q     I'll work backwards, Mr. Magill.         I asked you why you

12   supported conversion.         Did the recent statements about Sandy

13   Hook impact that support?

14   A     No.

15   Q     Do you have any concerns about -- have you had since

16   June 1 any concerns about employee safety?

17   A     Yes.

18   Q     Okay.     Why?

19   A     Well, there are -- there have been statements by Mr.

20   Jones that I felt might be inflammatory and I am concerned.

21   We have a policy, a written policy that allows employees to

22   carry weapons concealed.         So, I was concerned that some

23   irresponsible employee might do something irresponsible.

24   And also I had some concern about some of Mr. Jones'

25   listeners taking matters in their own hands and maybe coming
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 1   up to the office and creating a problem.         So, I had a

 2   general concern about just the temperature at the facility.

 3   Q       Are there guns on the facility?

 4   A       Yes.

 5   Q       Are there employees who carry concealed weapons?

 6   A       Yes.

 7   Q       They're -- as far as, you know, they're licensed to,

 8   true?

 9   A       I presume so, yes.

10   Q       There have been some questions about why you stopped

11   buying products.     Have there been -- what impacts your

12   decision whether or not to by product?

13   A       Well, the decision that I made and -- the decision came

14   to me when it was -- became obvious that there was going to

15   be no possibility that Free Speech would be able to have a

16   plan confirmed, a reorg plan confirmed.        And one of our

17   hearings that we had here, I interpreted what was said that

18   either we needed -- Free Speech needed to have a plan that

19   could -- a consensual plan by the 14th or that there would

20   be a dismissal of the case.       When it became clear to me that

21   I was not going to be able to get a consensual plan with the

22   families -- and to me that decision has been made.          It was

23   actually made for me, I really didn't make it -- and I

24   deemed at that point it would be irresponsible for me to

25   continue to spend money on product and commit money because
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 1   there's sometimes as much as a 90-day lead time on

 2   commitments.     That --

 3   Q       Sorry, go ahead.

 4   A       That I wouldn't be able to get the money back in time,

 5   so.

 6   Q       Do you purchase -- does FSS purchase product off the

 7   shelf?

 8   A       Off the shelf?

 9   Q       Is there -- there's some product -- what's the

10   turnaround on product fulfillment?

11   A       Well, if we -- when we buy, depending on the product

12   that we buy, but it -- the lead time on a product can be as

13   much as, you know, 60 days.        We buy a batch of product.     We

14   have it shipped to Denver, put it on the shelf then, and

15   then begin selling it.

16   Q       Does whether or not Alex Jones is -- in the past, since

17   you've been the CRO has, has Alex Jones always showed up for

18   work?

19   A       Showed up --

20   Q       Showed up for work.     Has Alex Jones always showed up

21   for work while you've been the CRO there?

22   A       No, he takes time off.

23   Q       And during the time off -- the time off, do you wish

24   you had fewer product?        Does him being there or not being

25   there impact your decision about whether or not to buy
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 1   product or how much.

 2   A     No.

 3                 MS. CATMULL:     Okay.   I pass the witness, Your

 4   Honor.

 5                 THE COURT:     Thank you.   Any further questions?

 6                 MR. MOSHENBERG:      (indiscernible).

 7                 THE COURT:     No, no, I'm just -- you -- let's keep

 8   going.      Let's go.   Come on.

 9                RE-CROSS EXAMINATION OF J. PATRICK MAGILL

10   BY MR. MOSHENBERG:

11   Q     Mr. Magill, besides selling products, how else does FSS

12   make money?

13   A     Well, we have sponsorships.         We have people that will

14   come in and want to pitch products on the air, books, gold

15   coins, you know, things like that, and we have contracts

16   with them.      They pay us for the privilege of coming on and

17   pitching to our clients.

18   Q     My understanding is that's pretty negligible compared

19   to the sale of products?

20   A     Yes.

21   Q     Okay.     And so when you're saying, because Alex Jones

22   doesn't come in all the time, you didn't order the main way

23   the company makes money?         Is that what I heard you say?

24   A     No.     I believe the question was whether he's -- if he

25   doesn't come in for a period of time, does that affect what
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 1   I -- you know, whether I buy product or not, and I said no.

 2   Q     Okay.     Thank you.     I appreciate the clarity on that.      I

 3   misunderstood your testimony, though.          I want to go back to

 4   the prefs real quick.         Did you do any sort of analysis to

 5   see whether the preference payments that you're alleging,

 6   the claims for preference payments are also fraudulent

 7   transfers?

 8   MS. CATMULL:      (indiscernible) legal conclusion.

 9   MR. MOSHENBERG:         I asked if he did an analysis.   It's a

10   fact, whether he did it or not.

11   THE COURT:      Overruled.

12   THE WITNESS:      No.

13   BY MR. MOSHENBERG:

14   Q     So, you don't know offhand whether they are any

15   preference claims that you said you're giving up or also

16   just fraudulent transfer claims that you would still have.

17   You don't know.

18   A     No.

19                 MR. MOSHENBERG:     Okay.   Thank you, Judge.

20                 THE COURT:     Thank you.

21               REDIRECT EXAMINATION OF J. PATRICK MAGILL

22   BY MS. DRIVER:

23   Q     Mr. Magill, in your testimony just now, you mentioned

24   that you stopped ordering product because there was no

25   possibility of a plan.         Is that correct?
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 1   A     That was my view, yes.

 2   Q     Okay.   And when did you come to that view?

 3   A     Shortly after the hearing on, I believe it was the 21st

 4   or the 23rd of May.

 5   Q     And I thought your testimony earlier was that you

 6   stopped ordering products about a month ago?

 7   A     Three weeks ago.     Something like that.     Yeah.

 8   Q     So, shortly after the 21st hearing or before the 21st

 9   hearing?

10   A     No, it was shortly after.

11   Q     Shortly after.     But you didn't withdraw -- FSS, didn't

12   withdraw its plan until, I think yesterday.

13   A     Yes, that's correct.

14   Q     So, you stopped ordering product three weeks before you

15   withdrew your plan, but you knew the plan was not going to

16   happen, right?

17   A     That's correct.

18   Q     When did you start considering what the world looked

19   like in the event of a liquidation for FSS?

20   A     I don't understand your question.

21   Q     When did you start to consider or analyze what -- let

22   me back up.    Did you have any part in the 30-day winddown

23   budget that was produced to the parties yesterday?

24   A     Yes.

25   Q     And that was the first time it was produced to parties,
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 1   correct?

 2   A       Yes.

 3   Q       It was first time Mr. Jones had ever seen it or his

 4   professionals?

 5   A       Yes.

 6   Q       So, it was not done in consult with any of those folks?

 7                   MR. PATERSON:     Objection, Your Honor.   I think

 8   we're fairly far beyond the scope of recross at this point.

 9                   THE COURT:     Overruled.

10                   THE WITNESS:     I think the answer is yes.   I --

11   yeah.

12   BY MS. DRIVER:

13   Q       So, when did you start to formulate that plan or think

14   about it?

15   A       Oh, shortly after it became clear to me that we

16   wouldn't get a plan confirmed.

17   Q       Do you remember being deposed by Mr. Lemmon on May

18   30th, 2024?

19   A       I do.

20   Q       Do you remember -- and just to be clear, May 30th was

21   more than a week past the May 21st hearing where you said

22   shortly thereafter, you decided that you were -- there was

23   no plan of reorganization, correct?

24   A       Correct.

25   Q       Okay, and do you remember testifying that you had not,
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 1   as of May 30th, given any thought to a liquidation plan and

 2   how that would occur?

 3   A       I don't recall saying that, but that sounds like

 4   something I would say.

 5   Q       Okay.    So, if you say that's something you would say,

 6   on May 30th, 2024 you had not given any thought to what a

 7   liquidation plan looked like?

 8   A       That's what I said, then that's what I said.       I don't

 9   recall it but I'm not denying it.

10   Q       Okay.    And I'm not going to walk through having you

11   testify about that.       I think you're saying if you said it,

12   you said it, you said it.       So, you stopped buying product

13   before you even thought about what a liquidation budget

14   looked like?

15   A       Yes.

16   Q       All without consultation with Mr. Jones or any of his

17   team?

18   A       His professional team, yes.

19   Q       You said you had security concerns about the employees

20   who were potentially armed on the property, and fans.           Was

21   that something that you testified to?

22   A       Yes.

23   Q       What did you do about those concerns?

24   A       I had a discussion with Tim Enlow who's the head of

25   security.       He was on the ground.   Talked to him about that
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 1   and we -- he keeps me informed if there was an issue.             He'll

 2   call me and say, you know, we might have an issue.             We might

 3   not.    So, I talk to him every day about security stuff there

 4   when I'm up there.

 5                  MS. DRIVER:     I'm going to object to the part of

 6   that that was, I believe, hearsay.

 7                  THE COURT:     Overruled.     Overruled.

 8   BY MS. DRIVER:

 9   Q      Are you aware that during the broadcasts -- well,

10   strike that.       When you said you had security concerns, who

11   did you have security concerns about?             Who did you think

12   would be harmed?

13   A      Everybody at the studio, the employees.

14   Q      The employees?

15   A      Yeah.

16   Q      Would it surprise you to know that employees showed up

17   voluntarily who were not on the -- who were not on the

18   schedule to work, and came in involuntarily?

19                  MS. CATMULL:     Objection.     Assumes facts not in

20   evidence.       They could put on that evidence if they want to,

21   but there's nothing (indiscernible) and it goes beyond the

22   scope --

23                  THE COURT:     I'll sustain the objection.

24   BY MS. DRIVER:

25   Q      Did you direct Mr. Enlow to call in extra security?
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 1   A       I did.

 2   Q       Do you know if that happened?

 3   A       I believe it did, yes.

 4   Q       But do you know that that happened?

 5                MS. CATMULL:     Objection, Your Honor, asked and

 6   answered and I don't see what this has to do with whether or

 7   not the case should be --

 8                THE COURT:     I think you're testifying, Ms.

 9   Catmull.     I think you can just answer -- you can just lodge

10   your objection.

11                MS. CATMULL:     Yes, Your Honor.

12                THE COURT:     He can answer the question.

13                THE WITNESS:     I was told that it had happened.

14   BY MS. DRIVER:

15   Q       But you don't have personal knowledge of that?

16   A       No, I was not in Austin at the time, so I did not see

17   it.

18                MS. DRIVER:     Okay.   Pass the witness, Your Honor.

19                THE COURT:     Thank you.   Any further questions for

20   this witness?     Mr. Magill, thank you very much for your

21   time.     Folks, why don't we take a break until -- I've got a

22   1:30 hearing.     It'll give me an opportunity to read the

23   transcripts that are -- that have been admitted.

24                Probably going to go -- I would -- I'm going to

25   hang up the line for folks that are there just to kind of
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 1   clear the line.      I -- why don't we start at 2:30 p.m. back

 2   here -- 1:30 -- no, let's say 2:45 p.m., if we could, 2:45.

 3   Give everyone a time.       We will -- I will open up the line.

 4   I'll just keep the line open from the 1:30, so if you're

 5   listening in, you'll be able to listen in to another

 6   hearing, but I won't start this hearing until 2:45.

 7               MS. FREEMAN:     Very briefly, Your Honor, and to the

 8   extent that it assists the Court in understanding the CRO's

 9   role and his consultation obligations, I would ask the Court

10   to take judicial notice of the transcript of the hearing

11   from March 11th of 2024 beginning on Page 13 at Line 25 and

12   continuing to Page 14.       There is a stipulation with regards

13   to (indiscernible).

14               (Recess)

15               CLERK:     All rise.   Please be seated.

16               THE COURT:     Thank you, and I appreciate everyone's

17   patience.    Okay, last we left off, we had just finished with

18   the examination of the CRO, where do we go next?

19               MR. PATTISON:     Your Honor, at this time, the

20   Connecticut Plaintiffs have no additional witnesses or

21   exhibits.

22               THE COURT:     Okay.   Thank you.

23               MS. CATMULL:     In our presentation, I will just

24   offer the Court that, I would ask the Court to take judicial

25   notice of the PQPR proof of claim.
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 1               THE COURT:     Okay.

 2               MS. CATMULL:     Thank you, Your Honor.

 3               THE COURT:     Any other evidence to present to the

 4   Court?    Any party?     Let me just … are the Movants of the

 5   Connecticut party, can I just say that your side is rested

 6   with respect to your motion?        Aside from argument, from an

 7   evidentiary standpoint?

 8               MR. KEMPLER:     That's fair on behalf of the

 9   Connecticut Plaintiffs.       I know there are other parties

10   supporting conversion.       I'll let them speak for themselves.

11               THE COURT:     Yeah, that's why I was just going to

12   kind of go one by one.       So, any other party who supports

13   conversion?    Any other evidence to present to the Court?

14   Okay.    Anyone who opposes conversion, any evidence to

15   present to the Court?

16               MS. DRIVER:     Your Honor, Mr. Jones have evidence

17   to support, and I, if it's appropriate, I'll call Mr.

18   Schleizer to the stand.

19               THE COURT:     I don't know if it's appropriate, you

20   get to call him, though.

21               MS. DRIVER:     From a timing perspective, Your

22   Honor.

23               THE COURT:     Okay.   No, no, no.   I'm here all day.

24   So, don't worry about me.

25               THE COURT:     (indiscernible) the witness
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 1   (indiscernible).     Please raise your right hand.       Do you

 2   swear to tell the truth, the whole truth and nothing but the

 3   truth?

 4               MR. SCHLEIZER:    Yes.

 5               THE COURT:    Okay.   Let the record reflect that the

 6   Witness has been properly sworn in.        Sir, if you can state

 7   your name for the record and spell your last name.

 8               MR. SCHLEIZER:    My name is Robert Schleizer.        Last

 9   name is spelled S-C-H-L-E-I-Z-E-R.

10               THE COURT:    Thank you very much.     You may proceed

11   whenever you're ready, counsel.

12               MS. DRIVER:    Thank you, Your Honor.

13                DIRECT EXAMINATION OF ROBERT SCHLEIZER

14   BY MS. DRIVER:

15   Q     Mr. Schleizer, where are you currently employed, or who

16   do you conduct your business through?

17   A     I have a firm that's called BlackBriar Advisors, LLC.

18   Q     And what do you do with BlackBriar Advisors?

19   A     I'm the managing partner and owner.        I manage the

20   professionals in the firm.

21   Q     And what is BlackBriar Advisors in the business of

22   doing?

23   A     The vast majority of our work relates to restructuring

24   and bankruptcy and liquidation work.

25   Q     And in that context, are you familiar with serving as a
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 1   fiduciary for different companies?

 2   A       Yes.

 3   Q       How did you come to meet -- well, strike that.       What is

 4   your, what is BlackBriar's current role in Mr. Jones's case?

 5   A       We're currently serving as his financial advisor.

 6   Q       And I probably should say, as immediately prior to the

 7   conversion order that was entered while we were all at

 8   lunch, what was BlackBriar Advisors' role with Mr. Jones's

 9   case.

10   A       We were financial advisor.

11   Q       How did you, when did you first meet Alex?

12   A       On December 6, 2022.   We met him at Shelby Jordan's

13   office, along with you, for the first introductory meeting.

14   Q       And so, prior to that, you'd done no work for Mr.

15   Jones, his family, his companies, or anything of the sort?

16   A       No.

17   Q       In the course of BlackBriar's engagement as financial

18   advisors for Mr. Jones during his chapter 11 case, did you

19   have an opportunity to seek information from Mr. Jones

20   related to his financial documentation and history?

21   A       Yes, we spent a lot of time with Mr. Jones.       As I

22   testified earlier, the condition of the records were, was

23   not great and it took an extended amount of time to gather

24   information.

25   Q       How did you characterize the level of Mr. Jones's
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 1   cooperation with your team?

 2   A     He was an open book to us.      Everything we asked him, if

 3   he knew the answer, he pointed us in the direction and he

 4   gave us access to all of the people he'd been working with,

 5   both current and previous, to try to get information pulled

 6   together.

 7   Q     And so, in any point, did you get the feeling that he

 8   was, the state of the records was probably due more … why

 9   would you say the records were in disarray?

10   A     Because there weren't any.      He had never prepared a

11   financial statement.      He had a number of different people

12   involved over a period of time and a lot of different

13   entities.    And frankly, just no organized approach to

14   keeping financial records.

15   Q     And has he become, do you think that his financial

16   records through the course of the chapter 11 bankruptcy,

17   have gotten in better shape?

18   A     Yes, much better.

19   Q     And do you, has he been cooperative and appreciative of

20   those efforts, in your opinion?

21   A     He's turned over everything to us and just said just do

22   what you have to do.      And anything he does, any source of

23   revenue, any of its expenses, we've got access to.          And

24   everything's been recorded.

25   Q     And were there recommendations by your office related
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 1   to containing expenditures during Mr. Jones's case?

 2   A     Yes.    Prior to the bankruptcy filing, he was spending

 3   well into six figures a month.          His personal living

 4   expenses, excluding the prenuptial agreement, had been

 5   averaging less than 50,000 a month over the last year, plus.

 6   Q     Did you have occasion to review a document filed by the

 7   Connecticut Plaintiffs that alleged that he had been

 8   spending in excess of $83,000 a month?

 9                MR. PATTISON:     Objection, Your Honor.    Relevance.

10                THE COURT:    What is the relevance, counsel?

11                MS. DRIVER:     This is just more to go to the

12   allegations that Mr. Jones is not credible to stay in any

13   role with FSS.     I'll move on if you like.

14                THE COURT:    Please

15   BY MS. DRIVER:

16   Q     What is your understanding -- strike that.         You

17   understand that one of the issues that we are deciding here,

18   that the Judge is going to be deciding here this afternoon,

19   is whether the FSS case will be dismissed or converted.

20   A     Yes.

21   Q     And what is your understanding of who would have

22   control of FSS's bank accounts if this case is dismissed?

23                MR. PATTISON:     Objection, Your Honor.    Relevance.

24                THE COURT:    Overruled.

25   BY MS. DRIVER:
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 1   A     I've discussed that with Mr. Jones and he has agreed

 2   that if --

 3                MS. CATMULL:     Objection, Your Honor.    This is

 4   hearsay.     What Mr. Jones did or did not say is not an

 5   opposing party.     This is hearsay.      They can call Mr. Jones,

 6   he's here.

 7                THE COURT:     Your response?

 8                MS. DRIVER:     Your Honor, it's not for the truth of

 9   the matter asserted, it's just what Mr. Schleizer

10   understands from his conversations with Mr. Jones.

11                MS. CATMULL:     Your Honor, I have a relevance

12   objection.     I don't know why, how probative his

13   understanding is of if it's not being asserted for the

14   truth.

15                THE COURT:     I agree.

16   BY MS. DRIVER:

17   Q     Did you have occasion to work through what would be a

18   hypothetical winddown budget in the event of a dismissal?

19   A     Mr. Jones and I worked on a potential winddown budget

20   under the scenario that he would continue to work with the

21   chapter 7 trustee in his personal case, to liquidate the

22   assets and maximize the value.         Based on that budget, we

23   projected that revenue over a 60- to 90-day period would

24   somewhere between $4 and $6 million.

25   Q     And so, with Mr. Jones continuing to work at FSS during
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 1   a period after dismissal -- let me just make sure I

 2   understand the realizable revenue from selling the remaining

 3   inventory would be between $4 and $6 million?

 4   A     Yes.

 5   Q     Did you have an opportunity to review the liquidation

 6   plan that the CRS circulated yesterday?

 7   A     I received it yesterday, yes.

 8   Q     And would the liquidation analysis -- strike that --

 9   would the budget that you were able to put together, exceed

10   the recovery to creditors that is under that liquidation

11   budget that the CRS circulated?

12   A     Yes.

13   Q     Does your winddown budget anticipate FSS employees and

14   staff to help?

15   A     Yes, they did.

16   Q     And is it your understanding that the crew and staff

17   would actually be available to help?

18                MS. CATMULL:     Objection, leading, Your Honor.

19                THE COURT:     Sustained.

20   BY MS. DRIVER:

21   Q     Do you have an understanding as to whether the

22   employees and crew at FSS necessary to effectuate that

23   winddown plan would be available to do that?

24   A     I believe so, yes.

25                MS. DRIVER:     Your Honor, I'll pass the witness.
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 1                  THE COURT:    Thank you.     Anyone have any cross-

 2   examination for this witness?

 3                  MR. MOSHENBERG:       (indiscernible).

 4                  THE COURT:    That works for me too.

 5                   DIRECT EXAMINATION OF ROBERT SCHLEIZER

 6   BY MR. MOSHENBERG:

 7   Q       Thank you for being here Mr. Schleizer.         So, I just

 8   wanted to follow up on a couple of things that you were

 9   saying a moment ago.         Post dismissal, what would your role

10   be at Free Speech Systems?

11   A       Mr. Jones has asked if I would manage the cash and help

12   liquidate the assets and wind it down on his behalf.

13   Q       Oka.    Is there any indication to you that Mr. Jones may

14   continue to stay on at Free Speech systems?

15   A       He's indicated to me that he would if I was willing to

16   work.

17                  MS. DRIVER:    Objection, Your Honor.     Move to

18   strike, that's hearsay.            Mr. Jones is here, he can testify

19   about that.

20                  THE COURT:    It's not an out-of-the-court statement

21   offered for the truth of the matter asserted.            He's

22   expressing his understanding.

23                  MS. DRIVER:    But Your Honor, if I may, based on

24   what -- may I take him on voir dire, Your Honor?

25                  THE COURT:    No.
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 1                 MS. DRIVER:     Thank you, Your Honor.

 2                 MR. MOSHENBERG:     You can answer, sir.

 3                 THE COURT:     In other words, you can express your

 4   understanding, but you can't tell me anything that Mr. Jones

 5   may have told you, but you can have an understanding about

 6   it.

 7                 THE WITNESS:     Yes, Your Honor.

 8                 THE COURT:     Now, if anyone were to ask you a

 9   further question, like and what is that understanding based

10   on, someone is going to raise and objection and I'm not

11   going to let you give me that answer.         Okay?

12                 THE WITNESS:     Would you ask the question again,

13   please.

14   BY MR. MOSHENBERG:

15   Q     Yeah.     Okay, so what is your understanding about

16   whether Jones, Alex Jones, will continue to work at Free

17   Speech Systems post dismissal?

18   A     My understanding is that he is willing to assist in the

19   winddown.

20   Q     Okay.     And outside of the winddown, would he -- do you

21   have an understanding one way or the other about whether he

22   would continue to operate FS, Free Speech Systems, continue

23   to work at Free Speech Systems?

24                 MS. CATMULL:     Your Honor, same objection about

25   calls for hearsay, but take a running so I don't keep
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 1   disrupting, if the Court will allow a running objection.

 2                 MR. MOSHENBERG:     Your Honor, I just

 3   (indiscernible) based on foundation.

 4                 THE COURT:    I like foundation.     It's not an out-

 5   of-the-court statement.         He has made no statements.    But it

 6   is, you could ask more foundation.

 7                 MR. MOSHENBERG:     Understood.

 8                 MS. DRIVER:    Thank you, Your Honor.

 9   BY MR. MOSHENBERG:

10   Q     Based on your involvement with Free Speech Systems, and

11   in your role in the bankruptcy for Alex Jones' estate, do

12   you have any basis, one way or the other, for understanding

13   about Alex Jones's future at Free Speech Systems?

14   A     I' not sure I understand your question.          Please ask it

15   again.

16                 THE COURT:    That made two of us.

17   BY MR. MOSHENBERG:

18   Q     Well, given your involvement in all of this, do you

19   know, one way or the other -- and don't tell me yet what it

20   is, I'll follow up -- but do you know, one way or the other,

21   about whether Alex Jones may continue to work at Free Speech

22   Systems?

23   A     If … my understanding is he would to assist, to

24   maximize value.

25   Q     Okay.     And that might include -- do you know, one way
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 1   or the other, whether that includes continuing to work at

 2   Free Speech Systems?

 3   A     I guess, to be a little bit more clear, are you talking

 4   for a period of time or …?

 5   Q     Yeah, for an extended period of time, or ongoing?

 6   A     If, on a going concern basis, I don't know the answer

 7   to that question.

 8   Q     Okay.   Now, I want to better understand what your role

 9   would be in a post-Free Speech Systems dismissal.          You were

10   talking about it earlier, about the controls you would have

11   over the company, versus the controls Alex Jones would have.

12   Can you illuminate that for us?

13   A     The role I'm playing in his, played in his chapter 11

14   case, is essentially what he's asked me to do on behalf of

15   FSS, if it does winddown and liquidate, which would be to

16   manage and control he cash, to sell the assets to try to

17   maximize the value, and then to manage the administrative

18   part of the business as it goes through its winddown.

19   Q     Is there anyone else who is going to be involved in

20   managing the financials of Free Speech Systems, do you know?

21   A     I have not had discussions with any of the existing

22   employees; that would be the first place we'd look.          And if

23   we were, they were not willing to stay on, then we would

24   bring on additional help.

25   Q     What about Mr. Jeffrey Schultze?       What's his role at
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 1   Free Speech Systems?

 2   A      I have not talked to Mr. Schultze about it.

 3   Q      Okay.     My understanding was that he would be part of

 4   dual signing check writing authority for checks over

 5   $25,000.

 6                  MS. CATMULL:     Fact not in evidence, calls for

 7   hearsay.

 8                  THE COURT:     I agree there.

 9                  MR. MOSHENBERG:        Okay.

10   BY MR. MOSHENBERG:

11   Q      Do you know, one way or the other, about whether he

12   has, going to be part of some sort of dual check signing

13   authority?

14   A      He currently has check signing authority at the company

15   now.    If he was willing to stay on, he would be an ideal

16   candidate to help.

17   Q      Understood, okay.

18                  MR. MOSHENBERG:        All right, I'll pass, Your Honor.

19                  THE COURT:     Anyone else who supports the relief

20   have any question?          Any cross-examination?

21                  MR. PATTISON:     I have a couple of questions.

22                  THE COURT:     Okay.     Take your time.

23                   CROSS EXAMINATION OF ROBERT SCHLEIZER

24   BY MR. PATTISON:

25   Q      Good afternoon, Mr. Schleizer.           I believe there's a
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 1   binder there, of exhibits that Mr. Jones had introduced.

 2   And could I just ask you to take a look at that binder and

 3   let me know if you see the budget that you testified about

 4   in there?

 5   A     Which specific exhibit are you referring to?

 6   Q     Well, could you let me know if the budget that you

 7   referenced to in your testimony has been submitted in this

 8   exhibit?

 9   A     It's not submitted.

10   Q     It is not?     And has that been produced to the

11   Connecticut Plaintiffs?

12   A     No.

13                 MR. PATTISON:     Your Honor, I'd move to strike all

14   testimony about the budget and financial analysis on that

15   basis.      It's a document that has not been produced to us.

16   The best evidence rule, Your Honor.         He's testifying about a

17   budget.      We don't have the budget itself.

18                 THE COURT:    I'm just listening to the response.

19                 MS. DRIVER:     Your Honor, there is the budget that

20   has been worked on, and it is a work in progress.          There is

21   no budget.      I mean, he has spoke about the things that he

22   believes.

23                 THE COURT:    I'm going to take it as to what he

24   understood, but there is no document.         To the extent

25   somebody's referring to a budget, there is no budget that I
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 1   can review or take confidence in numbers in, if that's what

 2   you're looking for.

 3               MR. PATTISON:    And in no document or analysis

 4   either, Your Honor, so …

 5               THE COURT:   I agree.

 6               MR. PATTISON:    We'd still move to strike all

 7   testimony on the basis that there's some document somewhere

 8   that presumably records this, but it hasn't been provided to

 9   us, or the Court.

10               THE COURT:   I'll grant it.

11               MR. PATTISON:    Thank you, Your Honor.

12   BY MR. PATTISON:

13   Q     Mr. Schleizer, you referenced various controls that

14   would be in place in the event of a dismissal, including

15   your control over bank accounts.       Why do you need those

16   controls?

17   A     I'm not sure I understand your question.

18   Q     I believe in your testimony you referenced -- well, why

19   not just give bank account authority over to Mr. Jones, in

20   the event that the FSS case is dismissed?

21   A     Mr. Jones, it's my understanding Mr. Jones would prefer

22   to have me do it.     He does not have control over his bank

23   account other than just being able to charge amounts to a

24   debit card.    So, all disbursements I've done for him, he

25   wanted me to play that same role on FSS.         He does not want
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 1   to have authority on bank accounts.

 2   Q       And you testified about Mr. Jones perhaps being willing

 3   to remain on for some period of time.        If there's a chapter

 4   7 trustee in Mr. Jones' case, telling Mr. Jones what he can

 5   and cannot do, do you believe he's willing to listen to

 6   that?

 7   A       I believe … well, he's been very cooperative throughout

 8   this entire process.     If it's to the benefit of, to maximize

 9   the value, as well as to help his employees make a

10   transition, I believe he would.

11   Q       Can you say for sure that Mr. Jones is going to abide

12   by the instructions of a chapter 7 trustee in the Jones

13   case?

14   A       Yes, I do believe that.

15   Q       And you're willing to personally vouch for Mr. Jones on

16   that?

17   A       I just said I, yes, I believe he would do that.

18   Q       You were the estate-retained professional for Mr.

19   Jones, correct?

20   A       Excuse me?

21   Q       You were an estate-retained professional in the Jones

22   case, right?

23   A       Correct.

24   Q       You were not separately retained in the FSS case,

25   right?
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 1   A     No.

 2   Q     Are you aware of claims or causes of action between the

 3   FSS estates and the Jones estates?

 4   A     I'm aware of them, I don't know the context and I can't

 5   express an opinion on them.

 6   Q     And what are you aware of about them?

 7   A     Very little, just to know if there's adversary

 8   proceedings and alleged claims.

 9                MR. PATTISON:   I'll pass the witness, Your Honor.

10                THE COURT:   Thank you.   Any further redirect?      Oh,

11   I apologize, Ms. Catmull.

12                 CROSS-EXAMINATION OF ROBERT SCHLEIZER

13   BY MS. CATMULL:

14   Q     You met with Mr. Magill yesterday, right?

15   A     Yes.

16   Q     You guys have weekly meetings, right?

17   A     Yes.

18   Q     And Mr. Magill showed you the liquidating budget that

19   he discussed here on the stand, right?

20   A     That's correct.

21   Q     And during that meeting, you didn't say one thing to

22   disabuse him that that budget didn't make sense, did you?

23   A     I said I understood his budget.       When I asked him if he

24   had talked to employees, much as he testified today, he

25   indicated that he had not.      And the basis for their sales
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 1   was on the assumption that Alex was not going to be around.

 2   I did not challenge his numbers.

 3   Q     Yes or no, you did, yes or no, you did not challenge

 4   that budget in any manner during the meeting yesterday?

 5   A     I did not.

 6   Q     So, if Mr. Jones, Alex Jones, tells you what to do with

 7   the cash in this -- if the case is dismissed, and you

 8   continue on as financial advisor, if Mr. Jones tells you

 9   what to do with the FSS cash, do you have the authority to

10   say no?

11   A     Yes.    I wouldn't do it without that.

12   Q     Under what circumstances would you say no?

13   A     If there was a request to do something that was not in

14   the best interest of the estate.

15   Q     Anything more specific than that?

16   A     You're asking me to speculate.

17   Q     Well, there is no estate when the case has been

18   dismissed.     Maybe I understood your testimony.       Are you

19   going to -- did you testify to this Court -- I'm sorry if I

20   got it wrong -- that you're going to be the financial

21   advisor if this case gets dismissed?

22   A     Yes.

23   Q     Okay.    Financial advisor to FSS?

24   A     Yes.

25   Q     Okay.    And continue on as a financial advisor to Mr.
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 1   Jones?

 2   A     Not in this chapter 7, no.

 3   Q     How about outside the chapter 7, a financial advisor to

 4   Mr. Jones?

 5   A     I have no arrangements.      My engagement is limited to

 6   what I'm doing within the estate right now.

 7   Q     And Mr. Jones doesn't always do what you say, does he?

 8   A     Can you be specific?

 9   Q     Yes.    Ever, has he ever not done what you said?

10   A     If you've got a specific instance I'm happy to address

11   it.   He's taken my advice.     He's not done anything that I've

12   told him to do that would have been a problem in the

13   bankruptcy proceeding.

14   Q     Do you monitor his broadcasts?

15   A     No, I do not.

16   Q     Okay, so you have no idea what he's ever saying o his

17   broadcasts?

18   A     I've listened to a few, but I don't, I don't direct

19   what he does on the production side.

20   Q     Until today, you had not heard, until today you had

21   heard that he's discussing Sandy Hook as between June 1,

22   2024 and today, on his broadcast?

23   A     That's not true.     I was aware of it.

24   Q     Okay.    Did you tell him to stop?

25   A     No.
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 1   Q     There were a lot of, there was a lot of testimony based

 2   on your understanding about what Mr. Jones will and will not

 3   do in the event of a dismissal.        That's based on what Mr.

 4   Jones told you, right?

 5   A     We had multiple meetings.       We discussed it, yes.

 6               MS. CATMULL:     Your Honor, I move to strike his

 7   testimony about his understandings it was based on what Mr.

 8   Jones told him.     That's hearsay.

 9               MS. DRIVER:     His understanding can be based upon

10   lots of different things, Your Honor.        And he's not

11   introducing the statement.

12               THE COURT:     I'm overruling that.

13               MS. CATMULL:     Thank you, Your Honor.

14   BY MS. CATMULL:

15   Q     So, this budget that you just told the Court about,

16   that's a post-dismissal liquidating budget?

17               THE COURT:     I've actually struck everything about

18   the budget.

19               MS. CATMULL:     Sorry, Your Honor, I withdraw my

20   question.

21               THE COURT:     Okay.

22               MS. CATMULL:     Sorry, Your Honor.

23   BY MS. CATMULL:

24   Q     You have done zero analysis about whether or not PQPR

25   has a deposit account control agreement with Free Speech,
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 1   right?

 2   A       I don't work for Free Speech; I work for Mr. Jones.

 3   Q       That doesn't answer my question, sir.

 4   A       No, I've done no work on that at all.

 5   Q       You've done zero analysis, true?

 6   A       That's correct.

 7   Q       Have you ever heard of a deposit account control

 8   agreement?

 9   A       Yes.

10   Q       In the context of the Free Speech case?

11   A       No.

12   Q       So, until today, you were unaware that there's no

13   deposit account control agreement between Free Speech and

14   PQPR.     Is that your testimony to the Court?

15                  MS. DRIVER:    I'm going to object; facts not in

16   evidence.

17                  THE COURT:    Overruled.   You can answer.

18   BY MS. CATMULL:

19   A       I'm not aware of what the financial arrangement is with

20   Free Speech's bank accounts.

21   Q       My question is, is today the first day you've heard an

22   allegation that there is no deposit account control

23   agreement between Free Speech and PQPR?

24   A       Yes.

25   Q       The Jones teams has full access to the Free Speech
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 1   Systems QuickBooks, right?

 2   A       Yes.

 3   Q       I'll speak up, sorry.         And Blake, over at Free Speech,

 4   sends weekly inventory reports, right?

 5   A       We get a weekly sale report.         I don't get a weekly

 6   inventory report.       I requested that and I've gotten reports

 7   the last few days.

 8   Q       Those are the first reports you ever got from the Free

 9   Speech team, is that your testimony?

10   A       No.    I've gotten reports in the past when I've asked

11   for them.

12                  MS. CATMULL:     I pass the witness, Your Honor.

13                  THE COURT:     Thank you.    Any redirect?

14                  MS. DRIVER:     Your Honor, no redirect.

15                  THE COURT:     Thank you very much for your time.

16   Any other witnesses, counsel?

17                  MS. DRIVER:     Your Honor, Mr. Jones would close

18   evidence in his case, move to close case, evidence in his

19   case.

20                  THE COURT:     Okay.    Any other party wish to

21   introduce evidence at this time?            PQPR, I guess I … sorry,

22   Mr. Lemmon, I just want … going around the table.

23                  MR. LEMMON:     Thank you, Your Honor.       PQPR is

24   offering no evidence at this point.

25                  THE COURT:     Okay.    Is it fair, can I close the
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 1   evidentiary record?

 2               MR. LEMMON:     Yes, Your Honor.

 3               THE COURT:     Okay, let's proceed to closing

 4   argument then.

 5               MR. KEMPLER:     Thank you, Your Honor, Kyle Kempler,

 6   Paul Weiss, on behalf of the Connecticut Plaintiffs.           I may

 7   not be brief, but I'll do my best.

 8               The question today before the Court, is whether

 9   it's conversion or dismissal of the FSS case.         I don't think

10   there's any open dispute today cause exists under Section

11   1112(b).    The only question is what is the right remedy.

12   But Congress says, the Bankruptcy Code says, is that the

13   Court is required to make that determination based on what

14   is in the best interests of creditors and the estate.           Given

15   the record that is before the Court today, we submit that

16   conversion is very clearly the best option for the estate.

17   Conversion is supported by the Debtor itself, Free Speech

18   Systems, who has an independent CRO.        It is supported by the

19   Subchapter 5 Trustee, and the recommendation and report that

20   Ms. Hazelton filed yesterday.       It is supported by creditors

21   holding 95 percent of the liquidated claims against FSS.

22   It's even supported by PQPR.       It is opposed by Mr. Jones and

23   the Texas Plaintiffs.

24               I want to start with a couple of points that I

25   think are not in dispute, and that are clear from the
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 1   evidence you've heard today.       First, the Jones case has

 2   already been converted to a chapter 7.        Equity interest that

 3   he owns in FSS were a non-exempt asset; that's on his own

 4   schedules.     And, therefore, Mr. Jones has no continuing

 5   economic interest in FSS.

 6                It's also true that Mr. Jones argues that

 7   notwithstanding that that asset was a non-exempt asset that

 8   belongs to his own chapter 7 estate, he believes he should

 9   continue to have managerial control over FSS.         That is the

10   position that he is asserting in his pleadings that you've

11   heard today.

12                It is also true that Mr. Jones has said that he

13   will not work for either the CRO or a chapter 7 trustee.

14   I'd point, Your Honor, if I could, to Mr. Jones's own

15   pleading, Docket Number 943, paragraph 10, quote, "Jones is

16   unwilling to commit to work for an unknown chapter 7 trustee

17   under hypothetical terms," end quote.

18                Now, there he's talking about a chapter 7 trustee

19   at the FSS case.     But I ask, what's the difference?       There's

20   a chapter 7 trustee right now that owns the equity in FSS.

21   What Jones is really saying is that he wants to be able to

22   continue to operate FSS without any oversight.          And if there

23   is oversight, if there is, quote, "an unknown chapter 7

24   trustee," end quote, he will not work there.         This follows

25   public statements that Mr. Jones has made over the last
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 1   couple of weeks, where he said he is getting his company

 2   back today.

 3                I'd point Your Honor to Exhibit 15, page 7, quote,

 4   "the CRO is about to be removed on the 14th, and I'm about

 5   to be back in control of my company, in the interim, for the

 6   new assault," end quot.

 7                It is also undisputed that as of today, Free

 8   Speech has approximately $6 million of cash and cash

 9   equivalence under the control of the CRO, Mr. Magill.           It's

10   also true that the only budget that has been submitted in

11   the evidence, the only evidence before this Court, is that

12   there is about $1.5 million of remaining inventory at Free

13   Speech, which with a thinned down winddown budget of

14   approximately $900,000 over the next four weeks, can

15   generate about $650,000 of excess value for Free Speech.

16   You've heard the CRO testify that he believes that value can

17   be realized without Mr. Jones.       So, if you take those

18   assumptions, the $6 million becomes $6.6 million that could

19   be paid to creditors.

20                It's also not really in dispute that nobody is

21   here saying that Mr. Jones should have full control of Free

22   Speech Systems.     Nobody is saying hand the entire keys over

23   to him and let him do what he wants.        The Texas Plaintiffs

24   say it's critical that Mr. Schleizer have control over the

25   checkbook.     Jones himself, in his dismissal order, offers
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 1   that as a concession.      Why?   Why is that necessary?     Why is

 2   it necessary that only Jeff Schultze can sign checks over

 3   $25,000?     I think the answer is in the Subchapter 5

 4   Trustee's initial report a year ago.        Mr. Jones has a long

 5   history of cutting deals with his family and his friends,

 6   where value leaks away from FSS.

 7                It's also undisputed that Jones has been actively

 8   encouraging his listeners to stop buying products from FSS.

 9   Instead, he's been asking them to support Dr. Jones'

10   Naturals, his dad's company, to support his family.

11                I'd point Your Honor to Exhibit 15, page 24,

12   quote, Mr. Jones says, "I've told listeners, hey, Infowars

13   is not the big thing to support right now.         They're great

14   products, you need them.      I'm saying go to

15   DrJonesNaturals.com.     That's a separate company, a separate

16   operation.     That's what you should be supporting," end

17   quote.

18                Exhibit 16, page 18, quote -- this is again, a

19   broadcast to his audience, an audience of FSS listeners on

20   an FSS broadcast -- quote, "I'll tell you, Infowars is

21   overrun.     Supporting Infowars stores, it's done.       It's

22   overtaken."

23                I'd encourage Your Honor to read -- I'm sure you

24   already have -- the Subchapter 5 Trustee's report, at Docket

25   Number 948.     There's additional quotations there.       I'd point
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 1   Your Honor to paragraph 17, quote, "There are no assets

 2   other than products that are worthless if I don't promote

 3   them.   Our listeners will never buy those from you if I'm

 4   gone.   No matter how much they love them, and the rest of

 5   the story is I will not sell out or be compromised or stay

 6   on air here as a puppet.      So, there's that.     And I will not

 7   work with the CRO.     They try and keep him on as the

 8   liquidator."

 9                One more, Your Honor.    They go on for a very long

10   time.   Paragraph 25, quote, "The place to go is

11   DrJonesNatural.com.     Ready to ship.     They can shut down

12   Infowars Friday or next week, but DrJonesNaturals.com, still

13   standing."     There's no dispute about what's been said, and

14   there's no serious dispute about what's intended.

15                Lastly, Free Speech System made $4 million of

16   payments during the 90-day preference period.         They made an

17   additional $3 million of payments during the one-year

18   insider preference period.      Mr. Magill said that that was an

19   important consideration, when he consider between dismissal

20   and conversion.     There's also no dispute that there's no

21   account control agreement between Free Speech and PQPR, and

22   that's important as well, and I'll come to that.

23                Your Honor, it is against this backdrop of facts

24   that are not in dispute, that Jones seeks dismissal rather

25   than conversion of a case, in which he has no economic
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 1   interest in.     I told you earlier that I think those facts

 2   are important, but I think the law is just as important.           I

 3   won't repeat myself, but there are no cases that we are

 4   aware of, where any one of those facts I just mentioned --

 5   significant remaining value, significant avoidance claims,

 6   significant allegations of debtor misconduct -- any one of

 7   those three, where a court has ordered dismissal versus

 8   conversion, and where you have all three, we submit that the

 9   answer here is quite clear.       Again, the only case cited by

10   either Jones or the Texas Plaintiffs in their pleadings,

11   that actually led to dismissal, was In Re Peak Serum, and

12   that's because Court was allowing the debtor to refile the

13   case as a subchapter 5, because the case came up in 2020 as

14   the statute was enacted.

15               We've cited many cases in our motion that show

16   where there is value to distribute, where there's debtor mis

17   conduct, and where there are viable avoidance claims that

18   courts routinely favor conversion.        Let me address those

19   factors very briefly -- probably not so briefly, Your Honor.

20               First, equality of distribution.       And I think

21   that's the most important issue today.        I think Mr. Magill

22   has done a pretty terrific job here, under very difficult

23   circumstances.     When Free Speech filed, it filed on fumes.

24   It had less than a $1 million of cash, was burdened by bad

25   contracts that Jones had with his family and friends that
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 1   siphoned money away from the FSS.        Under the leadership of

 2   Mr. Magill, the ship has been somewhat righted.          It now sits

 3   on $6 million of cash.      What Mr. Jones asks you to do today

 4   is to sit at a racetrack with a starter gun, and say, off to

 5   the races.     Texas Plaintiffs, Connecticut Plaintiffs.        Let's

 6   see how you do.     It could be a winner-take-all contest.         The

 7   case law could not be clearer, Your Honor, that where there

 8   is significant value, equality of distribution is paramount.

 9                I would point Your Honor, in particular, to the

10   Fourth Circuit Court of Appeals decision in the Superior

11   Siding case, at 14 F.3d, where the Court of Appeals said

12   that the risk that one creditor would take all, quote, "Is

13   precisely the kind of unequal access to assets which the

14   bankruptcy laws can tend to forestall."

15                In the Fifth Circuit, I'd point Your Honor to the

16   Fleetstar case, at 614 B.R. 767, for the very first factor

17   the Court says that courts should look at when making this

18   decision between conversion and dismissal, is, quote,

19   "Whether equality of distribution would be better served by

20   conversion rather than dismissal."

21                I'd also ask Your Honor to listen to the other

22   side and see what their response is to this.         Why is this

23   the fair outcome?     Why is it in the best interest of the

24   estate to create a system where one creditor would get more

25   than others?
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 1                THE COURT:     How do I know that's the case?

 2                MR. KEMPLER:     That they will get --

 3                THE COURT:     How do I know that Connecticut is not

 4   going to have, you know, in other words, you're saying

 5   Connecticut versus Texas.        How do I know who ends up first?

 6   There's still a 547 action in front of me here.          There's

 7   still multiple appeals that have to work their way through

 8   the Connecticut courts and the Texas courts.          How do I know

 9   that Connecticut is going to be on the other side of it?

10                MR. KEMPLER:     You don't know, Your Honor.    What

11   would happen at a dismissal is, I'm going to go home tonight

12   and I'm going to start trying to figure out what can we do

13   to collect first.     They're going to do the same thing.

14   Nobody knows, sitting here today, who's going to win that

15   race.   I don't know it.       I don't think you can know it.       I

16   think we can take people at their word.        I think if you read

17   the Texas Plaintiffs' opposition, they say that they want to

18   begin enforcing remedies, quote, "Immediately."

19                I think the only answer that I've heard to this

20   concern is from the Texas Plaintiffs who say, well,

21   everybody here is very well represented.         I don't think

22   that's an answer.     I think that's saying it's a race, but

23   it's a fair race, which is true.        But it's still a race.          We

24   reject, the Connecticut families reject, a winner-take-all

25   mentality.     We think the right answer here is to ensure that
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 1   all of the creditors who have waited over a decade for some

 2   measure of accountability, that they be treated equally

 3   according to their claims.

 4               Let me move onto the second reason that conversion

 5   is appropriate, and that's to preserve value and to prevent

 6   debtor misconduct.       Again, I would urge the Court to look at

 7   the Subchapter 5 Trustee's report, which catalogs in fairly

 8   good detail, the recent conduct of Jones.         It says

 9   repeatedly that, quote, "Jones's increasingly toxic …,"

10   excuse me, that Jones's conduct has become, quote,

11   "Increasingly toxic and damaging to the FSS estate."            Again,

12   that's the conclusion of the Trustee, a Trustee that I have

13   not gotten along with in this case on every issue, Your

14   Honor.   Although I've enjoyed working with Ms. Freeman and

15   Ms. Hazelton, we've not always seen eye-to-eye.          I think

16   that they are acting as a true, independent fiduciary here,

17   in giving the Court their best recommendation.

18               I think there's a couple of other things to keep

19   in mind here.    I don't think we should dismiss the

20   possibility that if the case is dismissed and Mr. Jones

21   resumes operational control, that he can cause additional

22   damage to Free Speech.

23               THE COURT:     Let me ask you a question.       If the

24   case is converted, who do you think manages the day-to-day

25   operations of the debtor?
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 1                MR. KEMPLER:     I think it should be a chapter 7

 2   trustee working with --

 3                THE COURT:     Under what section of the Code, would

 4   the chapter 7 trustee have managerial authority to control

 5   the debtors (indiscernible), just day one --

 6                MR. KEMPLER:     Well, again --

 7                THE COURT:     -- when the trustee is appointed, what

 8   section of the code says that the trustee has authority to

 9   manage the day-to-day operation of the debtor?          In other

10   words, we're assuming facts, and I'm just trying to find

11   out, in law, where those facts are grounded.

12                MR. KEMPLER:     I think …

13                THE COURT:     The trustee would have to come in

14   under Section 721 to ask for authority to manage the day-to-

15   day operations of the debtor, but only in furtherance of

16   liquidation.     So, it's not guaranteed that the, that a

17   chapter 7 trustee, if I convert today, would run the estate.

18                MR. KEMPLER:     It's not guaranteed, Your Honor.

19                THE COURT:     In other words, we're assuming that it

20   is, right?

21                MR. KEMPLER:     Well, I'm -- there is evidence in

22   the record today of a winddown budget, that the CRO has

23   testified is feasible.

24                THE COURT:     Right.

25                MR. KEMPLER:     There is a chapter 7 trustee that
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 1   already owns 100 percent of the equity of that business, as

 2   of right now.

 3               THE COURT:     Right.     I'm just talking about

 4   management.     I think you were talking about who's going to

 5   run the day-to-day operations.          I don't think that changes.

 6   In other words, I don't think the CRO ever could really

 7   manage the day-to-day operations either; he had to consult

 8   with Mr. Jones.     That's what I ordered.       And certainly, he

 9   had authority to make decisions in support of reorg, but now

10   I wonder what his authority would be if the case converted,

11   whether he would still even be appointed in a chapter 7

12   case, indicating, after he indicated, he didn't even want to

13   do it.

14               MR. KEMPLER:     I think there are individuals at

15   Free Speech who would be reporting to a chapter 7 trustee.

16   I think the question before you right now, conversion or

17   dismissal -- again, if you dismiss it, I think you have the

18   same open question, and I think the Debtor has filed a

19   motion saying what happens in that situation?

20               THE COURT:     I know.     I do, I do.

21               MR. KEMPLER:     Who do they report to?

22               THE COURT:     No, no, no, I agree, I agree.

23               MR. KEMPLER:     So, I don't know if there's a

24   perfect answer, and I think it's a … it's, you know, it's a

25   hard question, Your Honor.          I think the practical answer is
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 1   to have a chapter 7 trustee working together with Mr.

 2   Magill, if he will stay, or Mr. Schultze; somebody who has a

 3   business sense, and with a kind of scaled-down workforce.            I

 4   think that is the best of several not-great options.

 5               THE COURT:     Thank you.

 6               MR. KEMPLER:     Again, I think the record here, Your

 7   Honor, is pretty clear that Mr. Jones, the person who is

 8   asking to regain control, has been less than a good

 9   fiduciary over the past few weeks.        And we cited a number of

10   cases in our motion.       I just pointed Your Honor to Judge

11   Rodriguez's decision in the Ozcelebi case; the Gaoming Chow

12   case and the Mazzocone case, all of them are cited in our

13   brief, all of those cases involved debtor misconduct.           In

14   fact, the Mazzocone case, which comes out of Eastern

15   District of Pennsylvania, is up on appeal, where there were

16   allegations made that the debtor had been engaged in

17   misconduct that the Bankruptcy Court didn't consider, and

18   the District Court sent it back to have those further

19   determined.

20               The third issue, Your Honor, is about preserving

21   avoidance claims.     And I think that this is broader than

22   maybe at first blush you might thing.        So, there's a couple

23   of things going on here.       The Debtor's schedules show that

24   there were $3.8 million; $1.7 of that went to PQPR, $1.1

25   million of that went to the Texas Plaintiffs two days before
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 1   the case filed, $1 million of it went to American Express,

 2   and an additional couple of million went to PQPR in the year

 3   leading up to it.

 4               If the case is dismissed, those claims go away.

 5   There are no state law preference claims.         We've cited

 6   numerous cases where, again, the presence of avoidance claim

 7   favored conversion not dismissal.        There's no case that's

 8   been cited to you today that states the opposite.          In fact,

 9   the cases cited by the Texas Plaintiffs, if you look at

10   Fleetstar or MAR Design, they both actually say that the

11   presence of avoidance claims under chapter 5 support

12   conversion, not dismissal.      So, you have that, you know, $3

13   to $6 million of potential causes of action.         You heard Mr.

14   Magill say that that was important to him.

15               There's another set of issues that I think Your

16   Honor should be mindful of.       And that's with PQPR.     You

17   heard today on several occasions, I think from both Mr.

18   Macgill and Mr. Schleizer, that there is no deposit account

19   control agreement between Free Speech and PQPR.          So, that

20   means that there is an unperfected lien on the cash, that a

21   trustee through 544 can avoid.

22               Now, if you dismiss the case, yes, the Creditors

23   would still have the right to try to avoid those liens as

24   constructive, fraudulent or actual fraudulent transfers.

25   But this is something different.       If we were unsuccessful on
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 1   those theories, and the Court said no, I think these were

 2   valid liens, then the fact that they are unperfected does

 3   not help us as a matter of state law.        It is the power of

 4   544, the strong arm powers of the trustee, that would allow

 5   us to avoid those liens as unperfected.        And that argument

 6   goes away if the case is dismissed.        That is a potentially

 7   very significant argument.      Because upon a dismissal, PQPR

 8   is still going to assert that it is owed $60 million as a

 9   secured creditor, and they're going to do everything they

10   can to prevent Free Speech from paying out the Plaintiffs.

11                Let me ask another question about what would

12   happen in dismissal.     Now, sure, Mr. Schleizer has his thumb

13   on the bank accounts.      Mr. Schultze has his thumb on the

14   checkbook.     But who gets to write contracts?      Who gets to

15   sign contracts?     What stops tomorrow, Saturday, what stops

16   Mr. Jones, if you order a dismissal today, from signing that

17   account control agreement with PQPR?        What would stop it?

18   Essentially, elevating these claims into a valid lien,

19   putting the Sandy Hook families even further out of reach.

20   There's a lot of talk about making sure that wires out of

21   accounts are under control.       But again, if you go back to

22   the original Subchapter 5 Trustee's report in this case, the

23   modus operandi, when Mr. Jones was in control of this

24   business, was entering into deals that were bad for the

25   company; entering into contracts with friends that let value
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 1   leave the estate.     Nothing would stop that, Your Honor.

 2                Okay, so that's why we think conversion is

 3   appropriate.     What do the two opposing parties say?       Mr.

 4   Jones argues that dismissal is in the best interest of the

 5   estate, because only he can sell off the remaining

 6   inventory.     That's wrong.   And as a threshold matter, I

 7   think Mr. Jones has very little credibility here to be

 8   arguing what's in the best interest of creditors.          Given the

 9   statements that he's said on FSS broadcasts, I think that

10   that should be taken with a pretty big grain of salt.           But

11   even if we take his concerns at face value, it's simply not

12   true, it doesn't hold together.       There's about $1.5 million

13   of inventory.     Mr. Magill has testified that it could be

14   sold off in an orderly fashion, netting $650,000 for the

15   estate.   There is no evidence in the record that suggests

16   that it would do better with Mr. Jones.        And in fact, Mr.

17   Magill testified that if you keep Mr. Jones in control,

18   expenses will go significantly up.        So, even if you can net

19   the higher margin on product sales, Mr. Magill testified

20   that you'll do no better on a net basis.

21                The value of this remaining inventory, whether

22   it's $600,000 or $1.5 million, it's one-tenth of the value

23   of the cash that sits there in an account today.          It's one-

24   tenth of the amount of the preference price.         To suggest

25   that we should favor dismissal to preserve that remaining
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 1   inventory value, while ignoring the risk to those other,

 2   much larger assets, we suggest makes no sense.          It also

 3   assumes that Mr. Jones will just work for a winddown.             But

 4   they have not called him today to say that directly.

 5               You heard Mr. Schleizer speculate about what he

 6   may or may not have heard, but I point Your Honor just to

 7   what Jones says in his own pleadings.        He will not work for

 8   a chapter 7 trustee.     There already is a chapter 7 trustee.

 9   So, I think what's really being asked is that that chapter 7

10   trustee, who's already been appointed about an hour ago, is

11   not going to have any control over FSS, even though it will

12   be the 100 percent owner.      And if it does exercise control,

13   we can expect Mr. Jones to walk out the door.

14               Now, the Texas Plaintiffs also oppose conversion,

15   Your Honor.    They make similar arguments that they would

16   only get scraps in a chapter 7, but somehow get much more

17   outside of a chapter 7.      That argument doesn't hold together

18   for the same reason it doesn't hold together for Mr. Jones.

19   But I think it's important to note that you cannot reconcile

20   the statement from the Texas Plaintiffs that they want to

21   begin immediately enforcing remedies against FSS with their

22   desire that FSS continue to operate -- I'm not sure what

23   they're proposing, maybe indefinitely.        What they're saying

24   is, FSS, every time you earn a dollar, I'm going to try to

25   take it from you, I'm going to immediately exercise
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 1   remedies.     But somehow, the business is going to continue

 2   operating.

 3                Those two things do not square if they're going to

 4   be enforcing -- I think the Texas Plaintiffs have $50

 5   million of judgments.      And if we're going to be enforcing $1

 6   billion of judgments, it's going to be very difficult for

 7   FSS to continue operating.      So, the only way they would do

 8   better in a dismissal versus a conversion, is if they can

 9   get a higher share of the $6.6 million that's already been

10   wrangled by Mr. Magill.      And again, what else could they

11   mean when they say that they want to exercise remedies

12   immediately?

13                Now, Your Honor, what's really going on here, is a

14   concern about the preference claim.        Texas Plaintiffs

15   received $1 million from Free Speech system two days before

16   Free Speech filed.     I'd point you to their opposition in

17   paragraph 14, because I think they're being quite candid

18   here.     They say, quote, "Dismissal especially enhances the

19   Texas Plaintiffs' rights," end quote.        And they say that

20   because it would immunize them from preference claims.

21                In substance, what they are asking you to do, is

22   to give them special treatment to protect them from those

23   claims.     And I don't begrudge them for doing that, Your

24   Honor.     I don't relish the opportunity to be up here having

25   a fight between the Texas and the Connecticut Plaintiffs.           I
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 1   understand that they are motivated to keep the $1 million

 2   that they already received.        But Section 1112(b) requires

 3   the very opposite analysis.        It doesn't ask what is better

 4   for some creditors; it asks, what is better for all

 5   creditors?     What is better for the estate?        Case law could

 6   not be clearer that where there are preference claims, you

 7   don't yield to the desire of a few who got a preference; you

 8   yield to the desire of those who did not get a preference.

 9   I am confident that if the Texas Plaintiffs stood in my

10   client's shoes, having never received a single penny from

11   Free Speech or from Jones, they would not be supporting

12   dismissal.

13                Your Honor, conversion, we think, is by far the

14   superior, safer, value maximizing path.           The two parties

15   opposing it have their own agendas.           Conversion is supported

16   by the Debtor, by the Subchapter 5 Trustee, by 95 percent of

17   the creditors, by PQPR.        I know they're eager in their

18   pleadings to say what the Court said on May 21st, and I'm

19   not oblivious to what the Court said.           You've said --

20                THE COURT:     What did I say?

21                MR. KEMPLER:     You said -- it's he very first line

22   of the Texas Plaintiffs' opposition.           You said that you're

23   not converting the FSS case on June 14th; it was

24   confirmation or dismissal.

25                Your Honor, I don't think that you had made a
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 1   decision --

 2               THE COURT:     No, I had not.

 3               MR. KEMPLER:     -- made a sentence on.     I think you

 4   said, "People can convince me otherwise."         I hope I've done

 5   that.   And I also hope that events that have happened since

 6   May 21st -- Jones's conduct, the support of the Creditors,

 7   the Debtor and the Trustee, will change how the Court looks

 8   at that.

 9               Your Honor, in closing, the Connecticut Plaintiffs

10   never received a penny; have been stayed for two years from

11   collecting.    Mr. Magill has said that in four weeks' time,

12   there can be $6.6 million in an account.         The prospect that

13   Free Speech Systems will be returned to the control of Alex

14   Jones, in light of his recent statements and conduct, simply

15   so that the Sandy Hook families can fight one another in

16   state court and see who has the best ability to et to that

17   $6 million, is the worst possible outcome in these cases.

18               We urge the Court to please convert the FSS case.

19               THE COURT:     Thank you.

20               MR. KEMPLER:     Thank you.

21               MS. CATMULL:     Thank you, Your Honor.     Just a

22   couple of points.     Today we heard and -- oh, I have a note

23   to myself to remember to say this - thank you so much to the

24   Court and to all the professionals for giving us this time

25   and for making it go as smoothly as it did.
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 1               We heard today, through Mr. Schleizer, that this

 2   is the first time he's heard about the DACA, deposit account

 3   control agreement issue.      He remembers the manager of FSS.

 4   So, in my mind that's significant.        Why?   For the reasons

 5   Mr. Kempler said; there is 544 avoidance for unperfected

 6   claims in bankruptcy, and not outside bankruptcy.          I only

 7   got here in March of 2024.      I don't know why that hasn't

 8   come up sooner, but it didn't, and it's a big issue, because

 9   they're asserting a lien against all the cash.

10               Secondly, I -- I'm always surprised by stuff I

11   shouldn't be surprised by -- but one thing that surprised me

12   in the presentation by folks wanting dismissal -- I was glad

13   to hear it -- was, I think, was they're, they're doing a

14   liquidating budget too.      It's just like a competition of the

15   budgets.    Well, the only person who's going to make that

16   call, if folks supported conversion have their way, is a

17   trustee. I mean it's just math.       But it does, but it does

18   make me think, well, why dual, by bifurcate the proceedings?

19   If Mr. Jones's case is in a 7, why would we bifurcate a

20   liquidation into state court?       Just in my mind, it would be

21   much more efficient to do it all in the same court.

22               And then my last comment is, I beg the Court, I

23   beg the Court, to give the chief restructuring officer

24   direction about who to hand bank account control to in the

25   case of a dismissal.     I also beg the Court to indicate
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 1   exactly when Mr. -- the CRO's responsibilities end.          And if

 2   they don't end, before they end, the degree to which

 3   employees and securities staff, and IT, can rely on the

 4   word, the instructions of the CRO, as opposed to Mr. Jones,

 5   just to preserve status quo.       I could not emphasize to you

 6   how much I think that's important.        Thank you, Your Honor.

 7                THE COURT:    Thank you.

 8                MR. MOSHENBERG:    Thank you, Judge.    I think we're

 9   confusing here today, the standard isn't what is the worst

10   possible thing to do to do Alex Jones to make him suffer;

11   the standard is, what is in the best interest of the

12   Creditors.     All the evidence points to one answer, it's to

13   let FSS continue as an ongoing concern, so that the

14   Creditors can collect.

15                Now, I have to admit, I'm very surprised about all

16   this race to the courthouse stuff that we've been hearing

17   about today, Judge.       It's the first I've ever heard of it.

18   Let's remember that the Plaintiffs, the Creditors, didn't

19   start this bankruptcy; Free Speech Systems filed it.           There

20   was a supposed race to the courthouse going on, apparently,

21   before the bankruptcy was ever filed.        Although, it was

22   never a race.     The families worked together in tandem to

23   hold Alex Jones responsible.       The Texas Plaintiffs were

24   giving over their discovery and information they learned in

25   litigation, and trying to help Connecticut succeed.          It was
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 1   a point of pride for the Texas Plaintiffs and their counsel

 2   when Connecticut got that gigantic judgment in Connecticut,

 3   Your Honor.     I'm very proud of that fact.

 4                In fact, when it comes to collections, together we

 5   worked to bring the TUFTA case against Alex Jones and Free

 6   Speech Systems and PQPR.      We're both intervenors in that

 7   case.     In fact, I gave them a Word copy of our petition and

 8   they copied and pasted it, when Connecticut intervened in

 9   that litigation.     Everything we've done has been together.

10   And this talk about race to the courthouse, it's surprising

11   to me, because absolutely, we're going to collect and try to

12   do collection efforts.      But we invite Connecticut to be part

13   of that process.

14                The real race here is a race against time, because

15   the reality is a chapter 7 is a long process.         We know it's

16   going to take years, Judge.       We're in the intermediate

17   levels of appeals in the cases that have been liquidated.

18   There's a good chance they're going to go up to the Texas

19   Supreme Court, Connecticut Supreme Court, maybe other

20   courts.     And those are just those cases.      We still have the

21   Fontaine case, the Posner and De La Rosa case, Your Honor.

22   Those need to be liquidated as well.        And we've got to have

23   litigation against PQPR and all the fraudulent transfer

24   litigations that we've been talking about here today, Your

25   Honor.
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 1                This case is so far from over, and every single

 2   day of delay is a denial of justice.        Because the reality

 3   here, the standard that actually matters, is what can we do

 4   to get free speech systems to pay the most possible on the

 5   judgement it owes to Texas and Connecticut?         Because that's

 6   how our system works.      That's how our justice system works.

 7   We make judgment debtors pay their judgment debts.          And

 8   that's also how bankruptcy works.        The analysis isn't what's

 9   bad for Alex Jones; the analysis is, what maximizes the

10   value of the estate?     What is in the best interest of the

11   Creditors?     And that analysis -- and they glossed over it,

12   Judge, it's primarily a financial question; what's going to

13   get more money into the pockets of the creditors?

14                We're open to working together with Connecticut.

15   I invite them to do so.      I was surprised also to hear them

16   say -- we talked about the Posner and the De La Rosa case,

17   and the Fontaine case, that they owned 95 percent of the

18   debt.   They're just ready to ignore the whole part, but

19   we're going to have to liquidate and do more trials, and use

20   up more estate assets litigating those cases; assets that

21   don't … really not enough to go around.        We're going to have

22   to pay more administrative professionals, trustees, counsel

23   for trustees.

24                Judge, you know that the case costs so far for

25   administrative professionals, it's been astronomical.             And
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 1   every single day, I can't help but think about every single

 2   person that has gotten paid on this case, except for the

 3   ones who are truly wrong: the Connecticut families and the

 4   Texas families.

 5                But I think what's not being said here, Judge, is

 6   the reality is, it's not a race against, it's not a race

 7   against money.     It's not a race against collection.       It is a

 8   fundamental different view of what justice looks like here.

 9   And what we believe is that you can't control Alex Jones.

10   Alex Jones will always be Alex Jones.        What you can do, what

11   the law allows, what the Bankruptcy Code allows, is to make

12   Alex Jones and Free Speech Systems pay on the judgments that

13   were rendered by juries.      That's what we're able to do, and

14   if he starts a new co, Judge, then we can collect against

15   Alex Jones in the chapter 7 bankruptcy.        I think he will

16   continue to operate FSS.      The history has shown that.       And

17   we're going to collect, hopefully in tandem with

18   Connecticut, in a sustainable way, in a way that maximizes

19   the value.     And I need to stress that, Judge, because if the

20   true argument here, because Connecticut, I think they've

21   changed their argument over time.        If the true argument were

22   economics here, or maximizing in an organized, pro rata way,

23   the value of the estate, Judge, it would be here, confirming

24   plans in the Jones bankruptcy.       It would be here confirming

25   plans in the FSS bankruptcy.
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 1               The reality is, not all the creditors were

 2   motivated by that economic reality.        I think there's a lot

 3   of people who wanted to shut down Alex Jones and try to do

 4   everything they can.     For what it's worth, the Texas side is

 5   ready and prepared to broker a deal that was going to give

 6   all the families a fair amount of money, and was also going

 7   to secure Alex Jones's silence on ever talking about Sandy

 8   Hook.   That was what we were accomplishing in this

 9   bankruptcy.    But it wasn't the goal of all the creditors

10   that non-, there were non-economics involved, and we didn't

11   get a plan done.     And that's not a criticism.      Chapter 11

12   says creditors don't have to do a deal; they have a plan

13   with the Debtor.

14               But we're no longer in plan discission.        Right now

15   we're in whether to dismiss or convert.        And if non-economic

16   reasons are driving why you don't want to do a deal with

17   Alex Jones, I get it.      But the analysis now, about whether

18   to dismiss or convert, is entirely economic.         What matters

19   is, are you going to get more money for these creditors

20   selling FSS for scraps?      Or are you going to get more

21   collecting from an ongoing business, Judge.         Mr. Magill will

22   give us the answer to that question.        You heard it yourself,

23   Your Honor.

24               In fact, they talked a lot about their case law,

25   Connecticut.    And one case, for instance, is the Texas case,
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 1   the one in Texas, so I looked at it more closely, it's the

 2   Ozcelebi case -- I can't pronounce it, but it's 639 B.R.

 3   365.     I want to be clear, Judge Rodriguez started the

 4   analysis about whether to dismiss or convert with this

 5   statement:     "On Debtor's own admission, dismissal of this

 6   case is unlikely to result in recovery or Debtor's unsecured

 7   creditors."     That was the issue.     There's been a lot of spin

 8   about what drives these cases, but really, the question is,

 9   what is going to get the Creditors paid?         And I think that

10   is an important question to answer when it's a judgment

11   creditor, and when you have a judgment debtor, or a jury has

12   said you violated the law, and you need to pay for it.

13                And going back to the point, Judge, about how

14   there was a race until Free Speech Systems filed for

15   bankruptcy, I don't think it should be lost on anyone what

16   kind of bankruptcy they filed.        Free Speech Systems sought

17   bankruptcy's protection to continue as an ongoing business

18   and restructure in a way that lets it pay millions of

19   dollars to the families and continue to operate.          It didn't'

20   sign up to get shut down and sold for parts, to fire all its

21   workers, to sell, be sold for scraps, against what its owner

22   wants.     I'm not even sure the authority of Mr. Magill to

23   even say FSS wants to convert, I don't know how that's

24   possible.

25                And I also looked at subchapter 5 again last
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 1   night, Judge.     I'm not sure how the Trustee has any sort of

 2   authority under the Code, to weigh in on whether a case

 3   should be dismissed.        There's nothing in there about that.

 4   I saw a lot of language about procuring consensual plans.

 5                THE COURT:     They can be heard on any matter before

 6   the Court.     I think the Trustee can be heard.

 7                MR. MOSHENBERG:     All right, Judge, that's fair.       I

 8   don't think it deserves a lot of weight, is my point.           And

 9   I'm not saying they're legally barred, but I don't think

10   that part of their opinion really matters much, because

11   really, their job is to procure a consensual plan.          And that

12   didn't happen here, and it didn't happen not because of

13   Texas, Judge.     We were very motivated to try to get a deal

14   done, and to get Jones and FSS to pay a fair amount.

15                And the reality is, we're going to continue in a

16   post-dismissal world, to try to collect against Jones in a

17   way that we can hopefully buy off his silence; to use our

18   leverage to collect on him, to get him to stop talking about

19   Sandy Hook, Judge.        That is absolutely a goal of mine, it's

20   been a goal throughout this bankruptcy.        Everyone in this

21   room knows that.     That is one on my list.      I want to get

22   Jones and FSS to pay a fair sum, and to get him to agree to

23   never talk about Sandy Hook again, the reason why we're

24   here.     And the reality is chapter 7 doesn't award us that

25   relief.     We tried to accomplish it through chapter 11; it
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 1   didn't happen.     And that's what I'm going to use my

 2   abilities under Texas state law to do.

 3               Now, going back to the preference, again, shocks

 4   to hear … shocked to hear about the race to the courthouse

 5   talk from Connecticut.      Apparently, they viewed it as a

 6   race, and apparently, they also think the right thing to do

 7   is to sue the Texas families for preference payments.

 8               Now, they haven't really told you about any of

 9   these preference payments and how they've been vetted or any

10   of the due diligence required by the Bankruptcy Code to tell

11   you that those are actual preference claims.         They just

12   threw it out there to help bolster their conversion

13   argument.    There's been no due diligence on it.        I'll just

14   tell you right now, as we said in our brief, you know,

15   that's not a preference claim.       In fact, FSS paid that money

16   as a monetary sanction because the judge was not going to

17   let Alex Jones testify at trial on behalf of himself or Free

18   Speech Systems.     That was a requirement in order for him to

19   actually get to try the case.       That was their key man as

20   part of their key defense, to let him come into trial.           The

21   judge was not going to let him until he paid that sanction.

22   That's (indiscernible) value, that's not a preference.

23               In all this talk about what are the safeguards,

24   well we have safeguards, first of all, in terms of Bob

25   Schleizer, Jeffrey Schultze.       But more important, we have
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 1   the law, we have the Bankruptcy Code.        We have Texas state

 2   law, Connecticut law, everything that prohibits fraudulent

 3   transfers.     There's no reason all of a sudden, just because

 4   we're out of bankruptcy, that Alex Jones or Free Speech

 5   Systems, can begin to fraudulently transfer assets.          In

 6   fact, we will do everything we can to make sure he doesn't.

 7   We have a TUFTA case pending against him.         We're happy to do

 8   it in front of you, or in Texas, Your Honor, in Austin State

 9   Court.   The reality is, we're not going to let fraudulent

10   transfers happen on our watch.       We are committed to that.

11                We're here because we have juries and courts

12   render judgments against Alex Jones and Free Speech Systems.

13   Those judgments are just pieces of paper, unless we get them

14   to pay, and a bankruptcy that's going to be a brand-new

15   bankruptcy under chapter 7, that will take years to come to

16   fruition, or meaningless scraps after administrative

17   professional fees, trustee fees and everything else, I think

18   we are deluding what those judgments stand for, Judge.

19   That's precisely why, after two years of waiting, hoping to

20   get Alex Jones to meaningfully pay in this bankruptcy

21   process and seeing it's not going to happen, we're asking

22   for the ability to go put our destiny in our own hands, work

23   with Connecticut and pursue some sort of collections in a

24   dismissal, Judge, and that's precisely why we agree with the

25   Court on that.     Thank you.
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 1               THE COURT:     Thank you.

 2               MR. LEMMON:     Your Honor, may I speak, briefly?

 3               THE COURT:     Please.

 4               MR. LEMMON:     PQPR's position remains the same and

 5   that is that we're in favor of conversion unless the order

 6   provides the Court would retain jurisdiction.         I'm happy to

 7   speak to this deposit account issue, but I think that that's

 8   a fight for another day.       I would suggest that that is not a

 9   reason to convert rather than to dismiss.         But I'm happy to

10   talk about that.     But it's 4;07 on a Friday afternoon and

11   I'll get into it if the Court wants to, but --

12               THE COURT:     Is it -- is it fair to say that your

13   client still asserts a lien on cash?

14               MR. LEMMON:     So, Your Honor, my clients have a

15   security interest in everything, but includes all proceeds,

16   right?

17               THE COURT:     Yeah.

18               MR. LEMMON:     And we've had a multitude of cash

19   collateral orders and hearings, each one of which granted us

20   a replacement lien.       The Debtor moved -- I believe -- I was

21   just looking for this and I couldn't find it.         I believe the

22   Debtor moved bank accounts during this case when it got cut

23   off by one of its banks.       I'm not sure.   But for the idea

24   that after all these cash collateral hearings now to come in

25   and say, "Ha ha.     (indiscernible), last week we said we were
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 1   going to shut down if you didn't grant us interim use of

 2   cash collateral" and now saying, "You don't have an interest

 3   in the cash" is --

 4               THE COURT:    Another (indiscernible) for another

 5   day.

 6               MR. LEMMON:    Yes, Your Honor.

 7               THE COURT:    I got it.     Thank you.

 8               MS. DRIVER:    If I may, Your Honor.     I want to

 9   start by just pointing out a piece of the case that Mr.

10   Kempler cited to that I don't think was highlighted to you,

11   but I'd like to highlight it for you.         It's In Re:

12   Fleetstar, is the case.      And I can give you the cite of 614

13   B.R. 767 and I'm going to just read a quick quote.          "The

14   phrase 'best interests of the creditors in the estate' is

15   not defined expressly in the Bankruptcy Code.         Although

16   courts generally accommodate parties' choice when they all

17   agree on one course of action over the other, the test for

18   what is in the best interests of the creditors in the estate

19   is not one of majority rule."         And this is quoting cases

20   that say that observing the best interests of the creditors

21   test is not served by merely tallying the votes of creditors

22   and yielding to the majority interest.         Therefore, when

23   parties disagree on conversion or dismissal, as they do

24   here, the court evaluates the alternatives and chooses the

25   alternatives that would be most advantageous to the estate
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 1   as a whole.    And I want to point out one part of the estate

 2   that just not a lot of people are focused on today because,

 3   as a debtors' lawyer, when I represent a company, the thing

 4   that's the most important to me is the employees.          There are

 5   44 people at FSS employees in Travis County and Mr. Magill

 6   testified that he hasn't alerted one of those people of what

 7   could happen to their jobs today, and that's just alarming

 8   to me, Your Honor.     Those people deserve -- those people may

 9   be living paycheck-to-paycheck, and they have no idea what's

10   happening to their jobs today.

11               For -- I want to also note that the evidence that

12   you've heard today can really be categorized into two

13   categories and I think those categories are really

14   important, they're economic considerations, and then there

15   are non-economic considerations.       There's been a lot of talk

16   related to alleged statements by Mr. Jones that were -- they

17   want to call that "bad actions of the Debtor".          The problem,

18   Your Honor, is, Mr. Jones is a debtor in his own case and

19   had that converted this morning.       I don't understand how

20   that, somehow, is imparted on FSS.        But even if it is, Your

21   Honor, conversion or dismissal, Mr. Jones still has his

22   First Amendment free speech and can still say whatever he

23   wants, and he will have repercussions for those things that

24   are actionable by law.      But it doesn't stop Mr. Jones from

25   saying what he wants, when he wants on his broadcasts.           So,
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 1   the type of statements that were transcribed, and Your Honor

 2   probably read over his lunch break, aren't -- there's no --

 3   conversion doesn't stop those.       So, if their reasoning is,

 4   "We don't want him to say those things on the air", Your

 5   Honor, that is not a remedy that is available to them.

 6               Your Honor, when Connecticut talks about their $6

 7   million or $7 million to be had through this estate, it's

 8   just really hard for me to understand how they rejected a

 9   $55 million minimum plan in the Jones case.         And I think

10   dovetailing with what Mr. Moshenberg said, there are some

11   creditors here that you can see want an economic recovery

12   and there are some creditors here that you see simply want

13   destruction.

14               Your Honor, this conversion, I'm still very

15   confused as to what the timeline is.        It seemed, at some

16   point, that Mr. Magill was saying the conversion should be

17   delayed for 30 days.     It seemed that they wanted to do this

18   wind down within Subchapter 5, but then he said he wasn't

19   going to stay.     It's just very, very murky to me.        I don't

20   think the plan that was articulated to this Court today and

21   was admitted into evidence gives us any comfort that there'd

22   be a superior recovery in a Chapter 7.        I think the

23   undisputed economic evidence is that, when Mr. Jones was

24   broadcasting during the first week of June, they had record

25   sales of nearly $1.1 million.
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 1                I don't think there's any amount of control over

 2   Mr. Jones that would ever satisfy the Connecticut

 3   plaintiffs.     I think that was clear in the order they wanted

 4   in his conversion, and I think it's clear by the arguments

 5   and the evidence that they have elicited here today, which

 6   frankly, I think the evidence, if looked at from an economic

 7   perspective, is clearly in favor of a dismissal.

 8                If you'll give me one moment, Your Honor, I just

 9   want to confer with my co-counsel to make sure I didn't miss

10   anything.     Your Honor, with that, Mr. Jones would request

11   the dismissal of the FSS case, and would request that the

12   Court deny the Connecticut plaintiffs' motion to convert

13   this case.     Thank you.

14                THE COURT:     Thank you.   Just one moment.   Oh,

15   yeah, of course, Ms. Freeman.

16                MS. FREEMAN:     Just very, very briefly, Judge.     The

17   Trustee does not want to belabor any of the points that have

18   been made by the other parties, nor repeat the statements

19   that were made in the investigation report or the report and

20   recommendation that was filed with the Court yesterday.           I

21   think it bears saying that this case has been incredibly

22   challenging.     And it is deeply disappointing that consensus

23   was not able to be found in the case, and the fact that

24   there wasn't a resolution is, in no way, a comment -- a

25   negative comment on the efforts of those opposing the
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 1   conversion of the case.      People worked very, very hard and

 2   negotiated in good faith, and unfortunately, we just did not

 3   get there.

 4                But I think the fact that FSS will be winding

 5   down, no matter what, as Mr. Schleizer testified and as Mr.

 6   Jones has indicated, they do believe that a winddown of FSS

 7   is inevitable.     The Trustee agrees that the best economic

 8   recovery, at least with regards to inventory, would be to

 9   liquidate as an operating entity, on a reduced staff basis

10   and whatnot.     I don't think that there's any true challenge

11   to that fact.

12                It is a bit surprising to myself after hearing the

13   Court's comments at the prior hearing, where you indicated

14   that you were either going to confirm a consensual plan or

15   dismiss the case, that the Trustee came around and I came

16   around to the conclusion that a conversion is in the best

17   interest of the estate.      It is not something that was

18   reached without a great deal of trepidation and

19   understanding the potential negative consequences of a

20   conversion, the consequence of a dismissal, and I think that

21   the Court would have sound basis to either dismiss or to

22   convert.     The Trustee is here to answer any questions that

23   you may have.     And whichever route the Court chooses to go,

24   there are some considerations that should be discussed with

25   regards to the content of an order of dismissal or an order
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 1   of conversion.     So, if we reach that point, the Trustee

 2   would like to address those concerns at that time.

 3               THE COURT:     Thank you.     So, let me just, kind of,

 4   first of all, thank each of the parties.          I've heard enough,

 5   Mr. Kempler.

 6               MR. KEMPLER:     Of course.

 7               THE COURT:     I know what I'm going to do.     I want

 8   to thank all the parties.       You've given me plenty to think

 9   about -- the evidence presented to the Court -- let me just

10   start off by noting a couple of things here.          This case

11   started as a Subchapter 5 case in July of 2022.          I don't

12   know if it's in the record, but man, it's got to be one of

13   the longest Subchapter 5 cases that is going on in the

14   United States right now, if not the longest.          I don't

15   pretend to know dates, but Subchapter 5 is different than

16   Chapter 11.     Congress passed it for a very different reason.

17   It is supposed to be a more expedient and more deliberate

18   Chapter 11 case.     Congress imposed certain requirements

19   within 46 days, the court is to have a status conference.             I

20   should say that, within 46 days, the trustee -- the debtor

21   has to file a report in connection with the status

22   conference.     On Day 60 you have a status conference, Day 90

23   the debtor is required to file a plan, right?          Day 46 you

24   file, kind of, a, how are things going?          Day 60, we talk

25   about it.     Day 90 there's a plan on file.       You can proceed
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 1   consensually, or you can concede non-consensually.          But non-

 2   consensually, you just have to prove that you can -- show

 3   you're dedicating income for a dedicated period of time, for

 4   3-5 years.     It's meant to come in and get in and get out

 5   very quickly.

 6                A prototypical Subchapter 5 case is -- I'll use an

 7   example from my days in Queens.       There was a pizza shop by

 8   me, Angelo's, and if people were going to come, you needed

 9   Angelo to make the pizza, if not, people didn't want to go

10   to Angelo's.     It was just around the corner block.       And so,

11   Subchapter 5 contemplates that you can pay your creditors,

12   but Angelo gets to keep the business.        That's the whole

13   purpose of it.     It's incentivizing the debtor to continue to

14   maximize her or his efforts towards the business and it

15   would generate income, disposable income, to pay creditors.

16   That's the way it works and only the debtor can file a

17   Subchapter 5 plan.     No-one else can file it different than

18   in Chapter 11.     It is a -- some people call it a "mini-11",

19   I call it a different kind of Chapter 11.         I think it has

20   its own systems, if you will.

21                This case was, obviously, filed as a Subchapter 5

22   case, but it came under different circumstances.          There was

23   multiple litigation going on in state courts.         We lifted the

24   stay early on to allow state courts to proceed to judgment,

25   one in Texas, one in Connecticut, both to liquidations to
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 1   allow jury trials to reach their conclusions.         And after

 2   that, we then had to put on pause the adjudication as to

 3   whether those judgments would be non-dischargeable in a

 4   Subchapter 5 case because that matter was currently on

 5   appeal before the United States Fifth Circuit.          We had

 6   actually gotten to a point where those matters were argued

 7   in front of the Fifth Circuit and the Fifth Circuit has

 8   ruled -- been here for a while.       I counted, Mr. Lemmon, 17

 9   interim cash collateral orders and I think folks just

10   stopped calling it.     They didn't want to get to 20, so they

11   just started calling it "extended budgets", but there was a

12   CRO, then there wasn't a CRO, and then Mr. Magill came in as

13   CRO again, a new CRO.

14               Mr. Magill, I thought -- I thought you did a

15   fantastic job from a business -- I don't want to -- from

16   what I know, and again, bankruptcy judges just, kind of, see

17   what's filed in front of them, in a sense.         I thought you

18   did a fantastic job as CRO.       Sounds like the relationship

19   broke down towards the end, but in terms of getting things

20   on file, giving me comfort that there was a budget, things

21   that are preceding, I'm talking about bread-and-butter

22   bankruptcy stuff, I very much appreciate your efforts.            I

23   very much appreciate Mr. Battaglia who is not here, a number

24   of bankruptcy professionals here.        The families have been

25   incredibly involved since Day 1 in this case.         They wanted -
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 1   - it's very rare that the automatic stay gets lifted early

 2   on in a case and that happened almost instantaneously with

 3   support of Mr. Jones towards that.        Those matters are being

 4   appealed, and so I don't -- it wouldn't be right for me to

 5   comment on those.     I'll just note that those matters remain

 6   pending, and courts will do with them as they will.          We did

 7   approve attorneys to allow and allow the parties to continue

 8   those matters on appeal.      They are where they are.      I, quite

 9   frankly, have no idea what's going on in those cases.           But I

10   do know, no-one has told me that those things don't remain

11   on appeal.

12                There've been numerous reports -- I think I

13   expanded the roles of the Subchapter 5 Trustee in September

14   of, like, 2022.     Maybe earlier reports were issued in 2023

15   and there are a number of reports that have been issued from

16   that.   I thank the Subchapter 5 Trustee for her work.          I

17   actually called this hearing.       I'm the one that said, we're

18   going to, kind of, show up because I think the United States

19   Trustee was right and they were right a long time ago

20   saying, "Judge, this case has been going on for quite some

21   time and don't forget, this is Subchapter 5.         We've got to

22   reach a resolution.     This is not what Congress may have

23   intended."     I think the case went longer because the parties

24   were in mediation, and I didn't want to put my thumb on the

25   scale one way or the other.       There were -- you had the Jones
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 1   case going on, you had this case going on and parties were

 2   mediating, and I didn't want to put my thumb on the scale

 3   one way or the other or be perceived to have put my thumb on

 4   the scale.     And so, I gave full authority to the mediator to

 5   go out there and try to see if a global resolution could be

 6   reached.     Parties were interested in it, I think Judge

 7   Isgur, through all the time that he put in, mediation is

 8   non-binding.     Parties sometimes reach resolutions, sometimes

 9   they don't.     And I think that's what took a long time when

10   you, kind of, factor in waiting on what the Fifth Circuit

11   was -- on the ruling on that, waiting on -- see if mediation

12   could be reached.

13                But it came to a point where I think decisions

14   needed to be made.     We were going to have to figure out who

15   had the liens on the cash at some point, advance the PQPR

16   litigation to a point so there was resolution.          And the case

17   has been pending now for close to two years.         So,

18   (indiscernible) pointed to a lot of different things.           I'll

19   tell you what hasn't happened in two years, no-one has filed

20   -- there have been numerous reports filed by the Subchapter

21   5 Trustee, not one 547 action, not one 548 action, and we're

22   just at about the two year limit to do it, a month away.           No

23   actions have been filed in two years.        The statute of

24   limitations -- the limitations period put forth in Section

25   546 likely runs if I don't call a hearing.         And I didn't
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 1   even realize that I was doing this within two years.           I

 2   picked today as a day that I knew I would be here.          I called

 3   this case today to determine whether a case should convert

 4   or be dismissed or confirm the plan.        There was still a plan

 5   on file at the time.     I'm not sure I'd do it two days before

 6   Father's Day, but I wasn't thinking.        But here we are.

 7               So, let's turn to the law and see where we are.

 8   Section 1112 provides for the dismissal or conversion of a

 9   Chapter 11 case for cause if it's in the best interest of

10   creditors and the estate.      The Court also has sua sponte

11   authority to dismiss or convert.       1112(B)(4) lists the

12   grounds for constituting cause.       The list is non-exclusive.

13   Brackets says "includes".      Inquiry is case specific,

14   focusing on the circumstances of each debtor.         But even if I

15   find that cause exists to convert or to dismiss the case,

16   the Court must decide whether one of them is in the best

17   interest of creditors and the estate.        That's just text,

18   right?   There's no bright line rule to determine whether

19   conversion or dismissal is in the best interest of the

20   estate, right?     Let's just look at the Code.      I read, with

21   the Fifth Circuit and In Re: Koerner, K-O-E-R-N-E-R, 800

22   F.2d 1358 (5th Circuit 1986) case.        That decision is left to

23   the wide discretion of the Court.        There are a number of

24   cases that try to come up with factors.        I like cause.       I

25   would note that the case is to try to determine what cause
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 1   is or really just trying to get to the right answer.           Judges

 2   dealing with difficult cases as to where they are and

 3   there's no easy or right answer here.

 4               I know that the Connecticut and Texas plaintiffs

 5   have been working together for years together and it seems

 6   like, at least on this point, they're not -- they're the two

 7   main creditor bodies in this case, and what's in the best

 8   interest.    Been lots of talk about whether Mr. Jones would,

 9   kind of, regain control of the business, but the reality is,

10   he never really lost it.      The CRO was able to make decisions

11   as it related to the restructuring, but to my knowledge, he

12   never controlled the content that was on the show or what

13   was said on it.     I understand I have people bringing up

14   December 14th in a way and people who have had to live

15   through that.     I don't have the words, I don't have -- you

16   know, I grew up in New York, I've been to Danbury Mall,

17   which isn't too far, near Newtown.        So, I don't have the

18   words, I don't.     The analysis I must do is what Congress

19   tells me in terms of what's in the best interest of the

20   estate and creditors.      And I have one group of creditors

21   telling me, convert.     I have another group of creditors

22   telling me, dismiss.     But the reality is, this case would

23   just continue to go on.      There have been lots of talks of

24   causes of action, but no-one brought one.         There are pending

25   matters before me.     Those issues I'll decide.      I've got to
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 1   figure out -- there's a lot of talk about access to cash,

 2   but I don't know who owns the cash.        I don't know if PQPR

 3   has the right to all the cash and maybe this issue is all

 4   moot.     Maybe PQPR liens get undone, and it unlocks cash, but

 5   I can still decide that issue.       But I don't know who has a

 6   right to the distributable value here.

 7                The decision as to whether to -- I'm allowing to

 8   allow Free Speech or Infowars to continue or be liquidated,

 9   is not the decision that I'm being asked to do today.           I

10   think that's a false -- that's a false reality.          It's not

11   really what I'm being asked to do.        The question is, I don't

12   know, I don't have a copy of Mr. Jones' employment agreement

13   with Free Speech.     I don't know what he has the right to do,

14   doesn't have the right to do, what he has a right to say,

15   whether he can put something on a website or tell someone

16   else to go to another website.       I don't know any of it.        I

17   don't know if people can sell the inventory, not sell the

18   inventory.     I don't know if he's the one that people tell

19   me, I don't know if people are going to work, not work.             I

20   don't know.     That's not what I -- I don't know what a -- I

21   don't know what a Chapter 7 trustee would or wouldn't do

22   either.     But I know the Code says they don't manage the

23   operations.

24                I do know that there is an interim trustee in the

25   Alex Jones case, and I can say this now because I just
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 1   looked at the docket.      I know that he knows what authority

 2   he has as an interim trustee, and he knows he's going to

 3   have to follow the Code with respect to that in an election

 4   and we'll see where things go.        But -- so, what is in the

 5   best interest of creditors and the estate?         There are no

 6   lawsuits here, there are no 547 exits.        Potential actions,

 7   plenty of reports, no-one filed any.        So, I don't know.        I

 8   don't know what that means.       I know the CRO, Mr. Magill, who

 9   I note has done a fine job, tell him he hasn't done it.

10   He's got to understand and say, "I haven't done the

11   analysis."     We're only about 30 days away from where that

12   clock runs.     Do I have to put that on a Chapter 7 trustee to

13   go figure it out, and honestly say, as the Code says under

14   penalty of perjury, to determine whether you have claims or

15   causes of action?     I don't know.

16                I do know, the current interim trustee will have -

17   - trustees don't own assets either, they're entrusted with

18   assets under property of the estate.        So, I think -- I know

19   that this current interim trustee will have the authority to

20   control whatever interest in property the debtor has in the

21   Alex Jones case, which may or may not include the interest

22   in FSS and the trustee will do what the trustee does.           It

23   has a job to do and I'm sure the first thing they'll be

24   doing is getting up to speed and getting smart on issues

25   because he is an estate fiduciary.        He's going to have to
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 1   exercise his fiduciary duties.       But in terms of, kind of,

 2   where we are in this case, it's a Subchapter 5 case that has

 3   been pending for two years.       No causes of actions filed

 4   against any party other than a removed action in a case

 5   against PQPR that was filed.       I can keep that case.     That's

 6   where we are.    I don't know if there's a race to the

 7   courthouse or not.     I don't know what happens in terms of

 8   distributable value.     I don't know what happens to value on

 9   a go-forward basis.     The right cause to dismiss this case.

10   I don't know what I would be leaving a Chapter 7 trustee and

11   the pressures that I would relieve in that that -- that new

12   trustee under -- what 20 days, 20-30 days to make year-long

13   decisions about stuff, what cash to operate, business.           The

14   right decision in a case that has been pending for two years

15   with no litigation pending and the ones that I'll keep, is

16   to dismiss the case.     There's a Chapter 7 trustee who has an

17   interest in the FSS case and there'll be a permanent trustee

18   at one point and those trustees will make decisions about

19   where things go.     I'm not leaving things into the wind here.

20               I was never asked today to make a decision to shut

21   down a show or not.     That was never going to happen today

22   one way or the other.      I don't know.    That being said, I,

23   again, this case is one of the more difficult cases that

24   I've had.    When you look about it, I think creditors are

25   better served by pursuing their state court rights.          They
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 1   all have them, nothing is being discharged.         Nothing is

 2   being affected by the case.       They're all -- there's been no

 3   plan here on that.     There was no hope of a plan being

 4   confirmed here.     There was nothing here to confirm, and only

 5   the debtor can file a plan.       No-one else can file a plan.

 6   So, what do we do two years in?       I think Subchapter 5 is

 7   different, requires different treatment and I think

 8   remaining assets can be resolved outside of a bankruptcy

 9   forum.   I think, even when you look at the factors that

10   courts look at, I don't think anyone loses any rights.           I

11   think you keep everything you've got.        And I would note, in

12   the Jones case, there's like over a billion dollars of

13   potential non-dischargeable debt.        That will work its way

14   through the appeals courts.       I have nothing there to say

15   about that and other courts rule differently.         They'll do

16   that and I'll follow what they do.        You, kind of, look at

17   how creditors will fare inside versus outside of bankruptcy,

18   and that's kind of where we are.       But again, we don't look

19   at this in a vacuum.     There's a Chapter 7 trustee that's

20   been appointed, and I consider what cause is.

21               There's certain cause to convert, and what's in

22   the best interest of the estate is to stop incurring

23   administrative costs and to allow creditors to pursue their

24   state court remedies.      And for this Court determine the

25   matter that has been removed to this Court.         There's other
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 1   additional -- there are still unresolved plaintiff actions

 2   and I intend to turn my attention to those and turn to the

 3   PQPR.    Those matters, especially the PQPR matter, is well --

 4   that is right within the wheelhouse of a bankruptcy judge to

 5   determine -- look at docs, study docs, make rulings on them

 6   and I will.     I don't think there are any good decisions,

 7   only the ones that apply under the facts and circumstances

 8   of this case.     And I think when you look at where this case

 9   is, where this case has started, I think there's no further

10   role for the Subchapter 5 Trustee.        I think she's done her

11   job.    Mr. Magill, I think you've done a great job.        I think

12   your role should be to help transition the bank accounts and

13   that's it.     And once that's done, there's still some

14   administrative costs that need to be resolved and I'll

15   retain jurisdiction to you to address those.         And I'll

16   maintain jurisdiction to enforce that that -- the work gets

17   done.    But this is in the best interest of creditors.         This

18   is in the best interest of the estate.        (indiscernible)

19   administrative costs of this estate, allow the Chapter 7

20   Trustee in the Jones case to do his job and now has property

21   over the ownership interest and allow the work to continue.

22   I don't know where this leaves folks.        A lot has been made,

23   I think, about First Amendment issues.

24                I'm limiting my ruling to what's in the best

25   interest of creditors and the estate and who would have
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 1   management over those assets even during a Chapter 7.

 2   Again, I called today's hearing.        I'll convert the Jones

 3   case and I'll dismiss the case.        I think it needed to

 4   happen.   I wish I would have picked a better day, but we are

 5   where we are, and the decisions of the Court will be made.

 6   I'll enter a short order with where we are.         I very much

 7   appreciate everyone's time.        Ms. Catmull?

 8               MS. CATMULL:     Thank you, Your Honor.     Thank you

 9   very much for the thoughtful ruling.        The Court mentioned

10   transitioning the bank accounts.        We anticipate, since

11   there's a Chapter 7 trustee in the Jones case, maybe two

12   different parties wanting control of the bank accounts.             I

13   laid that out -- but I don't know yet.

14               THE COURT:     Yeah.

15               MS. CATMULL:     I laid that out in Docket 933, which

16   I filed Tuesday.

17               THE COURT:     My understanding of the way this

18   should work and maybe I should have been a little clearer

19   is, I think Mr. Magill's got to find the right place to,

20   kind of, where to, kind of, get it, if the Chapter 7 -- if

21   the interim 7 Trustee wants the bank account.         And then I

22   think that's where it goes, right?        I think that's what one

23   should do if the interim Chapter 7 trustee, who is right

24   over there, says, "I'd like access to -- transition to me",

25   then I think that's what the answer -- I think that's what
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 1   the answer is, because I think that's the way the Code

 2   envisions it.    If, for some reason, he says he doesn't want

 3   it, then I think find someone else.          But I'm going to ask

 4   the interim trustee.       I think, at a minimum, I'd feel

 5   awfully comfortable, even for a short period, he'd have

 6   control of bank accounts.          We've got to pay some bills here

 7   and we'd just ask that he consider that.          Okay.

 8               MS. CATMULL:     Thank you, Your Honor.       And then, to

 9   make sure things are crystal clear to remove the cloud about

10   the CRO's role, the cloud that's kind of been murky here,

11   towards the end of this case, his responsibilities other

12   than what the Court told us about the deposits, his

13   responsibilities end now?

14               THE COURT:     Yeah.

15               MS. CATMULL:     Thank you, Your Honor.

16               THE COURT:     Yeah.     Mr. Magill, I think you've done

17   your job, and I don't think you need to do anything else.

18               MS. CATMULL:     I appreciate it, Your Honor.       Thank

19   you.

20               THE COURT:     Turn to final applications.       I'd like

21   them on file in two weeks from today.          I'll pick a date to

22   rule on everything.      We'll see where we go.      Anything else

23   we need to take care of today?

24               MR. KEMPLER:     Your Honor, Kyle Kempler from Paul,

25   Weiss.   I just -- I'm not sure I'm clear.         I heard you say
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 1   that if the interim Chapter 7 Trustee wants control of the

 2   accounts, then --

 3               THE COURT:     He's right there.

 4               MR. KEMPLER:     -- then I'd like to talk to him

 5   right after.     The order that was submitted by the debtors

 6   and the Texas plaintiffs suggest that it would be given to

 7   Mr. Schleizer.     I'm just not sure if that's the order you're

 8   intending to enter.

 9               THE COURT:     I want -- the interim trustee is

10   there.   I think, for purposes of where we are now until we

11   can take care of administrative expenses and see where

12   things go and all that stuff, I would just ask that Mr.

13   (indiscernible) be the one, if he wants it.         And I think

14   it's well within the authority of the Chapter 7 Trustee

15   (indiscernible).

16               MR. KEMPLER:     Understood, Your Honor.

17               THE COURT:     I just -- what I don't want to do is

18   tell someone who just got appointed about 30 minutes ago,

19   what he will or won't be doing.       I guess I could do that,

20   but it probably wouldn't be cool.

21               MR. KEMPLER:     Understood, Your Honor.     We would

22   support him having control of those --

23

24         (Proceedings adjourned at 4:46 p.m.)

25
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 1                               CERTIFICATION

 2

 3   I certify that the foregoing is a correct transcript from

 4   the electronic sound recording of the proceedings in the

 5   above-entitled matter.

 6   matter..

 7

 8

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10   Sonya Ledanski Hyde

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25   Date:   June 24, 2024
